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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                                        :
 STUDENTS AGAINST ANTISEMITISM,                         : Case No. 1:24-cv-01306-VSB-SN
 INC., STANDWITHUS CENTER FOR                           :
 LEGAL JUSTICE, MILES RUBIN,                            : FIRST AMENDED COMPLAINT
 DANIELLA SYMONDS, ERIN                                 :
 MCNULTY, NOAH MILLER, VALERIE                          :
 GERSTEIN, KATIANA ARYEH, LAURA                         : Jury Trial Demanded
 BELLOWS, LEMONY DAVID, JOHN                            :
 DOE, CHAYA DROZNIK, LEO ELKINS,                        :
 SAMUEL FRIEDMAN, MAYA GAL,                             :
 AYELET GLASER, MICHAEL GROSS,                          :
 JARED HARNICK, GABRIEL KAHANE,                         :
 TALIA KESSELMAN, ELI MIZRAHI-AKS, :
 OMER NAUER, AMIEL NELSON,                              :
 GABRIEL NELSON, MOLLY NELSON,                          :
 MARC NOCK, AVA QUINN, TALIA                            :
 RABBAN, JANE ROE, SOPHIE                               :
 RUKEYSER, ALIZA RUTTENBERG,                            :
 EMILY SANDLER, ANDREW STEIN,                           :
 JONATHAN SWILL, RAFAEL VANUNO,                         :
 XAVIER WESTERGAARD, EDEN                               :
 YADEGAR, and LILY ZUCKERMAN,                           :
                                                        :
                           Plaintiffs,                  :
                                                        :
          -against-                                     :
                                                        :
 THE TRUSTEES OF COLUMBIA                               :
 UNIVERSITY IN THE CITY OF NEW                          :
 YORK, and BARNARD COLLEGE,                             :
                                                        :
                           Defendants.                  :
                                                        :
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        Plaintiffs Students Against Antisemitism, Inc. (“SAA”), StandWithUs Center for Legal

Justice (“SCLJ”), Miles Rubin (“Rubin”), Daniella Symonds (“Symonds”), Erin McNulty

(“McNulty”), Noah Miller, (“Miller”), Valerie Gerstein (“Gerstein”), Katiana Aryeh (“Aryeh”),

Laura Bellows (“Bellows”), Lemony David (“David”), John Doe (“Doe”), Chaya Droznik
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(“Droznik”), Leo Elkins (“Elkins”), Samuel Friedman (“Friedman”), Maya Gal (“Gal”), Ayelet

Glaser (“Glaser”), Michael Gross (“Gross”), Jared Harnick (“Harnick”), Gabriel Kahane

(“Kahane”), Talia Kesselman (“Kesselman”), Eli Mizrahi-Aks (“Mizrahi-Aks”), Omer Nauer

(“Nauer”), Gabriel Nelson (“Gabe”), Molly Nelson (“Molly”), Marc Nock (“Nock”), Ava Quinn

(“Quinn”), Talia Rabban (“Rabban”), Jane Roe (“Roe”), Sophie Rukeyser (“Rukeyser”), Aliza

Ruttenberg (“Ruttenberg”), Emily Sandler (“Sandler”), Andrew Stein (“Stein”), Jonathan Swill

(“Swill”), Rafael Vanuno (“Vanuno”), Xavier Westergaard (“Westergaard”), Eden Yadegar

(“Yadegar”), and Lily Zuckerman (“Zuckerman,” and together with Rubin, Symonds, McNulty,

Miller, Gerstein, Aryeh, Bellows, David, Doe, Droznik, Elkins, Friedman, Gal, Glaser, Gross,

Harnick, Kahane, Kesselman, Mizrahi-Aks, Nauer, Gabe, Molly, Nock, Quinn, Rabban, Roe,

Rukeyser, Ruttenberg, Sandler, Stein, Swill, Vanuno, Westergaard, and Yadegar, the “Individual

Plaintiffs”), for their complaint against defendants The Trustees of Columbia University in the

City of New York (“Columbia University”) and Barnard College (“Barnard,” and together with

Columbia University, “Columbia”), allege as follows:

                                PRELIMINARY STATEMENT

       1.      Columbia, one of America’s leading universities, has for decades been one of the

worst centers of academic antisemitism in the United States. Since October 7, 2023, when

Hamas terrorists invaded Israel and slaughtered, tortured, raped, burned, and mutilated 1,200

people—including infants, children, and the elderly—and kidnaped hundreds of others,

antisemitism at Columbia has become even more severe and pervasive. Columbia faculty and

students have openly lauded Hamas’s October 7 atrocities as “astounding,” “awesome,” and

“great feats.” Mobs of pro-Hamas students and faculty have marched by the hundreds through

Columbia’s campus, shouting vile antisemitic slogans, including calls for genocide, such as

“Jews will not defeat us”; “there is only one solution, Intifada revolution”; “we will honor all our


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martyrs”; “resistance is justified”; “by any means necessary”; “burn Tel Aviv to the ground”;

“death to the Zionist state”; “we don’t want two states, we want all of it”; and, in Arabic, “from

water to water, Palestine will be Arab” and “Jews out.” Those mobs have occupied buildings,

promoted violence against Jews, and harassed and assaulted Jews on campus. Jewish and Israeli

students have been spat at, physically assaulted, threatened, and targeted on campus and social

media with epithets, such as “fuck the Jews,” “death to Jews,” “fucking Jew,” “kike,” “go back

to Europe,” “go back to Poland,” “you guys are inbred,” “Zionist pig,” and “baby killer.”

Columbia faculty have promulgated antisemitism in their courses and dismissed and intimidated

students who object. In April 2024, Columbia University Board of Trustees Co-Chair Claire

Shipman testified before Congress, “we have a specific problem right now on our campus, so I

can speak from what I know, and that is rampant antisemitism.” What is most striking about all

of this is Columbia’s abject failure and deliberate refusal to lift a finger to stop and deter this

outrageous antisemitic conduct and discipline the students and faculty who perpetrate it.

         2.     Columbia’s antisemitism manifests itself in a double standard invidious to Jews

and Israelis. Columbia selectively enforces its policies to avoid protecting Jewish and Israeli

students from harassment, hires professors who support anti-Jewish violence and spread

antisemitic propaganda, and ignores Jewish and Israeli students’ pleas for protection. Those

professors teach and advocate through a binary oppressor-oppressed lens, through which Jews,

one of history’s most persecuted peoples, are typically designated “oppressor,” and therefore

unworthy of support or sympathy. Columbia permits students and faculty to advocate, without

consequence, the murder of Jews and the destruction of Israel, the only Jewish country in the

world.




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       3.      The Individual Plaintiffs, SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members, and numerous others have explicitly and repeatedly warned Columbia that its

severe and pervasive hostile environment harms Jewish and Israeli students. In fact, Columbia

has been aware of its antisemitism problem for years, but its response has been, to say the least,

utterly ineffective and clearly unreasonable in not just tolerating, but enabling, antisemitism.

Columbia has abjectly failed to enforce its policies and discipline those responsible for turning

Columbia’s campus into a severely hostile environment for its Jewish and Israeli students,

including the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members. When, in December 2023, in clear violation of Columbia’s policies, a mob of students

took over the School of Social Work to further their antisemitic agenda, Columbia’s response

was not to remove and discipline them, but to enable them to conceal their identities by

supplying them with umbrellas and asking bystanders not to film them.

       4.      Columbia’s longtime practice when it comes to antisemitism—refusing to enforce

its own policies against discrimination and harassment—ensured that Hamas’s October 7

terrorist attack would enormously intensify the anti-Jewish abuse on campus. Shockingly,

numerous students and faculty at Columbia have openly endorsed Hamas and the horrific

October 7 massacre it perpetrated even though: Hamas, since its founding in 1987, has

perpetrated numerous suicide bombings and other terrorist attacks against civilians; Hamas vows

to kill and destroy Jews and Israel; the U.S. State Department has designated Hamas as a Foreign

Terrorist Organization; and Hamas repeatedly proclaims its determination to repeat the October 7

atrocities until its genocidal aims are achieved. Many of Columbia’s students and faculty

support Hamas and condemn Israel for defending itself against Hamas’s attacks—but they are

never heard to condemn, let alone rally against, Syria and Yemen, which have killed hundreds of




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thousands of Arab civilians; Pakistan, which is currently expelling almost two million Afghan

Muslims; China, which has imprisoned its Muslims in reeducation camps; or countries like

Somalia and Nigeria, where Christians are regularly murdered. On May 29, 2024, Iran’s

Supreme Leader Ayatollah Ali Khamenei, one of the most oppressive and murderous leaders in

the world, who regularly calls for the destruction of Israel, publicly thanked the anti-Israel

agitators on U.S. college campuses, telling them that they are “on the right side of history.”

       5.      In April 2024, the very same day Columbia University’s President Minouche

Shafik testified before Congress that “safety is paramount” and that “antisemitism has no place

on [Columbia’s] campus,” Columbia permitted hundreds of students, faculty, and others to

occupy Columbia University’s South Lawn on campus for weeks, erecting an encampment to

further their antisemitic agenda. The encampment was replete with calls for a global Intifada and

other antisemitic slogans, chants, and banners. One night, an occupier with her face covered by a

keffiyeh displayed in front of a group of Jewish students, a sign stating “Al-Qas[s]am’s next

targets,” with an arrow pointing to them. Al-Qassam is Hamas’s military wing. The

encampment upended Jewish and Israeli students’ lives, preventing them from learning in class

or studying at the libraries, disturbing those living in nearby dormitories and residence halls with

chants at all hours of the night, and harassing, threatening, and intimidating Jewish and Israeli

students attempting to traverse the campus. At multiple points, the occupiers, including students

and faculty, locked arms and formed human chains to physically block Jewish students from

entering portions of the campus. Columbia did nothing to stop this and instead negotiated with

the encampment’s student leaders, including a student who, a few months earlier, told

administrators that “Zionists don’t deserve to live,” and that Columbia should “be grateful that

[he’s] not just going out and murdering Zionists.” A Columbia Hillel rabbi told Jewish students




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to return home because Columbia could not protect them. After nearly two weeks of occupation,

and only after students took over one of Columbia’s academic buildings for nearly twenty-four

hours, triggering a shelter-in-place order for the entire community, President Shafik allowed the

New York City Police Department (“NYPD”) to finally intervene to clear the building as well as

the encampment. A few weeks later during alumni weekend, a group of students set up a third

encampment.

       6.      As over 500 Columbia Jewish students stated in an impassioned May 2024 open

letter entitled “In Our Name: A Message from Jewish Students at Columbia University,” Jewish

students “have been calling out the antisemitism [they’ve] been experiencing for months [yet

their] concerns have been brushed off and invalidated.” Nonetheless, and even though President

Shafik admitted in an April 29 statement to the Columbia community that Columbia had “a

hostile environment in violation of Title VI,” Columbia continued to refuse to take the steps

necessary to remedy that environment and prevent it from recurring.

       7.      In short, Columbia has permitted intense anti-Jewish vitriol and endemic and

egregious antisemitism, including from its own faculty and administrators, to exclude Jewish and

Israeli students, including Plaintiffs, from full and equal participation in, and to deprive them of

the full and equal benefits of, their educational experience at Columbia, and has invidiously

discriminated against them by, among other things, failing to protect them in the same way

Columbia has protected other groups—all based on their race, ethnicity, religion, citizenship,

and/or national origin. That Columbia has done so for many years and continues to do so to this

day further confirms that it has responded to antisemitism with at best deliberate indifference,

that Columbia cannot be left to its own devices, and that its response has been clearly ineffective

and clearly unreasonable.




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       8.      As alleged herein, Columbia’s actions, including its deliberate indifference to, and

indeed enabling of, antisemitism on its campus, constitute an egregious violation of Title VI of

the Civil Rights Act of 1964 and similar civil rights laws. Columbia must now be compelled to

implement institutional, far-reaching, and concrete remedial measures. Columbia must also pay

damages to the Individual Plaintiffs—who have been robbed of their college and graduate school

experience—to compensate them for the hostility they have been forced to endure as a

consequence of Columbia’s unlawful conduct.

                                 JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343 over

claims arising under Title VI of the Civil Rights Act of 1964 (“Title VI”) (42 U.S.C. § 2000d et

seq.) and 42 U.S.C. § 1986. This Court has supplemental jurisdiction over plaintiffs’ related

state-law claims under 28 U.S.C. § 1367(a) because those claims arise out of the same case or

controversy as plaintiffs’ federal claims.

       10.     This Court has personal jurisdiction over Columbia University because it is based

and operates in New York.

       11.     This Court has personal jurisdiction over Barnard because it is based and operates

in New York.

       12.     Venue in the Southern District of New York is proper under 28 U.S.C. § 1391

because it is the judicial district in which a substantial part of the events or omissions giving rise

to plaintiffs’ claims occurred and where Columbia University and Barnard are located.

                                             PARTIES

       13.     Plaintiff Students Against Antisemitism, Inc. is a not-for-profit corporation and

501(c)(3) tax-exempt charity organized under the laws of the State of Delaware, formed to

defend human and civil rights, including the right of individuals to equal protection and to be


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free from antisemitism in higher education. SAA is composed of voluntary members, including

students at higher education institutions, who support SAA’s mission and who have been

personally aggrieved or otherwise impacted by antisemitism and discrimination in higher

education. SAA’s members include current Jewish and Israeli Columbia students experiencing a

severe and pervasive hostile educational environment, which causes them to lose the full benefits

of Columbia’s educational and extracurricular opportunities.

       14.    Plaintiff StandWithUs Center for Legal Justice is a tax-exempt membership

organization organized under the laws of California, and that partners with StandWithUs, a

nonprofit education organization dedicated to supporting Israel and combating antisemitism.

Composed of students, professors, and community members, SCLJ enhances StandWithUs’s

mission through impact litigation and other legal actions. SCLJ’s Jewish and/or Israeli Columbia

student members include current Jewish and Israeli Columbia students, who are experiencing a

pervasively hostile campus climate and loss of attendant educational and extracurricular

opportunities. SCLJ members also include Columbia alumni.

       15.    Plaintiff Miles Rubin was a Jewish student who graduated from Columbia

University in February 2024 and first enrolled in Columbia University’s School of General

Studies in fall 2019. Rubin holds American and Israeli citizenship. He is also a member of SAA

and SCLJ.

       16.    Plaintiff Daniella Symonds is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since fall 2023. She is also a member

of SAA and SCLJ.




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        17.   Plaintiff Erin McNulty is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since fall 2021. She is also a member

of SAA and SCLJ.

        18.   Plaintiff Noah Miller is a Jewish student in his second year at Columbia

University’s Graduate School of Architecture, Planning and Preservation. He is also a member

of SAA and SCLJ.

        19.   Plaintiff Valerie Gerstein was a Jewish Masters student who graduated from

Columbia University in spring 2024. Gerstein first enrolled in Columbia University’s School of

Professional Studies in fall 2022. She is also a member of SAA and SCLJ.

        20.   Plaintiff Katiana Aryeh was a Jewish student who graduated from Barnard in

spring 2024. Aryeh first enrolled in Barnard in fall 2020. She is also a member of SAA and

SCLJ.

        21.   Plaintiff Laura Bellows is a Jewish student at Barnard and has attended the joint

program between Barnard and The Jewish Theological Seminary since fall 2023. She is also a

member of SAA and SCLJ.

        22.   Plaintiff Lemony David is a Jewish student at Columbia University and has

attended the dual degree program between Columbia University’s School of General Studies and

Tel Aviv University since fall 2020. David holds American and Israeli citizenship. She is also a

member of SAA and SCLJ.

        23.   Plaintiff John Doe is a Jewish student at Columbia University and has attended

Columbia College since fall 2023. He is also a member of SAA and SCLJ.




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        24.   Plaintiff Chaya Droznik is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since fall 2022. She is also a member

of SAA and SCLJ.

        25.   Plaintiff Leo Elkins is a Jewish student at Columbia University and has attended

the dual degree program between Columbia University’s School of General Studies and Tel Aviv

University since fall 2021. He is also a member of SAA and SCLJ.

        26.   Plaintiff Samuel Friedman was a Jewish Masters student who graduated from

Columbia University in spring 2024. Friedman first enrolled in Columbia’s School of

Engineering and Applied Science in May 2022. He is also a member of SAA and SCLJ.

        27.   Plaintiff Maya Gal is a Jewish Israeli student at Columbia University and has

attended the dual degree program between Columbia University’s School of General Studies and

Tel Aviv University since May 2020. She is also a member of SAA and SCLJ.

        28.   Plaintiff Ayelet Glaser was a Jewish student who graduated from Barnard in

spring 2024. Glaser first enrolled in Barnard in fall 2021. She is also a member of SAA and

SCLJ.

        29.   Plaintiff Michael Gross is a Jewish Doctor of Nursing Practice candidate at

Columbia University and has attended Columbia University’s School of Nursing since June

2022. He is also a member of SAA and SCLJ.

        30.   Plaintiff Jared Harnick is a Jewish student at Columbia University and has

attended Columbia’s School of Engineering since fall 2023. He is also a member of SAA and

SCLJ.




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        31.   Plaintiff Gabriel Kahane is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since spring 2023. Kahane holds

American and Israeli citizenship. He is also a member of SAA and SCLJ.

        32.   Plaintiff Talia Kesselman was a Jewish student who graduated from Columbia

University in spring 2024. Kesselman first enrolled in Columbia’s School of Social Work in fall

2022. Kesselman holds American and Israeli citizenship. She is also a member of SAA and

SCLJ.

        33.   Plaintiff Eli Mizrahi-Aks is a Jewish Israeli student at Columbia University and

has attended the joint program between Columbia University’s School of General Studies and

The Jewish Theological Seminary since fall 2022. He is also a member of SAA and SCLJ.

        34.   Plaintiff Omer Nauer was a Jewish student who graduated from Columbia

University in spring 2024. Nauer first enrolled in Columbia’s School of General Studies in fall

2020. Nauer holds American and Israeli citizenship. He is also a member of SAA and SCLJ.

        35.   Plaintiff Amiel Nelson is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since spring 2024. He is also a

member of SAA and SCLJ.

        36.   Plaintiff Gabriel Nelson is a Jewish student at Columbia University and has

attended Columbia College since fall 2023. He is also a member of SAA and SCLJ.

        37.   Plaintiff Molly Nelson was a Jewish student who graduated from Barnard in

spring 2024. Molly first enrolled in Barnard in fall 2020. She is also a member of SAA and

SCLJ.




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        38.   Plaintiff Marc Nock is a Jewish Masters of Public Health candidate at Columbia

University and has attended Columbia University’s Mailman School of Public Health since fall

2023. He is also a member of SAA and SCLJ.

        39.   Plaintiff Ava Quinn is a Jewish student at Columbia University and has attended

the joint program between Columbia University’s School of General Studies and The Jewish

Theological Seminary since fall 2021. She is also a member of SAA and SCLJ.

        40.   Plaintiff Talia Rabban is a Jewish student at Barnard and has attended Barnard

since fall 2021. She is also a member of SAA and SCLJ.

        41.   Plaintiff Jane Roe was a Jewish student who graduated from Barnard in spring

2024. Roe first enrolled in Barnard in fall 2022. She is also a member of SAA and SCLJ.

        42.   Plaintiff Sophie Rukeyser was a Jewish student who graduated from Barnard in

spring 2024. Rukeyser first enrolled in Barnard in fall 2020. She is also a member of SAA and

SCLJ.

        43.   Plaintiff Aliza Ruttenberg is a Jewish student who is transferring from Barnard.

Ruttenberg first enrolled in Barnard in fall 2023. She is also a member of SAA and SCLJ.

        44.   Plaintiff Emily Sandler was a Jewish student who graduated from Columbia

University in spring 2024. Sandler first enrolled in Columbia’s School of Engineering in fall

2020. She is also a member of SAA and SCLJ.

        45.   Plaintiff Andrew Stein is a Jewish student at Columbia University and has

attended Columbia University’s School of General Studies since fall 2022. He is also a member

of SAA and SCLJ.

        46.   Plaintiff Jonathan Swill was a Jewish student who graduated from Columbia

University in spring 2024. Swill first enrolled in Columbia’s Graduate School of Engineering




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and Applied Science in August 2023. Swill holds American and Israeli citizenship. He is also a

member of SAA and SCLJ.

       47.    Plaintiff Rafael Vanuno is a Jewish student at Columbia University and has

attended the joint program between Columbia University’s School of General Studies and The

Jewish Theological Seminary since fall 2023. He is also a member of SAA and SCLJ.

       48.    Plaintiff Xavier Westergaard is a Jewish Ph.D. candidate at Columbia University

and has attended Columbia University’s Graduate School of Arts and Sciences since fall 2019.

He is also a member of SAA and SCLJ.

       49.    Plaintiff Eden Yadegar is a Jewish student at Columbia University and has

attended the joint program between Columbia University’s School of General Studies and The

Jewish Theological Seminary since fall 2021. She is also a member of SAA and SCLJ.

       50.    Plaintiff Lily Zuckerman is a Jewish student at Barnard and has attended Barnard

since fall 2022. She is also a member of SAA and SCLJ.

       51.    SAA Member #1 is a Jewish student enrolled at Barnard.

       52.    SAA Member #2 is a Jewish student at Columbia University, enrolled at

Columbia University’s School of General Studies.

       53.    SAA Member #3 is a Jewish student enrolled at Barnard.

       54.    SAA Member #4 is a Jewish student enrolled at Barnard.

       55.    SCLJ Member #1 was a Jewish student who graduated from Columbia

University’s School of Social Work in spring 2024.

       56.    SCLJ Member #2 is a Jewish student at Columbia University, enrolled at

Columbia University’s School of Social Work.




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       57.     SCLJ Member #3 is a Jewish student at Columbia University, enrolled at

Columbia University’s School of Social Work.

       58.     SCLJ Member #4 is a Jewish Israeli Ph.D. candidate at Columbia University.

       59.     SCLJ Member #5 is a Jewish Israeli Ph.D. candidate enrolled at Columbia

University’s Irving Medical Center (“CUIMC”).

       60.     SCLJ Member #6 is a Jewish student at Columbia University, enrolled at

Columbia University’s School of the Arts.

       61.     SCLJ Member #7 is a Jewish student at Barnard and holds American and Israeli

citizenship.

       62.     Defendant The Trustees of Columbia University in the City of New York is the

legal name of Columbia University, a private not-for-profit university based in New York, New

York. Columbia University is composed of various graduate and undergraduate constituent

schools, including Columbia College, the School of General Studies (“GS”), the School of Social

Work (“CSSW”), the Graduate School of Architecture, Planning and Preservation (“GSAPP”),

the School of Nursing, the School of Professional Studies (“SPS”), the School of Engineering

and Applied Science, the School of the Arts, the Graduate School of Arts and Sciences, and the

Mailman School of Public Health.

       63.     As of October 2023, Columbia University’s endowment fund was valued at $13.6

billion. Columbia University accepts substantial direct financial assistance from the federal

government through, among other things, grants and contracts; it received at least $1.2 billion in

fiscal year 2023 and will receive substantial direct federal financial assistance in fiscal year

2024. Columbia University also receives substantial indirect federal financial assistance

through, among other things, tuition paid with federal financial aid. At all times relevant to this




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complaint, Columbia University was and continues to be subject to Title VI. Columbia

University is also an “educational institution” and place of “public accommodation” under the

New York State Human Rights Law and the New York City Human Rights Law.

       64.     Defendant Barnard College is a private not-for-profit women’s liberal arts college

in New York, New York. Barnard is an official undergraduate college of Columbia University.

       65.     While Columbia University and Barnard are separate institutions, Barnard

students are deeply integrated in the Columbia University campus and community and vice

versa. Barnard and Columbia University students can cross-register for courses, and Barnard

students receive a diploma with seals from both schools and signatures by the presidents of both.

Barnard students can also join student clubs at both Barnard and Columbia University. Barnard

has about eighty student clubs, and Barnard students may also join any of the five hundred clubs

at Columbia University. Barnard students compete in Columbia University’s NCAA Division I

athletic programs and have “full access to Columbia[] [University’s] libraries and library

resources.” Columbia University students can access the Barnard Library, and students at each

school can access each other’s dining halls. The only kosher dining hall at Columbia is located

on Barnard’s campus.

       66.     As of January 2023, Barnard’s endowment fund was valued at $459.8 million.

Barnard, like Columbia University, accepts financial assistance from the federal government

through grants and contracts, including $7,537,000 in fiscal year 2023. Barnard also receives

indirect federal financial assistance through federal financial aid. At all times relevant to this

complaint, Barnard was and continues to be subject to Title VI. Barnard is an “educational

institution” and place of “public accommodation” under the New York State Human Rights Law

and the New York City Human Rights Law.




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                                                   FACTS

          A.        Title VI Protects Jewish Students Against Antisemitism

          67.       Title VI prohibits discrimination on the basis of race, color, or national origin in

any program or activity that receives federal funding or other federal financial assistance, and

protects all students, including Jewish and Israeli students, in such programs or activities.

          68.       Since at least September 2004, it has been the policy of the Office of Civil Rights

(“OCR”) of the U.S. Department of Education to investigate Title VI complaints against

universities related to antisemitism. In an October 26, 2010 letter to federally funded schools,

OCR confirmed that such schools are “responsible for addressing harassment incidents about

which [they] know[] or reasonably should have known,” and must address “anti-Semitic

harassment,” stating that such harassment violates Title VI when it creates a “hostile

environment” based on “actual or perceived shared ancestry or ethnic identity as Jews,” in which

“the conduct is sufficiently severe, pervasive, or persistent so as to interfere with or limit a

student’s ability to participate in or benefit from the services, activities, or opportunities offered

by a school,” or when the “harassment is encouraged, tolerated, not adequately addressed, or

ignored by school employees.”

          69.       The Obama, Trump, and Biden administrations have confirmed the urgent need to

combat antisemitism in educational institutions. In June 2010, President Barack Obama’s State

Department adopted a working definition of antisemitism developed by the European Monitoring

Center on Racism and Xenophobia. The State Department also adopted contemporary examples

of antisemitism, which include ways that antisemitism manifests itself with regard to the State of

Israel:

                   “Using the symbols and imagines associated with classic anti-Semitism to
                    characterize Israel or Israelis”;



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                “Drawing comparisons of contemporary Israeli policy to that of the Nazis”;

                “Blaming Israel for all inter-religious or political tensions”;

                “Applying double standards by requiring of [Israel] a behavior not expected or
                 demanded of any other democratic nation”; and

                “Denying the Jewish people their right to self-determination, and denying Israel the
                 right to exist.”

       70.       In December 2019, President Donald Trump issued Executive Order 13899 on

“Combating Anti-Semitism,” directing the executive branch to enforce Title VI against

discrimination “rooted in anti-Semitism as vigorously as against all other forms of discrimination

prohibited by Title VI,” and in doing so, to consider the definition of antisemitism promulgated

by the International Holocaust Remembrance Alliance (“IHRA”), an intergovernmental

organization comprised of thirty-five member countries.

       71.       The IHRA definition of antisemitism provides, among other things, the following

“contemporary examples of antisemitism”:

                “Calling for, aiding, or justifying the killing or harming of Jews in the name of a
                 radical ideology or an extremist view of religion”;

                “Denying the Jewish people their right to self-determination, e.g., by claiming that
                 the existence of a State of Israel is a racist endeavor”;

                “Applying double standards by requiring of [Israel] a behavior not expected or
                 demanded of any other democratic nation”;

                “Using the symbols and images associated with classic antisemitism (e.g., claims
                 of Jews killing Jesus or blood libel) to characterize Israel or Israelis”;

                “Drawing comparisons of contemporary Israeli policy to that of the Nazis”; and

                “Holding Jews collectively responsible for actions of the state of Israel.”

       72.       On January 4, 2023, the Department of Education, citing the “rise in reports of

anti-Semitic incidents,” released a fact sheet, “Protecting Students from Discrimination Based on

Shared Ancestry or Ethnic Characteristics,” which reiterated that Title VI protects “students who


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experience discrimination, including harassment, based on their . . . (i) shared ancestry or ethnic

characteristics; or (ii) citizenship or residency in a country with a dominant religion or distinct

religious identity.”

        73.     In May 2023, President Joseph Biden released the U.S. National Strategy to

Counter Antisemitism, described as the “most ambitious and comprehensive U.S. government-

led effort to fight antisemitism in American history,” and the Department of Education launched

its Antisemitism Awareness Campaign.

        74.     On May 7, 2024, OCR released a letter promulgating Title VI guidance, making

clear, among other things, that the “fact that harassment may involve conduct that includes

speech in a public setting or speech that is also motivated by political or religious beliefs . . .

does not relieve a school of its obligations to respond under Title VI . . . if the harassment creates

a hostile environment in school for a student or students,” “harassing conduct that otherwise

appears to be based on views about a country’s policy or practices [that] is targeted or infused

with discriminatory comments about persons from or associated with a particular country” may

implicate Title VI, and that “[h]arassing conduct need not always be targeted at a particular

person in order to create a hostile environment for a student or group of students,” but “may be

directed at anyone.” The letter also provided examples of the kinds of conduct with respect to

which a university’s failure to take effective preventive action could give rise to a Title VI

violation—namely, the very kind of harassment and intimidation that has been regularly

occurring at Columbia.

        75.     As the historical birthplace of the Jewish people, the land of Israel is at the core of

Jewish identity, ancestral tradition, religion, and culture. The movement for the reestablishment,

development, and protection of the Jewish nation in the land of Israel, known as Zionism, arises




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from Jews’ ethnic and historic roots in that land and their right to self-determination. Zionism is

central to the Individual Plaintiffs’, SAA’s and SCLJ’s members’ Jewish identities, and many are

descendants of survivors of the Nazis, with family and friends in Israel.

        76.     Anti-Zionism is not merely a political movement—although many try to disguise

it as such—but is a direct attack against Israel as a Jewish collectivity. Nearly half of the Jews in

the world live in Israel. Anti-Zionism is discriminatory and antisemitic when expressed in terms

of, for example: applying double standards not applicable to other countries or peoples in

assessing Israel’s legitimacy and conduct; denying the Jewish people’s right to self-

determination or the right of the State of Israel to exist; denying that Israel has the right to self-

defense against terrorism, invasion, or the murder, rape, and kidnapping of its citizens; accusing

Israel of being inherently racist or comparable to the Nazis; or invoking classic antisemitic

canards against Israel and its people. “When people criticize Zionists,” Dr. Martin Luther King,

Jr. explained, “they mean Jews. You’re talking anti-Semitism.”

        77.     The widespread anti-Jewish hate that has gripped Columbia and other universities

since October 7, 2023 confirms that in nearly all instances, anti-Zionism is rarely anything more

than thinly veiled antisemitism. At rallies and events across the country, and especially at

Columbia, Jewish students have been maligned as “murderers,” “colonizers,” “racists,”

“genocidal,” and “Zionists.”

        78.     On February 12, 2024, the Committee on Education and the Workforce of the

U.S. House of Representatives (“House Education Committee”) opened an investigation into

Columbia University’s “response to antisemitism and its failure to protect Jewish students,”

citing “grave concerns regarding the inadequacy of Columbia’s response.”




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       79.     On June 3, 2024, the U.S. House of Representatives announced it will not

“countenance the use of federal funds to indoctrinate students into hateful, antisemitic, anti-

American supporters of terrorism” and that six U.S. House committees could “conduct

oversight” into Columbia’s use of federal funds.

       B.      Columbia University and Barnard Fail to Enforce Their Own Policies to
               Protect Jewish Students

                i.   Columbia University’s Policies

       80.     Columbia University has issued at least eight applicable policies ostensibly to

protect students from discrimination, harassment, and intimidation: (i) Equal Opportunity and

Affirmative Action Policies & Procedures; (ii) Rules of University Conduct; (iii) Non-

Discrimination Statement and Policy; (iv) Standards & Discipline Policy; (v) University Events

Policy; (vi) Interim University Policy for Safe Demonstrations; (vii) Student Group Event Policy

and Procedure; and (viii) Faculty Handbook. Columbia University’s clearly unreasonable

response to antisemitic discrimination and harassment, and its selective enforcement of its own

rules, however, reflect a shameful double standard in its failure and refusal to apply these

policies in a nondiscriminatory manner to protect Jewish and Israeli students and prevent

antisemitism on campus, deeming Jewish and Israeli students unworthy of the protections

Columbia University readily affords non-Jewish and non-Israeli students.

                       a. Equal Opportunity and Affirmative Action Policies & Procedures

       81.     Columbia University’s Office of Equal Opportunity and Affirmative Action

(“EOAA”) is supposed “to prevent and respond to discrimination and harassment by developing

and implementing policies and procedures [(“EOAA Policies & Procedures”)] that address

discrimination [and] harassment.” The EOAA Policies & Procedures prohibit discrimination and




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harassment on the basis of, among other protected characteristics, creed, national origin, race, or

religion.

         82.      Under the EOAA Policies & Procedures, proscribed discrimination includes

“[t]reating members of a protected class less favorably because of their membership in that

class.” Harassment, “which is a form of discrimination,” involves “[s]ubjecting an individual to

unwelcome conduct, whether verbal or physical, that creates an intimidating, hostile, or abusive

working, learning or campus living environment; that alters the conditions of employment or

education; or unreasonably interferes with an individual’s work or academic performance on the

basis of the individual’s membership in a protected class.”1

                           b. Rules of University Conduct

         83.      Columbia University’s Rules of University Conduct provide that “[t]he University

has an obligation to assure members of its community that they can continue in their academic

pursuits without fear for their personal security or other serious intrusions on their ability to

teach and to study,” and the “University may restrict expression that constitutes a genuine threat

of harassment” at “any demonstration, including a rally or picketing, that takes place on or at a

University facility or at any University sponsored activity.” Barnard students, “as members of

the Columbia University community,” are also required to comply with the Rules of University

Conduct.

                           c. Non-Discrimination Statement and Policy

         84.      Columbia University’s Non-Discrimination Statement and Policy prohibits

discrimination against any person on the basis of citizenship status, creed, national origin, race,



1
 Harassment can include: “verbal abuse; epithets or slurs; negative stereotyping; threatening, intimidating or hostile
acts; denigrating jokes; insulting or obscene comments or gestures; and the display or circulation of written or
graphic material (including in hard copy, by email or text, or through social media) that denigrates or shows hostility
or aversion toward an individual or group members of a protected class.”


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religion, or “any other applicable, legally protected status” in the administration of Columbia

University’s educational policies, programs, and functions.

                       d. Standards and Discipline Policy

       85.     Columbia University’s Standards and Discipline Policy prohibits misconduct such

as disruptive behavior, harassment, vandalism or damage to property, and violation of Columbia

University policies and law. It provides that students who interfere with “the ability of others to

take advantage of the full complement of University life” will be subject to discipline and

recognizes that “[c]alls, texts, e-mails, and social media usage by students can contribute to a

hostile work, learning, or living environment, even if they occur away from the University

premises.”

                       e. University Events Policy

       86.     Columbia University’s Events Policy (“Events Policy”), which governs on- and

off-campus events held by student groups and non-affiliated organizations sponsored by a

recognized Columbia University group, organization, or student activities adviser, provides that,

among other things:

               Consistent with the Rules of University Conduct, the University
               may regulate the time, place and manner of certain forms of public
               expression. This includes restricting certain activities when the
               University believes there is a genuine threat of harassment and/or
               the potential for an unmanageable safety concern.

       87.     On December 7, 2023—two days after the presidents of Harvard University,

University of Pennsylvania, and Massachusetts Institute of Technology were widely criticized

for refusing, in their testimony before the House Education Committee, to affirm that calling for

the genocide of Jews violates their universities’ policies—Columbia University revised its

Events Policy and Campus Resources FAQ to include the question “what is Columbia’s reaction

to calls for genocide against Jews?” Its response:


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               The University has an obligation to assure members of its
               community that they can continue in their academic pursuits without
               fear for their personal security or other serious intrusions on their
               ability to teach and to study. Columbia supports free speech and
               expression, but our rules of conduct do not allow or condone
               language that promotes or supports violence in any manner. Calls
               for genocide against the Jewish community or any other group are
               abhorrent, inconsistent with our values and against our rules.
               Incitement to violence against members of our community will not
               be tolerated.

                       f. Interim University Policy for Safe Demonstrations

       88.     On February 19, 2024, Columbia University implemented the Interim University

Policy for Safe Demonstrations, which provides for designated demonstration areas and times as

well as a two-day notice requirement for event registration. It also prohibits advertising

demonstrations prior to approval. This policy also set forth procedures for redressing violations

by both student groups and individual students.

                       g. Student Group Event Policy and Procedure

       89.     Columbia University’s Student Group Event Policy and Procedure, which governs

the process for recognized student groups to host events, is “intended to promote safe and

responsible social events for Columbia University’s recognized student organizations,” and

provides, among other things, that the “conduct of all guests is bound by University Rules and

the student group may be held responsible for the behavior of their invited guests.”

       90.     On October 24, 2023, Columbia University amended its Student Group Event

Policy and Procedure to permit sanctions for failure to obtain required event approval or abide by

the terms of an approved event.

                       h. Faculty Handbook

       91.     Columbia University’s Faculty Handbook incorporates the EOAA Policies and

Procedures and the Non-Discrimination Statement and Policy and, among other things, directs



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that faculty should “confine their classes to the subject matter covered by their courses and not

use them to advocate any political or social cause.”

               ii.   Barnard’s Policies

       92.     Barnard has issued at least four policies ostensibly to protect students from

harassment and intimidation, including: (i) Policy Against Discrimination and Harassment; (ii)

Rules for Maintenance of Public Order; (iii) Student Code of Conduct; and (iv) Policy for Safe

Campus Demonstrations.

                       a. Policy Against Discrimination and Harassment

       93.     Barnard’s Policy Against Discrimination and Harassment (“Barnard’s

Discrimination Policy”) provides that Barnard “does not tolerate and specifically prohibits”

discrimination and harassment “on the basis of race, color, religion, creed, national or ethnic

origin . . . in the administration of any of its educational programs and activities,” and that

Barnard will take “prompt and appropriate action to address such misconduct, end a hostile

environment if one has been created, and prevent the recurrence of a hostile environment.”

       94.     Barnard’s Discrimination Policy defines “discriminatory harassment” as

“harassment by any member or group of the community on the basis of actual or perceived

membership in a class protected by policy or law,” and a “hostile environment” as “one that

unreasonably interferes with, limits, or effectively denies an individual’s educational or

employment access, benefits, or opportunities.” Barnard’s Discrimination Policy proscribes

“online manifestations of any of the behaviors prohibited [by Barnard’s Discrimination Policy],

when those behaviors occur in or have an effect on the College’s education program and

activities or use College networks, technology, or equipment.”




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                        b. Rules for Maintenance of Public Order

        95.     Barnard’s Rules for Maintenance of Public Order, which state that “Barnard

College is committed to defend the right of each member of the Barnard community to carry out

his or her assigned duties and responsibilities without interference,” including the ability of

“students to attend classes,” prohibit: “Use or threat of force or violence against any person, or

the damaging of property”; “Prevention of the normal use or occupancy of any building owned

or rented by the College or disruption of any normal College function through use of force or

threat of force, physical obstruction, or noise”; and “Physical obstruction of or the use of threat

of force or violence to interfere with the passage of any person about the College campus or

through the entrance or exits of any College building or facility or the corridors thereof.”

                        c. Student Code of Conduct

        96.     Barnard’s Student Code of Conduct prohibits, among other things,

“discrimination, harassment and retaliation,” “[d]isorderly [c]onduct,” “[d]isruptive [b]ehavior,”

“[v]andalism or [d]amage to [p]roperty,” “[t]hreatening [b]ehavior,” and violations of Barnard

policy or federal, state, or local law.

                        d. Policy for Safe Campus Demonstrations

        97.     On February 20, 2024, Barnard implemented the Policy for Safe Campus

Demonstrations, which “sets forth reasonable, content-neutral time, place, and manner

restrictions for campus demonstrations,” including designated demonstration areas and times, as

well as a two-day registration notice requirement. It also prohibits noise amplification and

makes clear participants may not make “true threats, incite violence, use fighting words, or

engage in unlawful harassment,” and states that students who violate the policy “will be subject

to Student Conduct proceedings,” while staff or faculty who violate the policy “will be subject to

policies governing employees.” Further, it provides that anyone who “refus[es] to cease their


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activities and/or to provide identification to [Barnard] officials will be required to leave campus

immediately.”

       C.       Columbia’s History of Antisemitism and Civil Rights Violations

                i.    Columbia Has Permitted and Fostered Antisemitism for Years

       98.      The antisemitism permeating Columbia’s campus today has a long history, and

antisemitism has long been promulgated in Columbia’s classrooms.

       99.      From 1963 to 2003, Columbia University Professor Edward Said was a pioneer in

developing a purported academic theory—a doctrine invoked by Hamas in its founding charter—

he called “Orientalism,” which, as one scholar has put it, “posits that every interaction between

the West and the East is influenced by racism, ignorance, and rapaciousness.” Under that

doctrine and related doctrines concerning so-called “settler colonialism”—doctrines which have

become enormously influential at Columbia and other universities—Jews and Israelis are

assigned to the West and considered among the oppressor class. In 2000, Said put his antisemitic

doctrine into practice when he was photographed throwing stones across the Lebanon-Israel

border at an Israeli guardhouse. The current Edward Said Professor of Modern Arab Studies,

Rashid Khalidi, is known for his work as a spokesperson for the Palestine Liberation

Organization when it was a U.S.-designated terrorist organization.

                ii.   Columbia’s Antisemitism Is Exposed in Columbia Unbecoming

       100.     In 2004, Columbia Unbecoming, a film exposing the rampant antisemitism among

Columbia University’s faculty, was released. Through a series of interviews—including with

students who took classes in Columbia University’s Middle East and Asian Languages and

Cultures Department (now known as the Middle Eastern, South Asian, and African Studies

Department, or “MESAAS”)—the film put Columbia on notice of professors who were




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intimidating and harassing Jewish students. Columbia, however, failed to take any meaningful

remedial or disciplinary actions.

       101.    For example, in the film, one student recounted being belittled by longtime

Columbia University Professor George Saliba. During a conversation about who has a claim to

the land of Israel—Arabs or the Jews (who had lived in Israel for thousands of years)—Saliba,

apparently of the view that only those he views as “pure-bred” Arabs have a claim to the land,

told her, “you have no voice in this debate . . . you have green eyes, you’re not a Semite . . . you

have no claim to the land of Israel.”

       102.    Another central figure in Columbia Unbecoming is Professor Joseph Massad, who

has taught at Columbia University since 1999. For years, Massad has spewed antisemitic

rhetoric and intimidated students with impunity. In 2002, for example, while lecturing at Oxford

University, Massad claimed, “the Jews are not a nation. The Jewish state is a racist state that

does not have a right to exist.” In 2003, Massad wrote: “The ultimate achievement of Israel: the

transformation of the Jew into the anti-Semite and the Palestinian into the Jew.” At Columbia

University, upon learning that a Columbia student was Israeli and had served in the Israel

Defense Forces (“IDF”), Massad demanded to know how many Palestinians that student had

killed. And when another student asked about Israel giving warnings before bombings to avoid

casualties, Massad shouted, “if you’re going to deny the atrocities being committed against

Palestinians, then you can get out of my classroom!”

       103.    The film also exposed Professor Hamid Dabashi, who, among other roles, is a

founding member of Columbia University’s Center for Palestine Studies and Director of

Undergraduate Studies at MESAAS.




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        104.   Rather than remedying the anti-Jewish hatred on campus exposed in Columbia

Unbecoming, Columbia did the opposite: In December 2004, to whitewash and denounce the

film, it assembled an “Ad Hoc Grievance Committee,” a group of five professors, including one

who previously ignored student complaints about antisemitism. After nine months of purported

investigation, the committee issued a report which—despite corroborating several of the

antisemitic incidents in the film perpetrated by Columbia University faculty—concluded that

“further formal rules or regulations to codify behavior or sanction specific categories of action”

were not necessary. The Ad Hoc Grievance Committee recommended no disciplinary measures

against any of the offending professors, including Professors Massad and Saliba.

        105.   Columbia Unbecoming’s shocking revelations concerning campus antisemitism—

and the leading roles played by faculty—helped prompt a November 2005 investigation into

antisemitism on college campuses by the U.S. Commission on Civil Rights (“Commission”), a

bipartisan, independent commission of the federal government created by the Civil Rights Act of

1957.

        106.   In April 2006, the Commission issued a report cataloging its findings, which

included that “anti-Israeli or anti-Zionist propaganda has been disseminated on many campuses

that include traditional anti-Semitic elements, including age-old anti-Jewish stereotypes and

defamation,” and that “[a]nti-Semitic bigotry is no less morally deplorable when camouflaged as

anti-Israelism or anti-Zionism.”

        107.   The Commission also made the following recommendations:

              “OCR should protect college students from anti-Semitic and other discriminatory
               harassment by vigorously enforcing Title VI against recipients that deny equal
               educational opportunities to all students”;

              “University leadership should ensure that all academic departments, including
               departments of Middle East studies, maintain academic standards, respect



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                 intellectual diversity, and ensure that the rights of all students are fully protected”;
                 and

                “OCR should conduct a public education campaign to inform college students of
                 the rights and protections afforded to them under federal civil rights laws, including
                 the right of Jewish students to be free from anti-Semitic harassment.”

        108.     Neither Columbia Unbecoming nor the Commission’s report led Columbia to

address and ameliorate the antisemitism pervading its campus. Three years after the

Commission’s report, despite his antisemitic conduct, Professor Massad was awarded tenure.

                iii.   Columbia Unbecoming Fails to Inspire Change

        109.     Since the film, Columbia’s hostile environment has only gotten worse for Jewish

and Israeli students. As alleged herein, swastikas—the Nazi symbol still used to threaten and

intimidate Jews around the world—are drawn on campus; faculty relentlessly spew anti-Jewish

rhetoric, inveigh against Zionists, and parrot terrorist propaganda; student groups routinely use

the campus for antisemitic rallies and to threaten Jewish and Israeli students; and Columbia’s

administration consistently ignores the pleas of its Jewish and Israeli students for protection and

support, while readily expressing outrage at, and zero tolerance for, abuse and harassment of

other, non-Jewish and non-Israeli groups.

        110.     Along with faculty, certain student groups have been central to perpetuating

antisemitism at Columbia. Students for Justice in Palestine (“SJP”) is one of the most vitriolic

antisemitic networks on college campuses, including at Columbia. SJP was founded by the chair

and co-founder of American Muslims for Palestine (“AMP”), Hatem Bazian, who, during a 2004

rally in San Francisco, stated: “Are you angry? Well, we’ve been watching Intifada in

Palestine. . . . And the question is what are we doing? How come we don’t have an Intifada in

this country? . . . [I]t’s about time that we have an Intifada in this country. . . . ” Intifada is a




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word used to describe “periods of intense Palestinian protest against Israel, mainly in the form of

violent terrorism.”

       111.    AMP’s leadership overlaps with three organizations that have been shut down by

federal authorities, whose assets were frozen by the U.S. Treasury Department, or that have been

found civilly liable for providing material support to Hamas, including Holy Land Foundation

for Relief and Development. On October 9, 2023, a Hamas official, Ali Barakeh, declared that

one of the goals of the October 7 terrorist attack was to demand the release of the directors of

Holy Land Foundation for Relief and Development serving prison sentences in the U.S. A

recent study by the Network Contagious Research Institute found that the presence of SJP on

campuses “significantly correlated with antisemitic activity.” And on October 31, 2023, Virginia

Attorney General Jason Miyares announced an investigation into AMP for providing material

support to Hamas. National SJP receives funding and training from AMP.

       112.    In 2016, Columbia’s chapters of SJP and Jewish Voice for Peace (“JVP”)—an

anti-Zionist organization, which also receives funding from AMP, and whose members include

both Jews and non-Jews—launched Columbia University Apartheid Divest (“CUAD”), a

coalition of Columbia University and anti-Zionist student organizations, which is not a student

organization recognized by Columbia. Days before Hamas’s October 7 atrocities began, SJP

posted on their Instagram account an image depicting Israel and the text “We are back!!”

Although Columbia University nominally suspended SJP and JVP in November 2023, they

continue to operate without consequence, including through CUAD.

       113.    On April 7, 2016, SJP, JVP, and CUAD co-hosted an event titled “Intifada: The

Palestinian Uprising” at Columbia University’s Pupin Hall. The student groups described the

Intifada as “the self determined response of the Palestinian people to the daily horror and




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atrocities committed by the state of Israel, [which] today is called an act of terrorism . . . a

subjective rhetorical strategy used by the powerful to demonize legitimate acts of resistance and

to maintain systems of oppression.” In fact, the Intifadas were carried out through a campaign of

suicide bombs, many of which included nails dipped in rat poison, targeted at civilians. During

the Second Intifada, from around September 2000 through February 2005, Hamas claimed

responsibility for over fifty suicide bombings, including: the August 9, 2001 bombing of a

Jerusalem pizzeria, killing seven children; the December 1, 2001 double-suicide bombing in the

crowded Ben Yehuda pedestrian mall in Jerusalem, killing eleven; and the March 27, 2002

suicide bombing at a Passover Seder at the Park Hotel in Netanya, killing thirty. Indeed, two

Columbia students were murdered in a 1996 Hamas bus bombing in Jerusalem.

        114.    On January 17, 2017, during a Chicago radio interview, Professor Khalidi

invoked Nazi-era dehumanization tropes analogizing Jews to vermin, stating that Israel

supporters would “infest the Trump transition team, . . . [and] infest our government as of

January 20.”

        115.    On February 13, 2017, CUAD, SJP, and JVP rallied against a speech in Lerner

Hall by the Israeli Ambassador to the United Nations, Danny Danon, sponsored by the Columbia

student group Students Supporting Israel (“SSI”), accusing Ambassador Danon of “virulent

racis[m].” Rallying outside of Lerner Hall, students chanted, “no peace on stolen land,” as many

attempted to get past security and into the event. During the event, several attendees had to be

removed by security personnel for disruptive outbursts. Eventually, roughly one hundred

students managed to break through the event’s security, and marched through Lerner Hall,

chanting, “from the River to the Sea, Palestine will be free” and “Israel is a terrorist state.”




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       116.    In April 2017, a Columbia University library book was defaced with text that

implied too few Jews were murdered during the Holocaust: “The ovens were too small! Heil!”

A few months later, a swastika was discovered in a Columbia University stairwell.

       117.    On April 11, 2018, Holocaust Remembrance Day, SJP held a “Gaza Solidarity

Rally” only a few hundred feet away from SSI’s Holocaust commemoration booth. Members of

SJP chanted at mourning Jewish students, “from the River to the Sea, Palestine will be free” and

“from Gaza to the [Low] plaza, globalize the Intifada!”

       118.    On May 8, 2018, Professor Dabashi posted an antisemitic diatribe to Facebook,

writing: “Every dirty treacherous ugly and pernicious act happening in the world just wait for a

few days and the ugly name of ‘Israel’ will pup [sic] up as a key actor in the atrocities.” Less

than ten days later he posted: “The Israeli flag, the very term ‘Israel’ are now and forever

synonymous with mass murderers . . . with massacres, with land thieves, with incremental

genocide, with war crimes, with crimes against humanity.”

       119.    On May 29, 2018, the Columbia University/Barnard chapter of Alums for

Campus Fairness, a nonprofit organization dedicated to organizing alumni to combat campus

antisemitism, sent an open letter to Columbia regarding Dabashi’s antisemitic statements,

requesting that Columbia:

               1. Issue a formal, public statement unequivocally condemning
               Professor Hamid Dabashi’s anti-Semitic postings as antithetical to
               Columbia University’s liberal values;

               2. State unequivocally that Jewish, Israeli and pro-Israel students,
               for whom Zionism and the right of Jewish self-determination are
               core values, are as welcomed at Columbia University as everybody
               else;

               3. Meet with the representatives of alumni, parents, and selected
               signatories to discuss how the campus environment can be
               improved; [and]



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               4. Relieve Professor Dabashi of teaching responsibilities until he
               commits to recognizing and ending his anti-Semitic
               rhetoric. . . . Dabashi must be prevented from creating a hostile
               environment on campus for Jewish, Israeli and pro-Israel students
               who are entitled–like every student–to a safe and welcoming
               learning environment.

       120.    Appended to the letter were comments from Columbia community members,

including faculty, alumni, and students. One student explained: “As an Israeli student I feel

targeted in this University by professors such as Dabashi. I expect the administration to AT

LEAST help me by condemning him when needed.” In line with Columbia’s reaction to

Columbia Unbecoming, these statements were ignored. Columbia’s failure to act emboldened

Dabashi, who one year later proclaimed on Facebook that the “only difference” between ISIS,

one of the worst and most murderous terrorist groups in modern history, and Israel is that “ISIS

does not have a platoon of clean shaven and well coiffured columnists at the New York Times

propagating the cause of the terrorist outfit as the Zionists columnists do on a regular basis.”

              iv.    Columbia’s Failure to Act Against Antisemitism Emboldens
                     Overt Antisemitism on Campus

       121.    On November 29, 2018, two swastikas and an antisemitic slur were spray-painted

on the walls of a Jewish professor’s office at Columbia University’s Teachers College.

       122.    In April 2019, SJP, JVP, and CUAD circulated a flier for “Columbia University

Israeli Apartheid Week,” depicting an IDF soldier with a disproportionately large nose and horns

protruding from his helmet—age-old antisemitic caricatures. Columbia failed to discipline SJP,

JVP, CUAD, or any of their members or faculty advisers. Had student organizations or anyone

else on campus distributed fliers with caricatures of other protected minority groups drawing on

racial, ethnic, religious, gender, or sexual orientation stereotypes, or engaged in any of the other




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conduct alleged herein against other protected groups, there is no question that Columbia would

have acted to stop and deter it.

       123.    In December 2019, two Columbia University students filed complaints with OCR

alleging that Columbia University’s educational environment was hostile to Jews and Israelis. In

one complaint, an alumna alleged that she received a master’s degree from MESAAS but was

deterred from pursuing another degree because of rampant antisemitism among faculty in the

department including programming in Columbia University’s Center for Palestinian Studies and

Middle East Institute—the heart of intellectual antisemitism at Columbia—which “falsely

depicts Jews as foreigners and ‘congenital’ outsiders in Israel and the Palestinian territories,

equates Zionism with racism, demonizes Zionists as establishing an apartheid state in Israel, and

advocates for the annihilation of the Jewish state and its replacement with a Palestinian [sic] in

which Jews do not seek to rule.”

       124.    In the other complaint, a Jewish Israeli-American student alleged that during

Professor Massad’s keynote speech at the 2019 Palestine Center Annual Conference, Massad

justified “the armed resistance of the Izz al-Din al-Qassam Brigades,” the military wing of

Hamas, which was responsible for the kidnapping and murder of the student’s uncle. The

student further alleged that while he was standing at a table on campus advertising for SSI, “a

Columbia professor of Arabic literature . . .approached the table, interrupted the conversation,

pointed at [him] and yelled, ‘Don’t believe a word he is saying. He is Mossad [Israel’s national

intelligence agency].’” The student also alleged that he was called a “Zionist pig,” among other

derogatory names, by student members of SJP. On November 20, 2023, four years after the

complaint was filed, the Department of Education announced an investigation into Columbia

University based on these allegations.




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       125.    Between February and March 2020, there were three reports of swastikas on

Columbia University’s campus.

       126.    In an interview with the Columbia Spectator, a Columbia University student

stated that in 2022, when she told a professor that her family was Israeli, the professor

responded, “so you must know a lot about settler colonialism. How do you feel about that?”

When the student shared her Israeli background with another professor, the professor responded,

“it’s such a shame that your people survived just in order to perpetuate genocide.”

       127.    In October 2022, McNulty, while eating in a campus dining hall, heard students

espousing antisemitic conspiracy theories promoted by Kanye West as they passed around an

image of a swastika. In or around the same time, McNulty crossed paths with three student

athletes on campus on her way to class who were repeatedly using the phrase “Jew someone

down” while laughing. McNulty was taken aback by such open antisemitism on campus.

       128.    In 2022, the watchdog group StopAntiSemitism graded twenty-five colleges and

universities on whether their campus environments are hostile to Jews based on “surveys to the

administration,” “hundreds of first-person narratives by students,” and other research. Columbia

received an F. The report noted that Jewish students “overwhelmingly DO NOT believe the

administration considers their safety as a priority.”

       129.    In spring 2023, Glaser, a staff writer for the Columbia Spectator, wanted to write

an article reporting where students could celebrate Passover on campus. Notwithstanding that

the paper had published similar articles for Ramadan, her article was drastically modified, and a

truncated version of it was published, with the editor-in-chief stating that her original version

was not aligned with the paper’s mission to be “all-inclusive.”




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       130.    On the evening of September 16, 2023, five students ripped Doe’s kippah off his

head while he was in the lobby of his dormitory. Doe reported the incident to his resident

assistant, who chalked it up to the students being “drunk,” but informed Doe that it would be

difficult to do anything and referred Doe to mental health services. Distressed from the

antisemitism he was experiencing so early into his college experience, Doe began utilizing

Columbia Psychological Services, and avoided spending time in his dormitory for several weeks.

One week later, Doe discovered that his mezuzah had been stolen from his dormitory room door.

               v.    Columbia Still Offers and Teaches an Antisemitic Curriculum

       131.    During freshman orientation, Columbia University and Barnard require students

to participate in Diversity, Equity, and Inclusion (“DEI”) training focused on identifying and

preventing discrimination and biases against a wide variety of groups. Conspicuously omitted

from the training is antisemitism.

       132.    During first-year orientation, CSSW students are required to attend “Professional

Development and Self Awareness Orientation,” an orientation program run by multiple

departments including the Office of Student Affairs. CSSW teaches through a lens that focuses

on power, race, oppression, and privilege, which ignores thousands of years of Jewish

persecution and marginalization. CSSW’s orientation made SCLJ Member #1—whose Jewish

heritage is integral to her identity—feel marginalized and excluded.

       133.    To fulfill the requirements of his history major, with a focus on the Middle East,

Rubin was required to enroll in a class taught either by Professors Khalidi or Massad. In fall

2020, Rubin enrolled in History of the Modern Middle East with Khalidi. During a class

discussion on supposed national origin myths, a student asked Khalidi, “how intentional were the

Jews in creating their national origin myth in creating Israel?” Khalidi responded by stating that




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Jews have “no claim to [Israel],” thereby delegitimizing a core aspect of Jewish identity and the

Jewish people’s historical, ethnic, and ancestral claim to the land of Israel.

       134.    In November 2022, Gerstein joined SPS’s Diversity Equity Inclusion, and

Accessibility (“DEIA”) Committee, made up of administrators, faculty, staff, alumni, and

students, believing it to be a viable avenue to effect change to Columbia’s institutional

antisemitism, but Gerstein’s efforts were rebuffed. In January and February 2023, Gerstein

proposed a Jewish Identity and Antisemitism workshop in consultation with the Academic

Engagement Network, but after submitting the formal proposal, was told, with no valid

explanation, that the workshop would be postponed. When Gerstein contacted SPS Dean Troy J.

Eggers to plan the workshop for spring 2024, he emailed: “We have our list of DEIA events set

for the spring already and are focusing on those.”

       135.    In spring 2023, Miller was enrolled in a class with Professor Rosana Elkhatib.

During a class field trip to the architecture firm where she works, Elkhatib referred to Israel as a

“terrorist organization”—equating Israel to terrorists like Hamas—to Miller in front of his

classmates.

       136.    A few months earlier, during Miller’s Architecture History course, Professor

Felicity Scott referred to a map of Israel as a “military map of illegal conquest.” Scott has signed

on to a public letter stating: “We recognise [sic] that architecture and urban planning are both the

means and the ends of Israeli settler colonialism and state terror. As architects and planners, it is

our moral and ethical duty to acknowledge that the tools of our profession have been co-opted to

violate the legal rights of the Palestinian people.” The letter’s signatories also included GSAPP

Dean Andrés Jaque.




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       137.    Antisemitism is so pervasive that it even permeated the curriculum in an

Introduction to Judaism class Rubin enrolled in for fall 2023. During a lecture about the Jewish

holidays, Professor Beth A. Berkowitz, while laughing, asserted that Jews perform the “method

act” of celebrating Passover, implying Jews are not oppressed or marginalized. As a result,

Rubin dropped the class after two weeks.

       138.    In late September 2023, during a General Studies Student Council general body

budget vote, a council member, with support from the vice president of finance, motioned to

allocate the full funds for a GS Shabbat Dinner with Dean Lisa Rosen-Metsch. The student

council president asked the council member to withdraw the motion and told him he would veto

it if he did not. Ultimately, the student council voted to fund only half of the $3,000 request.

       D.      Hamas Terrorists Commit Horrific Atrocities Against Innocent Civilians in
               Israel

       139.    On October 7, 2023, Hamas launched an unprovoked surprise attack on Israel,

perpetrating depraved acts of murder, torture, rape, violence, and kidnapping against Israeli

citizens. Thousands of armed terrorists invaded southern Israel, while others launched a barrage

of rockets toward populated cities. Once inside Israel, the terrorists, acting as well-armed death

squads, dispersed into towns shooting, raping, torturing, burning, and mutilating unarmed

civilians, including infants, children, and the elderly, taking hundreds of hostages and engaging

in mass murder and rape at a music festival near Gaza’s border with Israel.

       140.    The IDF eventually repelled the terrorists and regained control over the affected

area. By that time, Hamas had killed 1,200 people and abducted over 200 more. October 7 was

the single deadliest day for Jews since the Holocaust.

       141.    Antisemitism is a core tenet of Hamas—an extreme Islamist terrorist group

explicitly committed to the destruction of Israel and its Jewish inhabitants, the creation of an



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Islamic state in Israel’s place, and the annihilation of all Jews around the world. Hamas’s 1988

charter states: “The Day of Judgment will not come about until Muslims fight the Jews and kill

them.” In October 1997, the U.S. State Department designated Hamas, which has controlled

Gaza since 2007, a Foreign Terrorist Organization.

       142.    In keeping with its charter and goals, since its inception, Hamas has carried out

numerous indiscriminate terror attacks on Israeli civilians through bombings, rocket barrages,

shootings, and stabbings, including during two Intifadas. Since 2002, Hamas killed scores more

through similar suicide bombings, public bus attacks, booby traps, shootings, and other acts of

terror. Since October 7, senior Hamas officials have hailed the slaughter and vowed that it was

“just the first time, and there will be a second, a third, a fourth,” promising another “October 7,

October 10, October one-millionth” until the complete annihilation of Israel.

       143.    Shockingly, many students and faculty at Columbia celebrate, justify, and excuse

Hamas’s mass rape, murder, and kidnapping. Some have resorted to harassment and even

violence against Jewish and Israeli students in support of Hamas’s attack and in condemnation of

Israel’s defensive response. Columbia’s faculty and students falsely accuse Israel of: committing

“genocide” and “ethnic cleansing” (even though the Arab population of Gaza has more than

quadrupled since 1967); creating an “open-air prison” in Gaza (even though Israel completely

removed itself in 2005 from Gaza, which also shares a border with Egypt); and “apartheid” (even

though all citizens in Israel enjoy equal rights).

       144.    Further evidencing the antisemitic nature of their activities, these students, and the

faculty who support them, do not condemn, let alone rally against, such countries as Syria and

Yemen, which have killed hundreds of thousands of Arab civilians; Pakistan, which is expelling




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almost two million Afghan Muslims; China, which has imprisoned its Muslims in reeducation

camps; or Somalia and Nigeria, where Christians are regularly murdered.

       E.      Columbia’s Facially Inadequate Response to October 7 Fans the Flames of
               Campus Antisemitism

       145.    Columbia’s decades of deliberate indifference to anti-Jewish and anti-Israeli

harassment has created an environment in which antisemitic activity has flourished and which,

following Hamas’s October 7 massacre, has enabled yet another intolerable wave of antisemitic

abuse on campus.

                i.   Columbia’s Silence Creates a Vacuum Filled by Antisemitism

       146.    In the immediate aftermath of the October 7 massacre, the Individual Plaintiffs

and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members waited for President

Shafik to issue a statement condemning Hamas’s mass murder and kidnapping, just as Columbia

University presidents had done in the wake of other incidents and events, including Asian

violence during the COVID-19 pandemic and George Floyd’s murder. As Columbia’s students

and faculty began celebrating Hamas’s slaughter, President Shafik remained silent. Two days

later, rather than condemn Hamas or those who celebrated their attack, President Shafik urged

faculty to bring “clarity and context” to the greatest loss of Jewish life since the Holocaust.

       147.    On the evening of October 7 and in the days that followed, Jewish and Israeli

students at Columbia gathered on campus to hold vigils to mourn Hamas’s victims. For those

students, including Symonds, McNulty, Rubin, David, Westergaard, Swill, Rabban, Quinn,

Glaser, Ruttenberg, and SAA Member #2, these silent moments were interrupted by classmates

who yelled, “free Palestine” or “screw you guys” at them.

       148.    On the evening of October 7, while Doe was wearing his kippah on campus, a

group of four students said to him, “this is going to happen again, you terrorist. This is



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resistance.” Doe reported the incident at an October 11 meeting with his advising dean, who

informed him that a bias report would be filed with the Multicultural Affairs office. Doe went to

the Multicultural Affairs office in November to check on the status of the report and was told

that none had been filed.

       149.    On October 8, Professor Massad published a piece celebrating Hamas’s attack in

The Electronic Intifada titled “Just another battle or the Palestinian war of liberation?”

Expressing his enthusiastic support of Hamas, he labeled the massacre as “an innovative

Palestinian resistance,” “shocking success,” and “stunning victory,” and used words such as

“astounding” and “awesome” to describe the terrorist attack on Jewish civilians. Kahane

emailed President Shafik’s office twice to express his concerns about Massad’s article, but only

received one response informing him the president’s “schedule” was “very full, and a meeting

will not be possible.”

       150.    On October 13, a Columbia University student started a petition to remove

Professor Massad, which within four days had garnered over 50,000 signatures. On October 15,

more than 300 Columbia affiliates, including faculty, signed an open letter expressing

“unwavering solidarity” with Massad, defending his October 8 pro-terrorism piece. MESAAS

administrators and a Columbia University spokesperson declined the Columbia Spectator’s

request for comment on the petition and open letter.

       151.    On October 9, several Columbia student groups publicized a joint statement

“regarding the recent events in Palestine Israel: Oppression Breeds Resistance,” framing the

terrorist attacks as a form of resistance, and “remind[ing] Columbia students that the Palestinian

struggle for freedom is rooted in international law, under which occupied peoples have the right

to resist the occupation of their land.”




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       152.    The joint statement blamed Israel for Hamas’s attack and concluded that “Israel

does not have the right to defend its occupation, its apartheid state or its siege of Gaza.” In the

days that followed, the joint statement was edited to include more antisemitic rhetoric and

additional signatories. Three weeks later, in defense of the joint statement, nearly 170 Columbia

faculty members signed an open letter characterizing the October 7 terrorist attack as a “military

response” that could be regarded as an exercise of the “right to resist.” Columbia spokespersons

declined the Columbia Spectator’s request for comment on the joint statement, and a Columbia

University spokesperson subsequently declined to comment on the open letter.

       153.    On October 9, SJP and JVP also issued an open letter standing in “full solidarity

with Palestinian resistance against over 75 years of Israeli settler-colonialism and apartheid” and

characterized Hamas’s October 7 attack as “an unprecedented historic moment for the

Palestinians of Gaza. . . . Despite the odds against them, Palestinians launched a counter-

offensive against their settler-colonial oppressor.”

       154.    On the evening of October 9, President Shafik broke her silence by issuing a

“Message of Concern for Our Community” in which she claimed to be “devastated by the

horrific attack on Israel and the ensuing violence that is affecting so many people.”

       155.    Around this same time, SJP and JVP reactivated CUAD, which had been dormant

since 2020, “in response to the overwhelming support for Palestinian freedom from students on

Columbia’s campus”—in other words, CUAD was brought back to amplify the surge in student

support for Hamas’s October 7 atrocities.

       156.    On October 18, President Shafik emailed Columbia students about purportedly

“Upholding Our Values,” stating:

               Our day-to-day duty of care for the security and well-being of our
               students, faculty, and staff is paramount. . . .We know that the



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               atmosphere on campus is extremely charged, and some of you have
               expressed concern about your personal security. Let me reassure
               you that the University will take all available steps to help you.

Again, conspicuously omitted from President Shafik’s message was any explicit condemnation

of Hamas’s terrorism or Columbia faculty and student support for Hamas.

       157.    Following Hamas’s October 7 attack, the IDF released a 47-minute compilation of

footage captured via CCTV, body camera, and cell phone video of the brutal massacre, much of

which was recorded by Hamas terrorists. On two separate occasions, President Shafik and

members of Columbia’s administration were invited to a screening of the footage; they all

declined both invitations.

       158.    Columbia’s Jewish and Israeli students are still waiting for the help President

Shafik promised. At a press conference held outside of Columbia’s gates on October 30, Jewish

students pleaded for help and spoke of not feeling safe on campus. One student stated, “now I

get it, I actually understand how the Holocaust happened,” referring to the way antisemitism was

allowed to continue without any efforts to curtail it. In a media interview two weeks later, a

Jewish Israeli Columbia student detailed frequent “antagonization for being Jewish and being

Israeli” since October 7, including being told to “go to hell” and that Israeli hostage posters are

“fake news,” and described reporting the harassment to Columbia administrators, Columbia

Public Safety (“Public Safety”), and her resident assistant, none of whom addressed the issue.

       159.    On November 2, 2023, the Columbia Spectator reported the results of its

interviews with over fifty Jewish and Israeli students at Columbia:

               Of those interviewed, 34 reported feeling unsafe on campus since
               Hamas’ unexpected attack on Israel on Oct. 7. Thirteen students
               said that they personally experienced incidents where they felt
               attacked or harassed, either in-person or online. Ten students
               reported avoiding or fully staying off campus at some point since
               Oct. 7. Twelve students said they tried to hide or veil their Jewish



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                identity when walking around campus. Seventeen students said they
                have been negatively affected or offended by Columbia-affiliated
                online spaces.

        160.    A December 2023 study published by Brandeis University, which surveyed

students at fifty-one campuses after October 7, ranked Columbia in its worst category: “highest

antisemitic hostility.”

               ii.    Columbia Fails to Prevent or Respond to the Student-Organized
                      National Day of Resistance

        161.    On or about October 10 and 11, the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members learned that SJP chapters across the country—

including Columbia’s SJP chapter—were holding a “National Day of Resistance” on October 12.

        162.    Leading up to the National Day of Resistance, tensions on campus rose and

antisemitic rhetoric and acts of violence and intimidation intensified. For example, on

October 10, Aryeh was on Columbia University’s campus when she observed a group of

individuals displaying anti-Israel propaganda signs. When Aryeh sought to engage them in

dialogue, two of the individuals screamed at her. The commotion caused a group of students to

begin gathering, which only caused the group to become more aggressive. Aryeh attempted to

report the aggressive group to Public Safety for harassing students. Public Safety informed her

that it knew the group was a recurring issue and that they were not supposed to be on campus,

and asked the individuals to leave, but did nothing when the group refused. Aryeh saw the group

back on campus a few days later and reported them again. The group continued to harass

students on Columbia’s campus without intervention, despite Aryeh’s reports to Public Safety,

Barnard Dean Leslie Grinage, and President Shafik’s office.




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       163.    On the morning of October 11, a Jewish Israeli student was verbally assaulted

outside of Butler Library by someone yelling, “fuck the Jews.” The assailant said that he was

attacking the student “because you are a Jew,” motioning to the student’s Star of David necklace.

       164.    That same day, McNulty witnessed an individual on campus screaming, “Jews are

going to hell” into a microphone. Instead of disciplining or instructing the individual to leave, a

Public Safety officer merely told the individual to turn the microphone volume down.

       165.    In the late afternoon, Dennis A. Mitchell, Columbia University Interim Provost,

emailed students that they are “all guided by the University’s Rules of Conduct,” which he

attached “[f]or those who choose to engage in demonstrations or protests.”

       166.    Shortly after Provost Mitchell’s email, five Jewish Israeli Columbia students were

assaulted in front of Butler Library. While exiting the library, the students noticed a Columbia

student tearing down hostage posters, which they had hung up earlier that day. When the

students asked for their posters back, the assailant attacked them with a stick, cursed at them, and

punched one of the students, who suffered a sprained finger and lacerations to his head. When

the incident was reported to the NYPD, the attacker was arrested and charged with assault. But

when the incident was reported to Columbia University, the student-victim was advised by an

academic adviser, who is also a Columbia University administrator, to stay off campus in light of

the upcoming National Day of Resistance.

       167.    When Rubin learned of the assault, he emailed GS Dean Rosen-Metsch:

               I heard a disturbing story that an Israeli GS student was assaulted on
               campus today, and there is a lot of fear within the community about
               the safety of Columbia’s jewish community. There is a rumor going
               around that jewish students should not come to school the next few
               days. I was wondering if there are efforts to alleviate the worries of
               the community and to let us know we are safe.

Rubin never received a response from Dean Rosen-Metsch.



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       168.    That evening, David Greenberg, Executive Vice President of Columbia

University Facilities and Operations, emailed students that access to campus the next day would

be restricted to valid Columbia University ID (“CUID”) holders to “help maintain safety and a

sense of community through planned demonstration activities.” Barnard and Columbia

University students’ CUID cards give each the ability to access both campuses.

       169.    Fearing that Columbia was intentionally ignoring the red flags and taking little to

no steps to thwart the anticipated violence, other Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members also voiced their concerns to the administration.

Symonds, for example, emailed President Shafik requesting immediate action, including by

banning SJP from campus because of its support for terrorism and condemning any student

participation in the National Day of Resistance, which Symonds predicted “will put Jewish and

Israeli students on campus at high risk.” Symonds never received a response. Aryeh also

emailed President Shafik predicting that SJP “will glorify and openly support the actions of

Hamas,” “genocide, terrorism, and the end of the Jewish people,” and requested President Shafik

“stand with the Jewish and Israeli students of Columbia against these heinous acts of

antisemitism.” Aryeh never received a response.

       170.    On October 12, Provost Mitchell issued another statement in anticipation of the

National Day of Resistance in which he acknowledged that the event “risk[ed] creating an unsafe

environment” and promised that “anyone unwilling to identify themselves will be required to

leave campus, and “[a]ll violations are subject to discipline under our rules.” But Columbia did

not follow through.

       171.    Later that afternoon, hundreds of Columbia students swarmed the lawns at the

center of campus. SJP’s raucous rally took place on one side while SSI and other students,




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including Kahane, David, Elkins, Quinn, Sandler, Swill, Westergaard, Aryeh, Yadegar, Gabe,

Roe, and Bellows, quietly assembled on the other, with Public Safety standing between the two

groups. SJP encouraged Columbia members to chant: “Jews will not defeat us”; “globalize the

Intifada”; “resistance is justified”; “from the River to the Sea”; “Minouche Shafik, open your

eyes, please divest from Israel’s crimes”; and “Columbia, Columbia, open your eyes, stop

defending apartheid.” They also held “glory to the martyrs” signs, praising the October 7

terrorists. The cheering Kahane heard on SJP’s side—in contrast to the pain and tears he

witnessed on SSI’s side—led him to believe it was a pro-Hamas rally. As explained by

Columbia University Professor Shai Davidai in a piece published in November 2023, “the

differences between the student organizations’ chant of ‘from the river to the sea’ and the Nazi

chant of ‘Germany for Germans’ are mere semantics. The antisemitic sentiment is the same.”

David was dismayed by the lack of empathy shown by those on SJP’s side, while the pro-Israel

side quietly tried to honor the victims of October 7, including by holding posters of the victims.

David felt terrified and suffocated by just how many students were participating in SJP’s

genocidal chants, including several she recognized as classmates. Elkins was likewise in

attendance and was disturbed that while he and other Jewish students were still grieving, his

classmates were justifying the massacre as “resistance.” Quinn was on campus and felt

threatened when she heard “Palestine is almost free” chanted and saw signs honoring “martyrs.”

Bellows heard “globalize the Intifada” and “from the River to the Sea” chants while on campus.

Sandler was also in attendance and felt uncomfortable by the chants.

       172.    As SJP’s rally grew, student leaders from SSI, who were informed that Public

Safety could not keep them safe, encouraged the pro-Israel students to disperse. As one Jewish




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student left the rally, he had an Israeli flag ripped off his back within direct view of a Public

Safety guard booth.

       173.    SJP and its supporters roamed campus and spread their hateful messages. Despite

the clear language of the Rules of University Conduct—which prohibits conduct that, among

other things, “endangers property on a University facility,” “causes a noise that substantially

hinders others in their normal academic activities,” “places another in danger of bodily harm,” or

disrupts university functions—Public Safety looked on as students climbed on the iconic Alma

Mater statue and used megaphones to broadcast their threats.

       174.    At around 6:00 p.m., the SJP crowd abandoned their supposed “designated area”

and began marching around campus. Aryeh was holding a sign with information about the

October 7 terrorist attack. As students marched by, they screamed at her that the terrorist attack

was “fake news” and that it “never happened.” The mob then marched down Broadway toward

the Kraft Center for Jewish Student Life, Columbia’s Hillel building, which was forced to lock

its doors as a security precaution and advise students to shelter inside. At 7:20 p.m.—three hours

after the event began—Public Safety alerted Hillel that students could leave the building.

       175.    Earlier that day, Gabe encountered a rally on his way out of a class where he

heard students chanting “from the River to the Sea.” Later that evening, Gabe and another

Jewish student were forced to take a different, longer route home to avoid the rally on campus.

       176.    The next day, Rubin emailed Dean Rosen-Metsch and GS Assistant Dean of

Students Mitali Dave that he felt forced to leave campus after viewing the “distressing videos

from campus” on the National Day of Resistance and expressed his hesitation to return. Yet

again, Rubin did not receive a response.




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              iii.   SSI Is Prohibited from Holding Events While Other Student Groups
                     Openly Discriminate Against Jewish and Israeli Students With
                     Impunity

       177.    On October 17, Yadegar and other members of SSI’s Executive Board met with

Columbia University administrators—including Aaron Gomes, Executive Director of Student

Engagement, Noah Mullenix, SSI’s assigned adviser and Assistant Director of Student

Engagement, and Sean Trulby, Associate Dean of Student Life—to express their concern that

Columbia had canceled an approved SSI event planned for October 16 due to supposed concerns

that Columbia would be unable to ensure safety at the event. Ironically, the purpose of the event,

in part, was to publicize a krav maga (Israeli martial arts) self-defense class in response to Jewish

students feeling unsafe on campus.

       178.    During the same meeting, SSI was told by the administrators that no clubs on

campus could hold events revolving around “buzzwords” like “Israel” or “Palestine.” In a

follow up email on October 18, Yadegar asked Mullenix, Gomes, and others why SJP and JVP

were allowed to announce an event that day which violated this new “buzzword” protocol, while

SSI’s peaceful tabling event was prohibited. Yadegar pointed out that during the October 12

rally, SJP and JVP violated Columbia University’s amplified sound and masking policies,

departed their designated areas, and caused the Kraft Center to go on lockdown.

       179.    Two days later, on October 20, Mullenix asked to schedule another meeting. At

the next meeting, Mullenix failed to provide substantive responses as to why SJP and JVP were

allowed to announce an event and instead explained the protocol for scheduling events.

Mullenix followed up with an email providing “shareable resources,” including a self-defense

class and counseling and psychological services.

       180.    Meanwhile, anti-Jewish rhetoric and incidents continued to increase across

Columbia. On October 17, for example, a Jewish student on campus had his kippah ripped off


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his head. Two days later, on October 19, a student yelled, “fuck the Jews” at a Jewish student

wearing a kippah inside a Columbia building.

       181.    On October 20, 2023, Lizzy George-Griffin, president of the LionLez student

club—an “event-based, social club designed for queer and non-binary people”—emailed its

members inviting them to movie screenings. At the bottom of the email, George-Griffin wrote:

“It’s FREE PALESTINE over here. Zionists aren’t invited.”

       182.    In response to a student’s reply expressing her concerns and disappointment,

George-Griffin launched into a vile and ignorant antisemitic tirade:

               [W]hite Jewish people are today and always have been the
               oppressors of all brown people . . . . I’m gonna touch your hand
               when I say this, WHEN I SAY THE HOLOCAUST WASN’T
               SPECIAL, I MEAN THAT. . . . Did you know that only white Jews
               are allowed to live in “Israel”? . . . LionLez is run by people of
               color. For it to be a safe space for people of color, Zionists (all of
               whom are white supremacists) are not invited. Ever.

               Hamas only exists because of Zionists’ cruelty. Zionists have taken
               Palestinians hostages for 75 years, so Hamas took hostages for a
               prisoner exchange to get their family members back. They fought
               back and killed a handful of people after a 75-year ongoing genocide
               that’s killed hundreds of thousands. This is not a war. “Israel” is
               the sole aggressor. Israelites are the Nazis.

       183.    George-Griffin ended the email, “You and your white supremacy are also not

invited” and, with bold capital letters, “STOP THE GENOCIDE! FREE PALESTINE!

FUCK ISRAEL[.]”

       184.    SAA Member #4 felt particularly isolated by this email as a member of the Jewish

queer community. She could not understand her place being told that she was not wanted as a

Zionist and would have to leave her identity behind to be welcomed and accepted.




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       185.    When another concerned Jewish student messaged LionLez, the club responded

with no remorse: “discrimination is against oppressed people. Zionists are the oppressors. So

nothing is gonna happen to our club.”

       186.    LionLez was right about one thing—nothing happened to the club, even though in

May 2024, former Columbia Law School Dean and current Co-Chair of Columbia’s Task Force

on Antisemitism (“Task Force”) Professor David Schizer admitted that excluding Jewish

students from student groups because they care about Israel is “completely unacceptable” and

“clearly a violation of the university’s legal obligations.” Columbia learned of George-Griffin’s

and LionLez’s antisemitic discrimination and harassment and did nothing. On October 24, a

student emailed the Student Governing Board, composed of student groups and formed to protect

the rights of students, about LionLez. On October 25, Symonds also emailed the Student

Governing Board to express her concern. A few days later, Symonds filed an OCR complaint.

McNulty also filed an OCR complaint but was told that the incident had been reported and her

complaint would be closed.

       187.    Columbia graduated George-Griffin in December 2023 with a “Multicultural

Graduation Cord”—an honor bestowed by the Multicultural Affairs group of the Undergraduate

Student Life Office on graduates who demonstrate “an outstanding commitment to diversity,

social justice, and multiculturalism through Multicultural Affairs, campus leadership, community

involvement, academic endeavors, and/or personal dedication.”

       188.    On October 24, Columbia facilities employees tore down posters depicting Israeli

hostages. When a Jewish student questioned why the employees were tearing them down, one

responded, “fuck you.” Mizrahi-Aks, who has two family members who were kidnapped and




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held hostage by Hamas, also witnessed the employees tear down the posters, who told him that

they were “propaganda.”

       189.    On October 25, SJP and other student groups participated in a national walkout,

where they walked out of class and marched around campus. The day before, Rubin asked

various deans and professors to be allowed to attend class via Zoom because he did not feel safe

on campus: “Tomorrow there is a large Pro-Palestinian rally on campus, and I cannot take much

more of this. Please help me, I cannot continue to bear witness to all of this.” After Rubin’s

accommodation request was denied, he was forced to drop the course or risk falling further

behind. Notwithstanding the antisemitism that occurred at SJP’s October 12 rally, Columbia

permitted the walkout and merely restricted campus access to CUID holders.

       190.    During the walkout, Columbia community members chanted, “from the River to

the Sea,” while holding signs saying, “resistance is not terrorism!” Rubin was shoved by a

student wearing a keffiyeh, whom Rubin recognized as a Columbia University School of

International and Public Affairs (“SIPA”) student. Rubin reported the student and his concerns

for other nearby Jewish students to Public Safety officers at the rally but was told he had to

report any concerns to the Public Safety office. Yet when Rubin filed a formal report, he was

told that Public Safety could not do anything in response.

       191.    At another point during the rally, Rubin observed a student holding a Palestinian

flag aggressively waving it in the faces of three Jewish students, one of whom was only spared

from being hit because she ducked out of the way. Rubin tried to non-violently deescalate the

situation but was swarmed by students who falsely accused him of being the aggressor. Rubin

later went to the Public Safety office to report the incident, but found about ten officers standing

around ignoring the chaos outside.




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       192.    That day, for the first time, Dean Rosen-Metsch offered to meet with Rubin later

that afternoon. During their meeting, Rubin reiterated his concerns. Dean Rosen-Metsch—who

herself is Jewish and is now a member of Columbia’s Task Force—told Rubin that Columbia is a

“historic antisemitic institution, and it has been the whole time I’ve been here, and there’s really

nothing I can do about it.”

       193.    On October 27, a swastika was discovered in a Columbia University building.

Yet President Shafik failed to disclose the vandalism to the Columbia community.

       194.    On October 31, Yadegar emailed Mullenix, Trulby, Senior Vice President for

Student Affairs Joseph Defraine Greenwell, and Public Safety to inform them of a silent, on-

campus event SSI scheduled the next day and to request Public Safety’s presence in the general

area. Yadegar noted that in the past, SSI had “gone through all the proper channels with the

university to register [its] events,” and sought an exception for this peaceful demonstration.

Mullenix replied that Columbia needed a “MINIMUM of 10 business days” for student group

events, and should SSI move forward, “there likely will be individual and student group

accountability.” By contrast, after SJP and JVP were conditionally suspended ten days later,

Columbia advertised that no individuals were disciplined in connection with the suspension.

When Yadegar asked for an explanation of the disparate treatment of SSI compared to SJP—

which organized the October 25 walkout that, by definition, was not pre-approved—Mullenix

replied: “There has been, what we might consider, a period of transition with the University

event and student group policies this fall. There was further clarity provided to the rules based

on need, including how rules are enforced—so there has been some degree of flexibility the past

few weeks.”




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       195.      Fearing discipline, SSI did not move forward with the event. In the following

months, SSI has continued to abide by Columbia’s policies, including the lengthy notice

requirement before it was amended, but its efforts to organize events were often stymied.

Understanding from Columbia that their events were denied because of an issue coordinating

security, SSI tried to register an event without selecting the option for security but was told that

security was required at their events. Conversely, groups, like CUAD and its member

organizations, have ignored Columbia’s policies and warnings, holding rallies and events near-

daily with impunity. Yadegar repeatedly filled out bias reports and emailed Mullenix about the

groups’ events to no avail and almost always with no response.

                 iv.   Columbia’s Suspension of SJP and JVP Only Emboldens the Groups to
                       Continue to Act Without Consequence

       196.      On November 9, continuing their disregard for Columbia’s policies, SJP and JVP

organized a “Shut it Down!” walkout, which again attracted hundreds of students.

       197.      Earlier in the week, McNulty reported this event to Dean Rosen-Metsch, asking to

cancel or postpone the event given its especially disturbing timing—the anniversary of

Kristallnacht, an unsettling message. Columbia refused. Similar to the SJP and JVP events that

preceded it, the “Shut it Down!” rally featured Columbia community members freely espousing

antisemitic and threatening rhetoric, including student and administrative assistant Adrian

Gonzalez, who aggressively yelled, “fuck the Jews,” “death to Jews,” and “fuck Israel,” while

trying to instigate fights. Aryeh observed students screaming at a rabbi while he was praying

with students.

       198.      At the event, Mohsen Mahdawi, a student organizer, yelled, “back” and “shame”

into a megaphone while instructing other students to physically push a small group of pro-Israel

students back as the agitators conducted a “die-in” and shouted, “from the River to the Sea.”



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These incidents were reported to Public Safety both during and after the event. Kahane also

alerted the NYPD on campus standing around twenty feet away at the time that pro-Israel

students were physically getting blocked by agitators, but the NYPD told Kahane that if they

interfered it could only make the situation worse. Gerald Rosberg, Senior Executive Vice

President of Columbia University and Chair, Special Committee on Campus Safety,

acknowledged after the rally that it was filled with “threatening rhetoric and intimidation.”

       199.    On November 10, Columbia temporarily suspended SJP and JVP—not for the

groups’ antisemitic rhetoric, harassment, and calls for violence, but for their violations of campus

event policies. President Shafik later confirmed this in a listening forum attended by SCLJ

Member #4, stating that the suspension “had nothing to do with what [SJP and JVP] were

saying.” President Shafik reconfirmed this when she was called to testify before the House

Education Committee at the April 17, 2024 “Columbia in Crisis: Columbia University’s

Response to Antisemitism” hearing (“Columbia Hearing”). And while Columbia’s suspension is

conditional—lifting the suspension is contingent on demonstrating a commitment to complying

with Columbia’s policies and engaging with school officials—other institutions, in contrast, such

as Fordham University, State University System of Florida, and Lafayette College, have refused

to recognize, banned, or permanently suspended SJP from their campuses. In fact, in an October

24 letter, Florida’s State University System Chancellor instructed Florida’s universities to

deactivate their SJP chapters citing the group’s support for Hamas.

       200.    Columbia’s SJP and JVP suspensions applied to the groups, not their members.

In response to a frequently asked question about Columbia University’s event policies, Columbia

University published on its Event Policy and Campus Resources FAQ website page that “[n]o

person involved in organizing, promoting, or speaking at the event SJP and JVP staged on




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November 9, 2023, was subject to any sanction under the Rules of University Conduct or

otherwise.” This is despite the litany of Columbia University policies that were broken—

including the EOAA Policies & Procedures, which prohibit “epithets or slurs; negative

stereotyping; [and] threatening, intimidating or hostile acts”—by readily identifiable students

such as Mahdawi and Gonzalez.

        201.    To circumvent the suspension, SJP and JVP members began using CUAD as their

alter ego. Predictably, because Columbia refused to take measures to effectively address the root

problem—antisemitism, and the students and faculty who perpetrate it—its campus environment

is no better following the suspension. The same students who organized and attended SJP and

JVP’s unauthorized hate-filled events continue facilitating the same on a near-daily basis.

        202.    On November 15, Within Our Lifetime-United for Palestine (“WOL”)—an

extremist, antisemitic group that endorsed the October 7 terror attack on Israel and vocally

supported Hamas—organized a rally to protest SJP and JVP’s suspensions just outside of

Columbia’s gates where a Public Safety guard booth is located. SJP advertised the rally on its

social media outlets. WOL’s mission, much like its affiliates, is to “defend the Palestinian right

to resist Zionist settler violence and support Palestinian resistance in all forms. By any means

necessary. With no exceptions and no fine print.” Hundreds of students marched past Gabe’s

dormitory, where many stopped to give Gabe and his roommate the middle finger upon noticing

their Israeli flag in their window. On February 2, this happened again, as several hundred

students marched past Gabe’s dormitory chanting and holding signs such as “victory to the

resistance.” Gabe and his roommate had to take a different exit to get to Friday night services at

Hillel to avoid the rally.




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       203.    A few days before, McNulty emailed GS Dean of Students Marlyn Delva the

rally’s flier, “voicing [her] heaviest concern for the safety for Jewish students once again that is

put at risk with events that push harmful hate rhetoric.” In line with her response to McNulty’s

concerns—which proved to be well founded—about the November 9 rally, Dean Delva said that

she would pass the information on to others in Columbia’s administration.

       204.    During the November 15 WOL rally at Columbia, agitators defaced hostage

posters, chanted, “Israel bombs, USA pays, how many kids did you kill today,” and held banners

that said, “by any means necessary” and “resistance until return within our lifetime.” One

Columbia Jewish student wearing a kippah was spit at by a WOL agitator, and mocked and

harassed by others with threats like, “I hope you guys suffer” and “you guys think it’s okay to

kill innocent babies and bomb hospitals.” Rabban, Symonds, Rubin, Gabe, SCLJ Member #7,

and other Jewish students were subjected to chants calling them “white supremacists,” “genocide

supporters,” “baby killers,” “terrorists,” and “Nazis.” Since the rally was in front of Columbia’s

main gates, Rubin, an IDF veteran, had to walk through the crowd on his way to class as

antisemites flashed signs describing the IDF as “savage.” This was not the first time Rubin felt

discriminated against as an IDF veteran at Columbia. For example, a graduate student, after

finding out Rubin was in the IDF, asked him, “how many Palestinians have you killed?”

       205.    During the hate-fest, Mahdawi addressed the crowd while standing next to

WOL’s co-founder and chairperson, Nerdeen Kiswani, who has called for Israel to be “wiped off

the map.” During his speech, Mahdawi referred to IDF soldiers as terrorists, claimed Israel is an

“apartheid state,” led a chant of “from the River to the Sea,” and thanked the “thousands” of

agitators for rallying in support of SJP and JVP.




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       206.    At the same time as the WOL rally, Columbia faculty organized a walkout and

demonstration on campus to likewise protest the suspension.

       207.    Symonds, who found herself in the crosshairs of this faculty-led rally while

walking through campus, was horrified by the rhetoric school employees were shouting to

students using megaphones. Rubin also observed the same crowd placing stickers around

campus such as “Israel is committing genocide” and “Zionism is racism.”

       208.    On November 16, Symonds attended an event sponsored by a student group,

SIPA Palestine Working Group, entitled “New Paradigm Shift in Palestine and Israel.” During

the event, Professor Khalidi lectured for an hour to a room full of supporters, echoing his claims,

such as Israel is merely using the war as a pretext to destroy Gaza.

       209.    That same day, the student group Columbia Law Coalition for Free Palestine

occupied Columbia Law School’s lobby. For nearly three hours, these students violated multiple

policies, including by disrupting classes with a megaphone. After students notified a Columbia

University administrator, the students were eventually asked to leave the building but were not

removed when they refused.

       210.     On November 28, Yadegar met with President Shafik and reported that Jewish

students were experiencing a hostile environment, in part because of SJP’s and JVP’s rallies.

       211.    On November 30, SIPA hosted a panel discussion, “The War in Gaza:

Constructive Campus Conversations,” in Low Library. CUAD disrupted the event by locking

hands to form a “Hall of Shame” with two parallel rows of students lining the stairs to the

building to heckle attendees while entering or exiting. Using megaphones, CUAD student

members shouted antisemitic chants like “from the River to the Sea.” Rather than disperse the




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crowd, Columbia emailed SCLJ Member #5 and others that they should use a side door (which

the mob later blocked as well).

       212.    Once the panel started, the CUAD agitators further disrupted the event by loudly

banging on the Low Library doors; Public Safety took no steps to stop them. That day, Aryeh

passed by the rally while she was on her way to a meeting with Dean Grinage. During the

meeting, she reported the rally to Grinage, and afterward, emailed Grinage a picture of the “Hall

of Shame” and a social media post proving that SJP and JVP organized the rally.

       213.    On December 5, JVP flouted its suspension by posting on the group’s Instagram

account, inviting the Columbia community to join JVP and SJP at on-campus events for each

night of Hanukah. A Columbia University spokesperson told Jewish Insider that the university

had “communicated with JVP that this is an unsanctioned event by an unsanctioned student

group”—yet JVP and SJP were still able to advertise and hold their event without intervention.

       214.    That same day, the general body of the Student Governing Board voted

“overwhelmingly to declare noncooperation with Columbia’s Student Group Event and

Procedure policy.”

       215.    On December 6, during a breakfast event with Barnard President Laura

Rosenbury, Rabban voiced her concerns and frustration with the antisemitism Barnard permitted

on its campus. Rabban was particularly disappointed with Barnard’s silence on Hamas’s rape

and sexual violence. And despite Barnard being a staunch supporter of women’s rights, it

permitted students to chant and hold signs that read, “resistance by any means necessary.”

Rabban told President Rosenbury about how the violent and antisemitic chants were harmful and

expressed they should not be allowed on campus and shared that she no longer felt safe on

campus.




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       216.    Rabban also conveyed to President Rosenbury that her class options are limited

because many of Barnard’s professors assign antisemitic class materials. President Rosenbury

acknowledged that antisemitism was a “problem” on campus but dismissed Rabban’s concerns,

telling her she was sorry Rabban felt that way. President Rosenbury did not speak of any

concrete actions she planned to take in response.

               v.   Future Social Workers Stage Takeovers in Support of Hamas’s
                    Massacre

       217.    In the days after October 7, CSSW students flocked to group chats to justify

“armed resistance,” writing, “I don’t believe at all that Hamas has committed any atrocities,” and

“[t]here is absolutely not a place to humanize the Zionist Jews slaughtering children.” In

response, Jewish CSSW students turned to their DEI office for guidance and support.

       218.    On October 10, SCLJ Member #3 met with Karma Lowe, CSSW Senior

Associate Dean for DEI, Enrollment, and Community Engagement, to report the group chat

messages. SCLJ Member #3 spent the meeting in tears stressing the need for a Jewish affinity

group at CSSW to provide safe spaces for Jewish students to grieve and process the trauma of

October 7. Instead, Dean Lowe told SCLJ Member #3 that CSSW would not recognize a Jewish

affinity group without a Palestinian affinity group. Because Lowe could not find a faculty

member willing to serve as a facilitator for a Palestinian affinity group, CSSW never formed a

Jewish affinity group.

       219.    At the same time that Jewish students’ pleas for help were being dismissed,

CSSW permitted the formation of student groups, like Columbia Social Workers 4 Palestine

(“CSSW4P”), which advocate violence. Soon after its formation, for example, CSSW4P

released a “Statement in Support of Palestinian Resistance,” introducing its mission to




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“[d]efend[] Palestinian resistance,” and arguing that “[t]he word terrorism is misappropriated to

classify anti-imperial efforts as immoral or barbaric.”

       220.    On November 1, CSSW Student Life emailed its rules for posting fliers,

specifying that fliers need to be pre-approved. CSSW4P and its members continue to flagrantly

ignore those rules without punishment and plaster the school, including classroom chairs,

bathroom stalls, balconies, and even the gaps in the benches, with propaganda, including the

classic blood libel that Israel commits “murder, mutilation, [and] targeted attacks of civilians.”

As part of its campaign, CSSW4P members also wrote on classroom chalkboards “CU, stop

funding genocide” and “divest from Israel’s crimes.”

       221.    Because Columbia refuses to enforce its own policies, Jewish students, like SCLJ

Members #1 and 2, have removed unauthorized posters and erased hateful messages on

chalkboards. SCLJ Members #1 and 2 have also turned such posters over to CSSW’s security

personnel so that security footage can be reviewed and responsible individuals identified. SCLJ

Members #1 and 2 have also reported ongoing poster campaigns to their deans and DEI office.

Their complaints, however, continue to be dismissed. When SCLJ Member #1 reported

unauthorized posters to Lorenzo A. Shaw-Graham, CSSW Assistant Director of DEI, in

November 2023, for example, he responded that removing posters or reminding students of the

policy was “not [his] job.”

       222.    After it was formed, CSSW4P also began hosting a series of events framed as

“sit-ins” and “teach-ins.” On November 8, for example, CSSW4P staged a sit-in to support

“Palestinian resistance movements.” During the takeover, which disrupted classes for over nine

hours, CSSW students passed out pamphlets praising the October 7 attack:

              “Al-Aqsa Flood [the October 7 terrorist attack] has proven to the world . . . you are
               not safe to enjoy your ill-gained comforts”;



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              “All people of an honest heart can relate to” October 7;

              The “capturing hundreds of Israeli settlers . . . sends a clear military message”;

              “Israel has once again exposed itself before the world as a vicious dog” and “the
               question of putting such a dog down is painfully apparent”;

              October 7 proved that “despite their facades, reactionaries bleed and die like anyone
               else”;

              “It is harder, and requires more maturity and understanding to support [Hamas]”;

              “[T]he Houthi resistance fighters in Yemen have launched long-range missiles at
               Israel”; and

              “Armed struggle is the sole path of conquering power for the people.”

       223.    Students also held “from the River to the Sea” signs while they chanted,

“globalize the Intifada” and “by any means necessary,” pounded drums, floors, and the walls,

and blocked entrances and exits to the building.

       224.    Rather than remove these disruptive, pro-terror students, CSSW offered to escort

Jewish students to and from their classes. SCLJ Member #1—whose request for a Zoom option

that day because of safety concerns was denied—was terrified to walk through the takeover and

had to be escorted to and from class. Moira Curtain, CSSW Assistant Dean and Director of the

Advising Department, also escorted students.

       225.    SCLJ Member #2 was terrified when she arrived at CSSW for her afternoon class

and witnessed the takeover. She was reminded of the Nazi’s “Final Solution” upon hearing her

classmates chanting, “there is only one solution, Intifada revolution.” She also observed

CSSW4P members following and chanting at Jewish students in an effort to intimidate and

harass them.




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       226.    On November 29, CSSW4P hosted its first “teach-in,” during which students

falsely proclaimed that: Zionists “suppress[ed] Yiddish and Ashkenazi culture in the region . . .

to replace this weak diaspora Jew with a new strong Israeli and Hebrew speaking Jew” because

“they wanted to erase the language and history of Jews who had historically lived peacefully

with Palestinians”; Israel treats Holocaust survivors poorly because Zionists believe if “violence

is enacted upon you, then you’re weak and you’re a victim, and [Israel] cannot have that in this

new culture”; the “founding ideology of Israel” is “necessary revenge” which “shifted from

Germans to Arabs”; Jews kill babies that “might present future harm to Jews”; “Zionism is

antisemitism”; Zionism is “fanatically racist in nature”; and Jews are “open to killing their own

people to maintain power.”

       227.    On December 3, CSSW4P began advertising its second “teach-in” titled

“Significance of the October 7th Palestinian Counteroffensive.” The event, according to

CSSW4P, would feature a discussion on “the centrality of revolutionary violence to anti-

imperialism.” The flier disseminated before the event depicted an assault rifle, which a CSSW4P

member claimed “is associated with revolutionary struggle.” Immediately after seeing the flier,

Kahane reported the event to the administration.

       228.    The Individual Plaintiffs, SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members, and members of the public were shocked to learn about this event and its

purpose. Professor Davidai, for example, posted on X that “[v]ictims of rape should never have

to worry that their social worker might view some victims as acceptable targets” and tagged

Columbia and CSSW, writing: “THIS IS SCHOOL-FUNDED HATRED” and “IF YOU

ALLOW THIS EVENT TO TAKE PLACE, YOU ARE COMPLACENT IN THE HATRED.”

Dr. Mijal Bitton, a research fellow at the Shalom Hartman Institute of North America, also




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shared the event flier, tweeting: “Imagine receiving services from a Columbia-educated social

worker who believes burning families, killing babies, and gang-raping women is a

‘counteroffensive’ and ‘revolutionary violence [central] to anti-imperialism.’”

       229.    After learning of the planned event, SCLJ Member #3 emailed CSSW Deans

Melissa Begg, Moira Curtain, and Karma Lowe, Senior Executive Vice President Rosberg, and

CSSW Assistant Dean for Student Services Cheiku Camara, the event’s flier and wrote:

“CSSW4Palestine must be addressed as a hate group that has infiltrated our campus. . . . They

have not formed a proper student group so that they can shirk responsibility for the damage they

are causing to our community.” SCLJ Member #5 also emailed their deans, asking them to

ensure the event would be shut down and its promoters reprimanded. The deans assured SCLJ

Member #5 that CSSW would not allow the event to proceed.

       230.    On December 4, Dean Begg issued a statement about the event:

               We learned late last night of a flier and accompanying text being
               circulated about a December 6th event at the Columbia School of
               Social Work (CSSW). This is not a CSSW-sponsored event. The
               students who organized the event did not seek approval for the fliers
               and text as required by CSSW processes. . . . [L]anguage that
               promotes violence in any manner [] is antithetical to our values.
               This event will not go forward at CSSW.

       231.    On December 5, CSSW4P posted a flier for the event on its Instagram and stated:

“Ain’t nothing canceled y’all. Stay tuned for updates tonight. If you didn’t hear it from us,

disregard it.” That day, SCLJ Member #2 emailed several professors and deans, including Dean

Begg, to alert them of this post and report her safety concerns. None of the deans responded.

Contrary to Begg’s assurances, the event did go forward.

       232.    On December 6, starting around 12:00 p.m., Columbia University officials not

only stood idly by as students and faculty took over the CSSW lobby, but aided them in their




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efforts. Before the event, Assistant Dean Camara ushered the event’s organizers into the lobby

and then addressed the crowd to provide tips on how to shirk public backlash, including by

instructing the crowd not to record the takeover. During the event, Camara directed a student-

employee to retrieve and distribute CSSW branded umbrellas so that students and faculty could

create a makeshift barrier to shield the speakers’ identities.

        233.    When SCLJ Member #1 first heard the commotion and realized it was the “teach-

in,” she went to Dean Begg’s office, but Begg’s secretary did not let her into the office. With no

one enforcing the supposed cancellation, one by one, student speakers espoused the kind of pro-

violence rhetoric previewed by the event’s flier. One student described Hamas’s October 7

terrorist attack as “great feats”:

                On October 7, the Palestinian Liberation fighters demonstrated their
                refusal to be dominated. . . . They showed us that through creativity,
                determination, and combined strength, the masses can accomplish
                great feats, a fact that we have seen in every heroic struggle for
                liberation, from Vietnam to Afghanistan. As Mao says, “dare to
                struggle, dare to win.”

        234.    Another student speaker stated: “It is the blood of the pure martyrs and the heroes

. . . that will put an end to [this battle]” and then praised, “Hamas, the Popular Front for the

Liberation of Palestine, Islamic Jihad, the Democratic Front for the Liberation of Palestine . . .

[who] reached united armed struggle in Operation Al Aqsa Flood on October 7.”

        235.    During these speeches, students jabbed their open umbrellas at SCLJ Members #2

and 3, who were attempting to document the takeover. On several occasions, when SCLJ

Member #2 attempted to reposition herself to see the speakers, the students would adjust their

umbrellas so her vision remained blocked. SCLJ Member #2 was jabbed in the face with these

umbrellas throughout the takeover. And when she attempted to move closer to listen to a group




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of students huddled together, she was shoved by a larger student, who was holding a keffiyeh as

a barrier to help shield speakers’ identities.

        236.    Columbia University officials who witnessed this conduct sought themselves not

to be filmed. At one point, an observer asked CSSW’s director of security if the event was

canceled. The security officer, while asking not to be filmed, confirmed that the event as

planned was canceled, but claimed the university could not prevent the event’s attendees from

gathering in the lobby. At another point, a Columbia University official escorted a student out

because he refused to stop recording the event, evidencing that Columbia can evict students

when it wants. Only after over roughly an hour of the “teach-in” did Assistant Dean Camara

finally ask students and faculty to disperse from the lobby and ushered them into another area of

the building.

        237.    Shortly after the “teach-in,” SCLJ Member #5 emailed President Shafik’s office,

asking what Jewish students should do to protect themselves, given that Columbia “cannot

guarantee [their] safety”—“If you cannot shut down an event that was known in advance and had

no authorization, what will you do when someone attacks?” Twelve days later, President

Shafik’s office provided a generic response that Columbia is committed to ensuring the safety

and well-being of its student and enforcing violations of its policies.

        238.    On December 7, a student reported the event and Camara’s behavior through

Columbia’s bias hotline. SCLJ Member #2 detailed her experiences at the takeover to several of

her professors during a meeting in January. Yet Columbia has not disciplined the students who

brazenly flouted Columbia’s policies nor the administrators, like Camara, who aided them in

doing so.




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       239.     Columbia’s refusal to enforce its policies to protect Jewish CSSW students,

despite their persistent pleas for help, is astounding. Dean Lowe has been on “leave” since

December, so Jewish CSSW students are stuck with Assistant Director Shaw-Graham, who

continues to dismiss their concerns. Jewish CSSW students have regularly met with Dean

Curtain to detail concerns for their safety and well-being, but on February 2, Curtain began a

three-week vacation. Her automatic email reply referred students to Assistant Dean Camara, the

same administrator who enabled incitement of violence and actual violence at the December 6

“teach-in.”

       240.     On February 8, 2024, CSSW’s Jewish Caucus organized an “Emergency

Antisemitism Roundtable.” The Jewish Caucus invited various CSSW administrators and

faculty; Dean Begg, however, did not attend, nor did any representatives of CSSW Student

Affairs. Deans Curtain and Lowe both responded with out-of-office emails, even though they

could have attended via Zoom. One professor was unable to attend because she was purportedly

“commuting home” during that time. Assistant Director Shaw-Graham attended for a portion on

behalf of the DEI office and actively dismissed student concerns. Assistant Dean Camara

attended but said nothing, let alone explain his conduct during the December 6 takeover. During

the event, multiple faculty admitted that CSSW is not safe for Jewish students.

       241.     On March 28, CSSW’s DEI office hosted a “Trans Day of Visibility” panel.

During the panel, the panelist stated Zionists were “stealing her joy,” equated Zionists to

homophobes, and promoted “pinkwashing,” an antisemitic conspiracy theory that Israel touts its

inclusiveness of the LGBTQ+ community to distract from its supposed mistreatment of

Palestinians.




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       242.    Jewish students at CSSW, like SCLJ Members #1, 2, and 3, maintain a list of

professors classified as “not friends of the Jews,” “complicated,” “undecided,” or “friends of the

Jews.” The number of professors considered “friends of the Jews” is close to the number of

those that are hostile toward Jews. Jewish students are thus deprived of access to Columbia’s

full course catalog available to their non-Jewish classmates if they want to avoid antisemitic

discrimination or harassment from professors.

               vi.   SJP and JVP Continue to Organize and Stage Yet Another Rally
                     Despite Their Suspensions

       243.    On December 8, in violation of the terms of its suspension, SJP commandeered a

table reserved by another student group to distribute pamphlets saying, “from the river to the sea,

Palestine will be free.”

       244.    On December 9, SJP and JVP announced a December 11 rally at Barnard to

demand that President Rosenbury publicly call for a permanent ceasefire between Israel and

Hamas. In anticipation, Sarah Gillman, Senior Vice President Strategic Finance and Operations

at Barnard, and Dean Grinage warned students: “We have been made aware of a protest planned

on the Barnard campus for Monday afternoon. This protest has not been authorized. . . . [T]his,

and any unauthorized protest or event, is not permitted.”

       245.    Undeterred, on December 11, Columbia students gathered in the Barnard Quad

and on the Milstein Center terrace, then marched to Futter Field on Barnard’s campus where they

were joined by more students who had been attending another rally on the Low Library steps.

Doe could hear chants from his dormitory room, including, “Zionism will fall” and “we don’t

want Zionists here.” Doe tried to travel to a library, but Columbia had blocked the nearest route.

Doe was surrounded by marching students, and while attempting to get past them, students

commented “what is he doing here?” Throughout the Barnard rally, over one hundred students



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chanted, “Intifada, Intifada, long live the Intifada,” “from the River to the Sea,” and, in Arabic,

“from water to water, Palestine is Arab.” At least one Jewish student was physically assaulted at

the rally.

        246.   Zuckerman was studying in Milstein Library but the constant chants made it

impossible to focus. She left shortly thereafter and found the rally overwhelming and unsettling,

especially because she recognized several classmates in attendance. Rabban was so

overwhelmed by the sheer number of people chanting anti-Jewish hate outside Milstein Library,

that she immediately started crying and left. Before leaving, she saw Dean Grinage at the rally,

and felt frustrated that Dean Grinage did not intervene to stop it. Sandler held her calculus office

hours on Barnard’s campus during the rally and was forced to walk through the bushes just to

safely access the math help room.

        247.   When Ruttenberg left class, she had no choice but to walk through the rally.

Once there, she saw Jennifer Fondiller, Barnard’s Vice President for Enrollment and

Communications. Ruttenberg approached Fondiller and told her she was terrified by the rally.

Fondiller shrugged and responded that it is easier to let it happen than to stop the rally.

        248.   During the rally, SAA Member #4 looked for Jennifer Rosales, Barnard’s Vice

President for Inclusion and Engaged Learning and Chief Diversity Officer, with whom she had

spoken previously about her experiences on campus, but she was not in her office. SAA

Member #4 later learned Rosales was on campus supporting the student agitators. SAA Member

#4 has seen her professors at numerous rallies throughout the year, which made her feel she had

no support system with Barnard’s faculty.

        249.   SCLJ Member #7 first heard the chants from her Barnard residence hall.

Although she felt unsafe leaving, she had to walk through the rally to attend a class. While




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traversing campus, she was disturbed that faculty participated in genocidal chants. She was

relieved to identify Dean Grinage at the rally, and asked her if Public Safety would shut it down.

Dean Grinage responded that Public Safety was instructed to permit the rally, and if SCLJ

Member #7 was uncomfortable, she could return to her residence hall. Fearing for her safety,

SCLJ Member #7 returned to her residence hall, where she was unable to escape the terrifying

sound of the rally.

       250.    After the rally, SCLJ Member #7 emailed President Rosenbury’s office to report

it, provide her firsthand account, and express that Jewish students “feel incredibly unwelcome

and unsafe on our own campus” and are “disappointed in the lack of responsiveness to a planned

unauthorized rally on campus.” President Rosenbury’s office replied: “We appreciate your

reaching out to share your thoughts, experience, and feedback. . . . Please know we take your

concerns seriously and want to ensure that you have access to Barnard’s spaces, support, and

resources.” The email incredulously lauded Barnard’s efforts to “ensure students’ safety” during

the rally, even though Dean Grinage admitted that Public Safety could not intervene safely,

failed to commit to holding accountable those responsible, and merely referred SCLJ Member #7

to online resources and community programs.

       251.    Bellows was in class when the rally started at Barnard, and had trouble focusing

because the mob outside was banging drums, banging on classroom windows, and chanting. Her

professor continued teaching but she could not hear her over the rally outside. When class

ended, Bellows had to walk through the rally to exit campus. She, along with two other visibly

Jewish students, noticed Dean Grinage and other administrators at the rally not taking any action

to stop it. When they asked her why she was not stopping the rally, Dean Grinage told them

there was nothing she could do.




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       252.    Even though SJP and JVP were suspended and were advocating violence against

and the destruction of Israel and its people, Columbia did not shut the rally down. And despite

several Barnard deans passing by and Dean Grinage attending, the rally continued unabated.

Aryeh still saw classmates on campus who boasted about their participation on social media.

              vii.   Violent and Exclusionary Anti-Jewish and Anti-Israeli Rhetoric
                     Escalates in the Spring 2024 Semester

       253.    The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members allowed themselves to hope that when they returned from winter break,

Columbia would finally remedy its antisemitic hostile campus environment. They were

disheartened that at one of the first major rallies of the new semester, Columbia, once again,

refused to enforce its rules against “language that promotes or supports violence,” including

“[c]alls for genocide against the Jewish community,” among other policies. As Mahdawi told

the Columbia Spectator: “The administration has been betting on us calming down and getting

busy and forgetting about it. . . . [W]e come stronger every time after a break.”

       254.    On January 19, 2024, Barnard held a “Day of Dialogue,” a town hall style event

“designed to address [] challenges, promote respectful dialogue across [] differences, and affirm

[Barnard’s] commitment to being an inclusive community.” To encourage attendance, Barnard

canceled classes and held a raffle. Barnard’s administrators invited as a speaker Hatem

Bazian—who infamously has stated that “it’s about time we had an Intifada in this country,”

called for the dismantling of Israel, co-founded SJP, and founded and chairs AMP, which is

under government investigation for providing material support to Hamas. In defending the

invitation, a Barnard spokeswoman praised Bazian as a “renowned scholar” who could help

students “examine all viewpoints.” During the town hall, CUAD, SJP, and JVP members

marched through a Barnard building to disrupt the event.



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       255.    The day before, Ruttenberg emailed Dean Grinage reporting an emergency rally

planned for the next day and stated she was scared of attending the Day of Dialogue. Dean

Grinage responded, “[w]e are also aware of a planned protest on the steps of Low . . . we will

monitor the activities at Low so that we can respond accordingly as needed on our own campus.”

       256.    SAA Members #1 and #4 attended the Day of Dialogue. During one event, the

male speaker told the audience that there was not enough evidence to prove Hamas sexually

assaulted Israeli women on October 7. SAA Member #4 was in disbelief that at an event at a

historically women’s college with classmates constantly encouraging others to “believe women,”

not one administrator or moderator responded to or stopped the speaker or sent an email after the

event. After the speaker finished, SAA Member #4 told one of the organizers she was extremely

disappointed and disgusted by the speaker’s behavior and Barnard permitting him to continue

speaking. The organizer thanked her for her feedback and said she would send a feedback form.

SAA Member #4 never received a feedback form.

       257.    Later that day, CUAD held a “Divestment Now” rally at Low Library which was

promoted by the supposedly suspended SJP and JVP. Around 1:00 p.m., hundreds of Columbia

students gathered on the steps of Low Library, where they kicked and knocked over metal

barriers surrounding the Alma Mater statue and chanted: “there is only one solution, Intifada

revolution”; “we will honor all our martyrs”; “if we don’t get no justice, then they don’t get no

peace”; and, in Arabic, “from water to water, Palestine will be Arab.” Students also proclaimed

their support for the Houthis—whose slogan is “Death to America, Death to Israel, curse the

Jews and victory to Islam” (and who recently executed people they accused of homosexuality)—

just two days after the U.S. State Department designated them a global terrorist group, chanting

and holding signs that said, “Yemen, Yemen, make us proud, turn another ship around.”




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Westergaard heard and saw these chants and signs from the entrance of the Chemistry building.

Molly was attending a vigil at the steps in front of Low Library when Public Safety asked her

and the other Jewish students to relocate from the steps. Yet shortly after they moved, a pro-

Palestinian rally formed in the same spot in front of Low and was not asked to move.

       258.    Several students advanced on the pro-Israel and Jewish students in attendance,

blocking them with Palestinian flags. A Public Safety officer had to intervene when Mahdawi—

the same organizer who was previously reported for his intimidation of Jewish students on

November 9—encroached on and shouted through a megaphone at Jews and other Israel

supporters. Although a Columbia University official acknowledged to the Columbia Spectator

that “this was an unsanctioned event held by an unrecognized student coalition and that is a

violation of university policies and procedures,” Columbia did nothing to prevent the rally from

occurring, remove attendees, or discipline CUAD’s members. In fact, not only did Columbia

tolerate the unsanctioned event, but Columbia faculty actively participated in it, including

members of the Faculty and Staff for Justice in Palestine (“FJP”), which was organized in

support of SJP and JVP.

       259.    A few days later, on January 24, CUAD, SJP, and JVP organized a walkout titled

“No Safety Without Divestment.” In anticipation, Columbia restricted campus to CUID holders,

despite this proving unsuccessful in maintaining order during the previous semester’s rallies.

Over one hundred students walked out of their classes and gathered at the center of campus to

chant, among other things: “if we don’t get no justice, then they don’t get no peace”; “Intifada,

Intifada, long live the Intifada”; “from New York to Gaza, globalize the Intifada”; and, in

Arabic, “from water to water, Palestine will be Arab.” Students also held signs that said,

“Yemen, Yemen make us proud, turn another ship around.” The students also chanted, “we




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don’t want no IOF here” and “IOF off campus now,” in reference to Columbia’s IDF veterans

(IOF is an antisemitic term for IDF, meaning “Israel Occupation Forces”). Because of

mandatory military service in Israel, this is the equivalent of calling for Israelis not to be

permitted on campus. Rabban, whose father is Israeli and who has many family and friends in

the IDF, was particularly impacted by the “IOF” chants, as everywhere she looked, her friends

and family were called “terrorists,” including by classmates that she thought were her friends.

       260.    During the rally, Mahdawi once again espoused violence. Using a megaphone, he

glorified martyrdom, claiming that “there is nothing-nothing more honorable than dying for a

noble cause.” Doe was traveling to his dormitory when he came upon this scene. While

maneuvering through the mob around the Low Library steps, Maryam Iqbal, a prominent SJP

and CUAD organizer, stopped Doe and asked him, “why are you here?” When Doe questioned

what she meant, Iqbal responded, “are you here as a Jew?” Doe again asked Iqbal what she

meant, to which Iqbal asked, “well do you support Israel?” When Doe answered in the

affirmative, Iqbal said, “well we’re fighting against you.” When the mob marched past Butler

Library, Gerstein was blocked from entering. When the rally ended, students promised to

continue their efforts, chanting, “we’ll be back.”

       261.    Jewish students and faculty were scared and frustrated by Columbia’s continued

refusal to protect them. Professor Davidai tweeted: “Columbia knows *exactly* who are the

organizers of these pro-Hamas protests. Columbia knows *exactly* who are the organizers that

repeatedly break the school’s rules. It’s not that Columbia can’t do anything. Columbia is

*choosing* not [sic] to do nothing.”

       262.    In a Democracy Now! interview the next day, Katherine Franke, James L. Dohr

Professor of Law at Columbia Law School, suggested that the mere presence of Israeli students




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on campus is cause for concern, stating: “Columbia has a program. It’s a graduate relationship

with older students from other countries, including Israel. And it’s something that many of us

were concerned about, because so many of those Israeli students, who then come to the

Columbia campus, are coming right out of their military service.” Franke has previously refused

to write reference letters for students seeking jobs or internships in Israel and has been

supporting and advising SJP and JVP during their suspensions and CUAD. Gal understood

Franke’s comments to apply to Israelis in general, since service in the IDF is mandatory.

       263.    A Columbia University spokesperson acknowledged in a statement to Haaretez

that Professor Franke’s statements are “antithetical to Columbia’s values and can lead to acts of

harassment or violence.” In May 2024, Task Force Co-Chair Professor Schizer told the Wall

Street Journal that Franke’s comments were “problematic, not just morally but also legally.”

Despite these statements, Columbia University has not disciplined Professor Franke.

       264.    On January 26, CUAD, SJP, and JVP shared a tweet on their Instagram pages:

“can we now say that . . . we’ve matured past the point where we genuinely believe that pacifist

and diplomatic efforts to save Palestine will actually work? revolution and armed resistance is

the only thing that’ll save Palestine.” Although Columbia’s “rules of conduct do not allow or

condone language that promotes or supports violence in any manner,” like the many before it,

the groups’ open call for “armed resistance” has gone unpunished.

       265.    That same day, SCLJ Member #5 attended President Shafik’s “Listening Forum.”

SCLJ Member #5 was eager for this opportunity, but much to their dismay, President Shafik

misappropriated the Listening Forum to deflect Jewish students’ concerns. During the forum,

SCLJ Member #5 told President Shafik that Jewish students feel unsafe on campus and, because

of Columbia’s inaction, are often forced to avoid class, certain buildings, and campus altogether.




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President Shafik responded by pointing to Columbia sponsored events, like the November 30

SIPA panel discussion, yet failed to acknowledge that Columbia allowed the panel discussion to

be overrun by agitators, causing Jewish students, like SCLJ Member #5, even more distress.

Ultimately, President Shafik made the troubling suggestion that Columbia should prepare

incoming students to be “more resilient” to the campus environment.

       266.    During the Listening Forum, President Shafik also falsely claimed that an alleged

incident involving a stink bomb at CUAD’s January 19 rally was the only physical attack on

campus since October 7. In reality, several Jewish and Israeli Columbia students have been

assaulted on or adjacent to campus at events organized by Columbia students. Even though the

NYPD’s investigation is still ongoing, President Shafik gratuitously referred to the alleged stink

bomb incident as a “chemical attack.” During a February 16 Listening Forum attended by SCLJ

Member #4, President Shafik again referred to this incident as a “chemical attack.” In fact,

President Shafik has known for months that the substance involved was an odorous spray and not

a chemical yet has failed to correct the record to the Columbia community.

       267.    On January 31, posters resembling Nazi propaganda were plastered around

Columbia’s campus. The posters contained an image of a blue and white skunk with an Israeli

flag imprinted in its fur next to the words “Beware! Skunk on Campus” and “brought to you in

collaboration by Columbia University and the IOF.”

       268.    Around this time, student and CUAD organizer Khymani James’—who would

later become one of the leaders of the April 2024 encampment—livestreamed a meeting with

Columbia’s Center for Student Success and Intervention (“CSSI”), the purpose of which was to

discuss the possibility of disciplinary action for disturbing comments James had made regarding

“Zionists” on social media, including: “Zionists in my DM, wanting to meet up and fight. I don’t




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fight to injure or for there to be a winner or loser, I fight to kill. See y’all in New York January

2024.” James also posted a screenshot of direct messages with text overlaying it that suggest

James carries a gun: “Yeah I CARRY that tool[.] Get a taste[.] I’m moving like I’m in an

OPEN CARRY STATE[.]” When asked by Columbia administrators during the meeting if

James could “see why that’s problematic in any way,” James replied, “no.” James then told the

administrators that “taking someone’s life in certain case scenarios is necessary and better for the

overall world,” and “there should not be Zionists anywhere. Zionists are Nazis.” Turning to the

camera when the administrators were on a break, James proclaimed, before breaking out into

hysterical laughter, “the meeting’s a joke. They definitely were hoping that I was going to walk

back the ‘I fight to kill.’”

        269.    During the meeting James also expressed: “Zionists, along with white

supremacists, need to not exist”; “be grateful that I’m not just going out and murdering Zionists”;

and “Zionists don’t deserve to live.” Columbia did not remove James from campus—Columbia

administrators even recognized James as one of the leaders of the encampment and negotiated

with him—until April 26, exposing Jewish students to months of further harassment by James

and CUAD.

        270.    On February 2, WOL returned to Columbia for an “All Out for Palestine at

Columbia University” event, which was also organized and promoted by CUAD, SJP, JVP, and

Samidoun. Samidoun is designated by the Israeli Ministry of Defense as a terrorist organization

and was banned in Germany in October 2023 for “disseminat[ing] anti-Israel and anti-Jewish

propaganda” and “support[ing] and glorify[ing] various foreign terrorist organisations, including

HAMAS.” Samidoun has had its funding blocked by U.S. credit clearing companies for its

alleged terror-related activities.




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       271.    A few days earlier, SCLJ Member #5 reported the upcoming event in an email to

President Shafik’s office, the Task Force, and Public Safety wherein they detailed WOL’s

hateful and violent history and expressed concern for the safety of Jewish students. SCLJ

Member #5 received no substantive response.

       272.    Starting around 3:00 p.m., hundreds of agitators, including students and faculty,

gathered in front of Columbia’s gates. The mob chanted: “we will honor our martyrs”; “there is

only one solution, Intifada revolution”; “globalize the Intifada”; “settlers, settlers, go back home,

Palestine is ours alone”; and “from the River to the Sea.” Agitators held up signs that said:

“expel IOF terrorists from Columbia”; “by any means necessary”; “Israel has managed to turn

Jews into Nazis!”; and “victory to the Palestinian resistance.” There were also trucks with

billboards claiming that “Israel is the new Nazi Germany,” repeating the blood libel that “Israel

steals Palestinian organs,” and displaying images of Hitler next to President Biden. That

afternoon, Doe was forced to take an alternative route to get a meeting in Butler Library. While

traveling through the WOL rally, he heard chants of, “go back to the gas chambers.”

       273.    At one point, the mob began marching down Broadway in front of a Columbia

building where a Jewish student wearing a shirt with an Israeli flag was confronted. One agitator

saw the student’s shirt and told the group to spread out and block his path before pushing and

pinning the student against the wall of the Columbia building while the rest of the crowd

surrounded him. After the student broke free, the group chased after him yelling, “keep fucking

running.”

       274.    SJP shared to Instagram that FJP participated in the rally, and Mahdawi vowed to

continue organizing these riots, remarking after the rally, “we are not backing down.” The

NYPD arrested several individuals, including at least one Columbia student.




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        275.    On February 8, CUAD, SJP, and JVP organized yet another walkout. Columbia

again merely restricted campus to CUID holders, permitting approximately fifty students to

gather in the center of campus, where they created antisemitic propaganda and obscenity laden

signs disguised as “art,” such as “Zionists get no bitches,” while using amplified sound to chant:

“globalize the Intifada”; “there is only one solution, Intifada revolution”; “resistance is justified

when people are occupied”; “Israel is a racist state”; “Israel is a fascist state”; “Israel is a terrorist

state”; “from the River to the Sea, Palestine will be free”; “Palestine is our demand, no peace on

stolen land”; “Yemen, Yemen, make us proud, turn another ship around”; “it is right to rebel,

Israel go to hell”; and, in Arabic, “from water to water, Palestine will be Arab” and “Palestine,

free, free, Zionists go out.”

        276.    Columbia Professor Joseph Howley spoke into a megaphone purportedly on

behalf of FJP, espousing antisemitic conspiracy theories that Israel is directly “destroying the

culture and reputation” of Columbia; and that Israel destroys Palestinian libraries “because they

want to destroy its memory and its past.” Professor Howley also encouraged students to

continue ignoring Columbia’s policies by “showing up” for the unsanctioned rallies.

        277.    Following the Columbia rally, Columbia University Professor and Task Force

member Gil Zussman posted on X: “Cat is out of the bag: dozens of Students for Justice in

Palestine chant ‘From the river to the sea Palestine will be Arab’ & other horrible chants about

the ‘Yahood’ (Jews).”

        278.    Less than one week later, on February 13, CUAD and SJP led roughly one

hundred students in another rally on campus unopposed by Columbia. During the rally, students

dyed red the snow-covered lawns in the center of campus to symbolize blood. They also

chanted, using megaphones: “there is no safe place, death to the Zionist state”; “we don’t want




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two states, we want all of it”; “if we don’t get no justice, then they don’t get no peace”; “no

peace on stolen land”; “Israel is a terrorist state”; and, in Arabic, “Jews out.” Students also

harassed and intimidated a student holding an Israeli flag, blocking him and blasting sirens in his

direction. The students eventually marched around campus, culminating in a blockade at the

entrance of Butler Library, where they broke the glass of a library door and promised to continue

their efforts, shouting, “the more you try to silence us, the louder we will be.”

       279.    In response to the rally, Professor Zussman posted on X: “Another day, another

unapproved demonstration with hate speech.” Disturbingly, on an SJP Instagram post bragging

about the rally, an individual commented, “Plant a bomb tbh.”

       280.    Even with advance knowledge of these rallies, which violate numerous provisions

of Columbia’s policies and are organized by suspended student groups, Columbia refuses to stop

them and curtail the pervasively hostile environment for Jewish and Israeli students.

       281.    On February 29, Barnard emailed students that vandalism “will not be tolerated”

in response to a string of pro-Hamas graffiti—“student dissent does not require authorization,”

“Gaza will live,” and “RESIST BY ANY MEANS NECESSARY” with an upside down red

triangle—in Barnard bathrooms. The inverted red triangle has been used in videos by Hamas to

identify Israeli military targets. The email did not reference antisemitism. On March 5, a

bathroom stall at Barnard was spray-painted “LONG LIVE THE INTIFADA.”

       282.    At a February 29 bipartisan roundtable on campus antisemitism commissioned by

the House Education Committee, Yadegar shared that at Columbia, the same Jew hatred that

drove her family out of Iran was normalized, and that antisemitism has corrupted and impacted

Columbia’s campus, classrooms, student groups, online spaces, and even Hillel (which was

vandalized with “LONG LIVE the PALESTINIAN ARMED STRUGGLE”). For example,




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Yadegar intended to complete her Middle East Studies major requirements in the spring 2024

semester by taking a course on Israel, but the only course available was taught by Professor

Massad. On June 3, Yadegar submitted an EOAA complaint about MESAAS’ discriminatory

curriculum.

       283.     On March 6, students set up a table in Lerner Hall with a banner that said,

“Zionism is treif [unkosher],” which Aryeh reported to Public Safety and President Shafik’s

office. Students passed out pamphlets from a table in Lerner Hall later that day calling to

“globalize the Intifada” and stickers that said, “Zionism is Terrorism.”

       284.     On March 21, while Yadegar was at a table on campus with a sign that said, “I’m

a Zionist, ask me why,” she was accosted by students who called her “disgusting,” a “white

colonizer,” and screamed that she should be “ashamed” of herself.

              viii.   Columbia Students Host Event Supporting Terrorism on Columbia’s
                      Campus

       285.     On March 24, CUAD and WOL co-hosted “Resistance 101,” an unsanctioned

campus event that featured speakers from organizations with confirmed ties to the U.S.-

designated terrorist organization Popular Front for the Liberation of Palestine (“PFLP”),

including Samidoun and Masar Badil. Masar Badil, also known as the Palestinian Alternative

Revolutionary Path Movement, has supported the invasion of Israel, labeled October 7 as an act

of “heroic Palestinian resistance,” and hosted events with Hamas leaders.

       286.     According to the flier advertising Resistance 101, which was promoted on

Instagram by various Columbia student and faculty groups including FJP, and featured an image

of a Palestinian boy throwing stones at an Israeli tank during the Second Intifada, the event was

scheduled to take place in-person (with an online stream) at the Barnard Center for Research on

Women, which provided logistical support by agreeing to host the event.



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       287.    On April 17, President Shafik testified before Congress at the Columbia Hearing.

When President Shafik was asked about Resistance 101, she testified “we did not allow that

event to happen,” and that after Columbia University and Barnard declined to approve the event,

it was “decamped to a dorm room” where it was held online. She testified the administration

only learned of the event that day and “immediately” contacted the FBI. Yet the event was

promoted on March 22, several days before. Despite being supposedly unsanctioned and

unapproved, the terrorism recruiting event took place in a dormitory and streamed via Zoom.

       288.    During the event, speakers expressed their explicit support of Hamas’s use of

violence and “armed resistance” against Israel, and repeated that the student protests on

Columbia and other campuses should and do operate as direct support for Hamas in its activities.

The speakers, including Charlotte Kates, a leading member of Samidoun; her husband, Khaled

Barakat, a spokesperson for the PFLP who in November 2023 called for Israel to be replaced;

Nerdeen Kiswani, co-founder and leader of WOL, who has expressed full, unabashed support for

all forms of “resistance” against Israel, regardless of the brutality of the violence; and Sean Eren,

a member of National SJP, spent nearly two hours proclaiming their support for terrorism.

       289.    Kates began by describing how “October 7th changed the world [because] [o]n

October 7th, we saw the potential of a future for Palestine liberated from Zionism by the force of

the Resistance.” Kates praised the Iranian regime for doing its utmost to “free Palestine from

Zionism” and told the students: “It is incumbent on us that when we do go out and speak at

demonstrations, and we do go out and organize, to say that we stand with the Palestinian armed

resistance. And we support them. And that this is a struggle that we want to be part of.” She

also told students that the “Palestinian resistance’s” actions on October 7 were “earth-shattering,”




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“necessary,” and that “there is nothing wrong with being a member of Hamas, being a leader of

Hamas, being a fighter in Hamas.”

       290.    Barakat, a leader of Samidoun, who has said that he “wish[ed] ISIS would fight

the Zionists” and is banned from entering Germany due to his support for terror, drew parallels

to the October 7 attack and the PFLP’s terrorist hijacking attacks in the 1960’s and 1970’s,

which he praised as “heroic” and “one of the most important tactics that the Palestinian

resistance have engaged in.” He emphasized that it was “really important to see how the Al-

Aqsa Flood [the October 7 Hamas attack] operation ha[d] liberated the Palestinian inner

strength” and inspired “new generations that today are getting involved in the struggle and it’s so

visible in the US, Canada, Europe and elsewhere. . .a new generation that is actually leading our

struggle in the diaspora.” He also relayed to students that he spoke with his “friends and

brothers” in Hamas, Islamic Jihad, and the PFLP, and that “when they see students organizing

outside Palestine, they really feel that they are being backed as a resistance and they’re being

supported. Every demonstration in New York matters for Gaza. Your work is so important to

the resistance in Gaza, more than ever.”

       291.    Kiswani, who as leader of WOL has led countless anti-Israel rallies at Columbia

and across New York City, called on students to openly embrace the October 7 attack as

“resistance.” She told students: “Don't acquiesce to the idea [of], well, ‘Oh, [Hamas is]

considered a terrorist organization, so we shouldn't talk about resistance. . . . We have the right to

return home, and we will get that right by any means necessary.”

       292.    Four days after Resistance 101, Columbia Chief Operating Officer Cas Holloway

issued a statement that Columbia was investigating the unsanctioned and unapproved event, that

the outside speakers were banned from campus, and that Columbia would pursue discipline




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against those who violated policies. At the Columbia Hearing, President Shafik testified that

“all” of the students who organized Resistance 101 had been suspended. Yet Columbia’s own

reporting revealed that was inaccurate. Congressman Wilson said at the Columbia Hearing, “the

documents Columbia produced to the committee shows the University only suspended three

students for antisemitic incidents between October 7th and March 24, with the Resistance 101

event,” and that “[a]ll three of those were lifted or reduced to adjudication,” including a student

who repeatedly harassed students, screaming “F the Jews.” Additionally, “of the ten suspensions

that came in response to the Resistance 101, five were lifted because Columbia determined they

were not involved.” Indeed, some of the students purportedly suspended were seen participating

in the campus encampment weeks later.

       293.    On April 3, CUAD published an “emergency communication” for its supporters

advising them to “show up” at a protest the next day to “take back [Columbia]” “to show [their]

unconditional solidarity with Palestine.” CUAD also recommended students take measures to

conceal their identity, such as covering up tattoos and piercings, wearing nondescript clothing

and shoes, and not swiping CUIDs on campus to avoid identification by scanning records.

       294.    On April 4, CUAD co-sponsored an unauthorized rally at Columbia, “All Out for

Al-Shifa,” referring to a hospital in Gaza. During the rally, CUAD distributed fliers outlining its

goals, including, “financial divestment from Israel, an academic boycott of Israel, stopping the

displacement of Palestinians, defunding policing on campus, and calling for an immediate and

permanent ceasefire.” Students held signs that said, “from the River to the Sea, Palestine will be

free,” and chanted, “say it loud, say it clear, we don’t want no Zionists here.” During the rally, a

Jewish student overheard a Public Safety officer on the phone say, “the Jews have been

oppressing Palestinians in Gaza for years.”




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       295.    That day, a swastika was drawn in a bathroom in Havemeyer Hall—the exact

bathroom next to McNulty’s classroom she had been in a few hours earlier.

       296.    In the days before the rally, President Shafik emailed all students threatening

disciplinary action. At least one student supposedly suspended and evicted from campus for her

involvement with Resistance 101 was back on campus on April 4 as a speaker at the rally.

       297.    On April 5, less than two weeks before the Columbia Hearing, President Shafik

published a statement concerning Resistance 101 and the April 4 rally. She confirmed that even

though Resistance 101 was barred twice from occurring, it did indeed take place and “featured

speakers who are known to support terrorism and promote violence.” The statement also

confirmed that the April 4 rally was an “unapproved event near academic buildings in violations

of [Columbia’s] rules and policies,” and that students who participated would be identified and

disciplined. This unapproved rally—and others—occurred after and despite the Task Force’s

recommendation that Columbia “do more to stop unauthorized protests as they occur.”

              ix.    Columbia University Administrators Testify Before Congress and
                     Admit to Antisemitism Problem on Campus

       298.    On April 17, President Shafik, Columbia University Board of Trustees Co-Chairs

Claire Shipman and David Greenwald (“Co-Chairs”), and Task Force Co-Chair Professor

Schizer testified before the House Education Committee at the Columbia Hearing.

       299.    All four gave opening statements unequivocally acknowledging that the

antisemitism Jewish students have faced at Columbia is “unacceptable.” President Shafik

claimed to be fully aware of the devastating effects that the events of October 7 would have on

Columbia’s campus, acknowledging that “on October 7th the world changed . . . Israel was

brutally attacked by Hamas terrorists, and very soon it became clear that these horrific events

would ignite fear and anguish across our campus.” Despite this forewarning, Shipman admitted



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that Columbia’s “systems clearly [were not] equipped to manage the unfolding situation.”

Professor Schizer described some of the antisemitism Jewish students have experienced,

acknowledging that “being a Zionist should not disqualify anyone from a dance group, or a

theater production,” and describing this “signaling that Jews are accepted only if they reject a

core part of their religion and identity” as “old-fashioned bigotry.” He also agreed with what

Jewish and Israeli students, such as the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members, have complained of for months: Columbia “needs to

avoid double standards. When Jewish students complain that speech makes them uncomfortable,

they should get the same treatment as other groups.”

       300.      President Shafik and the Co-Chairs were also asked about the rallies and

demonstrations on campus. President Shafik was specifically asked whether the chants, “by any

means necessary” and “Intifada revolution[]” violated Columbia’s policies. President Shafik

refused to recognize that this language violates Columbia’s rules. Instead, she said she “hope[s]”

that the Task Force would help “actually clarify where language crosses the line from protected

speech to discriminatory or harassing speech.” Yet Columbia’s policies do prohibit

discrimination and harassment and as Professor Schizer, a legal scholar, testified, “free speech

doesn’t extend to harassment and discrimination.”

       301.       When asked whether mobs shouting “from the River to the Sea” or “long live the

Intifada” qualify as antisemitic comments, President Shafik replied: “I hear them as such. Some

people don’t.”

       302.      Throughout her testimony, President Shafik revealed her lack of understanding of

the reality of antisemitism. According to her, antisemitism is defined as “any discrimination

against people for their Jewish faith.” But, as Professor Schizer testified, antisemitism is broader




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than President Shafik’s definition. According to Schizer, antisemitism is “bias against Jewish

people, which can manifest as ethnic slurs, stereotyping, Holocaust denial, double standards as

applies to Israel and antisemitic tropes.”

       303.    When asked if there had been any “anti-Muslim” or “anti-Arab” demonstrations

on campus, President Shafik evaded the question and instead responded that “there have been

many pro-Israeli demonstrations.” When pressed, she reiterated that she had seen “pro-Israeli

demonstrations on campus.” When asked if she had seen any protests “against Jewish people,”

President Shafik said, “no,” directly contradicting the numerous antisemitic rallies discussed at

that very hearing. When Professor Schizer and the Co-Chairs were later asked if they agreed

with President Shafik that there have been no “anti-Jewish protests,” they disagreed, and testified

that there have been many antisemitic protests at Columbia. When asked to clarify her earlier

answer, President Shafik backtracked, stating that no protests had been “labeled as an anti-

Jewish protest,” but that “anti-Jewish things were said at protests.”

       304.    President Shafik’s testimony was riddled with many other inconsistencies when,

for example, she was asked about disciplinary action taken against faculty who were the subjects

of complaints of antisemitism. Both Co-Chairs agreed that Professor Massad would not be

approved for tenure if the decision were being made now.

       305.    President Shafik’s testimony shined a spotlight on the double standard at

Columbia regarding the way antisemitism is addressed compared to other forms of

discrimination. Throughout the hearing, President Shafik refused to give direct answers and

often evaded questions. When asked, “would this be tolerated, this treatment of black Americans

for one second on Columbia’s campus,” she did not hesitate to respond, “absolutely not.”




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       F.     Pro-Hamas, Antisemitic Demonstrators Occupy Columbia University’s
              South Lawn

       306.   During the evening of April 14, Columbia emailed that beginning at 8:00 a.m.

Monday, April 15, access to the main campus would be restricted to CUID holders, with only

three of the entrance gates open, out of, “an abundance of caution based on information received

about activities that may impact campus this week.”

               i.   April 17

       307.   In the early morning hours of April 17, at the direction of CUAD, SJP, and JVP,

hundreds of Columbia students descended on the South Lawn in front of Butler Library, and

erected roughly sixty tents to establish what they labeled a “Gaza Solidarity Encampment.”

       308.   The encampment was plastered in signs such as “WHOEVER IS IN

SOLIDARITY WITH OUR CORPSES BUT NOT OUR ROCKETS IS A HYPOCRITE AND

NOT ONE OF US[.] UNTIL VICTORY[.]”; and “A MESSAGE TO THE SCUM OF

NATIONS AND PIGS OF THE EARTH: PARADISE LIES IN THE SHADOW OF SWORDS.

GLORY TO HE WHO MAKES THE OCCUPIER TASTE BITTERNESS.” Students chanted,

“say it loud, say it clear, we don’t want no Zionists here.” Photos of the encampment inundated

social media, including some with paragliders photoshopped landing on the South Lawn to

mimic one of the methods Hamas terrorists used to invade Israel on October 7.

       309.   As President Shafik was testifying before Congress that day, the encampment

grew. Several hours after establishing the encampment, CUAD posted an “URGENT” call to

action on Instagram, requesting students “MOBILIZE” and “SHOW UP IN NUMBERS,” asking

individuals to “surround and protect the encampment,” soliciting food donations and Venmo

payments to cover “legal fees” and “supplies,” and encouraging students to email their professors

to advocate “hold[ing] class on the lawn in solidarity with the encampment.” CSSW4Palestine



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and FJP shared the post. CUAD and WOL also co-organized an “urgent” call to “Flood

Columbia for Gaza,” urging individuals to “COME SUPPORT & PROTECT THE

ENCAMPMENT RALLY OUTSIDE OF THE GATES” by gathering at Columbia’s two main

gates. In sharing the rally’s flier on Instagram, SJP wrote: “non-columbia affiliates can show out

for us here!!!!” As a result, hundreds of agitators descended on Columbia’s campus.

       310.    From around 12:00 p.m. to 4:00 p.m., Aryeh stood with a small group of Jewish

students observing the encampment after hearing the rallies during a meeting with a professor.

She watched as students physically pushed through Public Safety officers to join the

encampment. At one point, Aryeh was standing next to a Jewish student holding an Israeli flag

when hundreds of students surrounded and chanted “shame on you” at them, terrifying Aryeh.

She repeatedly asked Public Safety to intervene to no avail. Aryeh heard a handful of occupiers

admit they were not students so she asked Public Safety officers to check CUIDs but they

refused.

       311.    That day, Professor Frederick Neuhouser canceled one of his classes in which

Zuckerman was a student, because of the “huge police presence” on campus, Barnard subjecting

its students to disciplinary hearings for their participation in “‘unauthorized’ demonstrations,”

and not wanting his students to subject themselves to the possibility of being “surveilled by

Barnard’s and Columbia’s security apparatuses” or being beaten by police. Neuhouser’s email

made Zuckerman extremely anxious because the professor expressed no concern about any

students other than the occupiers.

       312.    During the weeks-long encampment, Zuckerman either altered her routes or

avoided campus whenever possible. One day when Zuckerman was on campus, she was walking

with a friend by the encampment when a professor who was guarding it began following them




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and repeatedly asked if they would abide by the encampment’s guidelines, which included “to

remain grounded . . . as an act of solidarity with the Palestinian people” and “to not engage[]

with Zionist counter-protestors.” The occupiers then held up keffiyehs and quilts to push

Zuckerman and her friend away from the encampment. When she was walking away,

Zuckerman noticed that three individuals were following her. On or around that same day,

Zuckerman noticed John Ma, Chair of Columbia University’s Department of Classics—

Zuckerman’s major—wearing the same yellow vest that other faculty who guarded the

encampment usually wore.

       313.    Rabban was forced to pass the encampment on her way to class, which was

regularly disrupted by the screams and chants coming from the South Lawn. Glaser was only

able to access campus through the Earl Gate. As she passed security near the gate to enter

campus, wearing her Star of David necklace, a student yelled, “fuck you” at her. A few hours

later, in the same area, Glaser was walking with another Jewish student when another student

yelled, “fuck you” at both of them. Glaser reported both incidents but did not receive a response

from Columbia. Quinn recognized classmates and professors at the encampment, which made

her feel threatened and uncomfortable. Later, after seeing videos of Jewish students being

pushed out of the encampment and students cheering, “death to Israel” and “we don’t want no

Zionists here,” Quinn decided she could not return to campus and missed classes as a result.

       314.    Gal could hear the chants from the encampment from the stacks in Butler Library

where she was hiding. After that first day, Gal only went to campus when attendance was

required such as for exams. As a Jewish Israeli student, Gal felt unsafe because her classmates

participated in various rallies throughout the year and at the encampment, where they chanted

“we don’t want no Zionists here” and called for an “Intifada.”




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       315.    Later that morning, administrators entered the encampment to announce to the

occupiers, “we’re here to work with you,” and asked to speak with them to avoid disciplinary

measures. Hundreds of students took turns guarding the encampment with the express purpose

of disrupting campus and blocking Jewish and/or Israeli students from accessing campus

facilities, including the lawn.

       316.    Faculty actively participated in the unauthorized encampment. Professor

Mahmood Mamdani, Columbia University’s Herbert Lehman Professor of Government, who

baselessly alleged in 2015 that “Zionists in Israel have long drawn inspiration from how

Americans cleansed the land of Indians,” and signed the October 30 faculty open letter defending

the student groups’ October 9 joint statement justifying the October 7 terrorist attack, gave a

speech in the encampment that first day and later participated in a human barricade to “protect”

the occupiers from the NYPD.

       317.    That afternoon, SAA Member #2 left their first class and immediately noticed

signs and chants calling for campus to be rid of Zionists, “by any means necessary,” “from the

River to the Sea,” and one sign with a Star of David crossed out. They had successive classes in

Hamilton Hall, which overlooked the encampment and could hear the encampment throughout

both classes. They spoke to a professor after one of their classes to explain their concerns and

deep emotional impact of the signs and chants. The professor dismissed their concerns, telling

SAA Member #2 they should not let it get to them or in the way of their education, and that the

occupiers are allowed to protest.

       318.    Around 4:00 p.m., Public Safety announced it was closing the campus’ main

gates. Around 7:00 p.m., encampment occupiers were provided notices that stated students had

to leave by 9:00 p.m. and threatened repercussions, including suspension, for those who




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remained. The notices also stated suspended students would be unable to attend class or hand in

assignments and would be unable to complete their courses. Members of Barnard’s senior staff

provided participants with similar warnings, threatening students with interim suspensions if they

did not leave by 9:00 p.m. Around 8:30 p.m., students joined a picket around the encampment.

One hour later, agitators linked hands to prevent the NYPD and Public Safety from entering the

encampment.

       319.    Vanuno passed the encampment on his way out of class and left campus

immediately. Vanuno had to return to campus a few hours later for a meeting with his

fellowship program. He ran into two of his classmates and a third Jewish student holding an

Israeli and American flag who yelled “rape is not resistance!” Soon after, Vanuno and his

friends were surrounded by occupiers from the encampment, one of whom pushed one of

Vanuno’s classmates. He reported the incident to Public Safety, but his concerns were ignored.

       320.    On or around April 17, Roe was waiting in line to get into Lerner Hall when a

student behind Roe noticed the Chai necklace she was wearing and intentionally rammed into the

side of her body. The student then mockingly said to her “aww, poor Zionist fucking baby.”

Roe reported the incident to Columba University but did not hear back. Roe visited Barnard

Health Care Center after the assault. Roe stopped wearing all jewelry that identified her as

Jewish after the assault, avoided campus unless absolutely necessary, and would not travel alone

to campus, Chabad, Hillel, or the stores in the area surrounding campus.

       321.    Throughout the first day of the encampment, Jewish students were harassed on

campus and at its gates. As Swill was attempting to leave campus, he was surrounded by

classmates chanting antisemitic slogans, leaving Swill too uncomfortable to return to campus the

following week. That evening, Doe was walking by Lerner Hall while wearing his kippah, when




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two individuals with covered faces accosted him, with one calling Doe a “fucking Jew.”

Because of this incident, Doe removed his kippah.

       322.    Despite Columbia’s threats of removal and arrest throughout the first day, the

encampment continued unabated through the night of April 17.

               ii.   April 18

       323.    On April 18, FJP advertised an “ALL OUT FOR THE ENCAMPMENT” rally at

12:00 p.m. at the center of campus, and solicited Venmo payments to Barnard-Columbia Student

Abolition Collective, one of the student groups in CUAD. The president of Columbia Law

Students for Palestine felt “empowered” by the encampment’s “resilience in the face of

tremendous crackdown and repression” and the administration’s concession to one of the

encampment’s demands: It would provide financial transparency for investments with the

University Senate executive committee.

       324.    That day, President Shafik wrote to Michael Gerber, Deputy Commissioner of the

NYPD, to request the NYPD’s help removing the occupiers because the “encampment and

related disruptions pose[d] a clear and present danger to the substantial functioning of the

University.” The NYPD was not empowered to enter Columbia University’s campus until

President Shafik requested their help. According to President Shafik, the individuals occupying

the South Lawn had been told “numerous times” that they were violating Columbia’s rules and

policies and that all students participating in the encampment had been informed they were

suspended. Around 1:00 p.m., the NYPD entered the encampment and arrested over one

hundred Columbia University and Barnard students. While the NYPD was arresting students,

approximately five hundred other students walked out of class to berate the officers, referring to

them as “KKK” and “baby killers” and telling them to “go kill [themselves].” David witnessed

students shouting “NYPD, KKK, IOF, all the same,” while the encampment was being cleared


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out. David was standing with a group of visibly Jewish students when one student agitator

screamed at one of the Jewish students holding an American flag that he was a “fascist.”

Simultaneously, outsiders entered campus to help reconstruct the encampment, and with the help

of the students who were not arrested, they reassembled the encampment on the west side of the

South Lawn.

       325.    President Shafik released a statement defending her decision to authorize the

NYPD to enter campus as an “extraordinary step” because of “extraordinary circumstances.”

President Shafik stated that the individuals who established the encampment had been given

multiple notices that they violated a “long list of rules and policies,” including a new protest

policy which allowed demonstrations on “very short notice and in prime locations in the middle

of campus.” She claimed that even though the students violated policies, Columbia still tried

through a “number of channels to engage with the [encampment’s] concerns and offered to

continue discussions if they agreed to disperse.” President Shafik admitted the encampment

“severely disrupt[ed] campus life, and create[d] a harassing an intimidating environment for

many of [Columbia’s] students.”

       326.    Even though campus was supposed to be restricted to CUID holders, outsiders

such as Cornel West and Mohammed El-Kurd gained access to campus. West is an outspoken

supporter of Louis Farrakhan, who has called Hitler “a VERY great man,” promoted the

conspiracy theory that Israelis and Zionist Jews perpetrated the September 11 terrorist attacks,

and has said, in furtherance of the antisemitic trope of Jewish control, that “[w]hen you want

something in the world, a Jew holds the door.” El-Kurd has publicly announced his fantasy of

murdering Jews, including that we “must normalize massacres as the status quo,” and claims that

Israelis and Zionist Jews—whom he calls part of a “death cult”—“harvest organs of” dead




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Palestinians to “feed their warriors,” a vile antisemitic blood libel. Rabban could hear the rallies

during her class.

        327.    Ami was with a group of Jewish students in front of Butler Library holding

American and Israeli flags when they were approached by an agitator who held up the symbol of

the Palestinian Islamic Jihad and told them he was a “member of them.” Two other agitators

also approached the group, laughed at them, said, “fuck the West,” “Zionists are perverted,”

“what the fuck is wrong with you people,” and “fuck Zionists,” and lunged at one of Ami’s

friends while screaming, “fuck you bitch.”

        328.    Stein and other visibly Jewish friends were near the encampment holding

American flags when they were harassed and called “Nazis” and “baby killers.” Agitators tried

to rip the flags from their hands and screamed, “shame, shame, shame” at them. One agitator,

fully masked, approached Stein, and while flashing the symbol of Hamas, told him, “we’re

coming for you.” Public Safety officers, who were standing within eyeshot and earshot,

shrugged their shoulders and refused to intervene when Stein asked.

        329.    Following the arrests, hundreds of agitators rallied outside Columbia’s gates and

marched up and down Broadway and Amsterdam Avenue. Yoseph Haddad, an Arab-Israeli

journalist, whom SSI invited to speak at an event that evening to discuss “peace and coexistence

in Israel,” was attacked outside the gates. Haddad received death threats, including, “put a bullet

in your head” and “kill yourself,” and was flashed the red triangle symbol. He was then shoved

from behind and punched in the face. Haddad missed the event, which was canceled because of

the incident, to file a police report.

        330.    Friedman attended his mandatory in-person lecture that afternoon. Shortly after

arriving on campus, Friedman heard chants such as “Zionists are not welcome here” and “from




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the River to the Sea.” Friedman did not return to campus after April 18. That day, Molly was in

her apartment—avoiding campus because of the encampment—but heard chants from the

encampment and agitators banging metal pots and pans all throughout the day and night, causing

her immense stress and to lose sleep. When the NYPD was arresting the occupiers, Molly heard

screams of “Intifada revolution,” “IDF, NYPD, and KKK are the same,” and “from the River to

the Sea” from her apartment.

       331.    During Doe’s Literature Humanities, a core class, Professor Rebecca Kastleman

asked the class to pause to appreciate that a historic moment was unfolding outside. All of Doe’s

classmates went to the window of the classroom to watch the encampment while Doe alone

remained seated. Professor Kastleman reiterated the importance of the moment and informed the

class that anyone who felt safe was free to leave to participate in the encampment without any

harm to their participation grade, despite the fact that Professor Kastleman has a strict policy

allowing for only one unexcused absence per semester. Fourteen of the twenty-two students left.

       332.    SAA Member #2 attended classes remotely that day except for a lab. While the

teaching assistant offered an alternative to attending that class in person, in which students would

attend the teaching assistant’s office hours, that teaching assistant had previously commented

that the department supports the protestors. SAA Member #2 attended the lab. When a mob

marched passed the lab, the teaching assistant proclaimed disbelief that anyone could

characterize the rallies as anything but peaceful, even though a sign held by the mob was visible

that read “death to Zionists.”

       333.    On or around April 18, Droznik was near the Amsterdam gate with her friends

when the football they were playing with rolled into a crowd of agitators, causing them to yell at

Droznik and her friends, “we don’t want no Zionists here.” A student then pushed Droznik while




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others shoved keffiyehs in her face and blocked her from entering Butler Library. A student said

to her, “you think you are so lucky that you can go into the campus well I can too, I am a

student”—implying she would follow her in, which she then tried to do as Droznik escaped the

crowd. Droznik reported this incident to Columbia but never received a response. After that,

Droznik tried to get into Butler but agitators followed her. A fully masked man said to her, “I’m

going to do the same to you that they did to the Israelis on October 7,” and “you should be happy

you’re not in Palestine.” Others said, “October 7 is about to be every day for you guys” and

chanted, “Nazi bitches.” Droznik begged the NYPD to escort her, as she felt extremely unsafe.

       334.    That evening, students shouted antisemitic comments at Doe, who was wearing

his kippah, while he helped a friend move out of his dormitory, including, “we are so happy that

you Zionists are finally leaving campus” and “fuck Zionists.”

       335.    Westergaard, wearing his kippah and tzitzit, and two visibly Jewish friends,

including Symonds, were on campus near the encampment when they were confronted and

surrounded by a hostile group of approximately ten to fifteen occupiers. The occupiers initially

asked them to sign an “anti-Zionist pledge,” which they claimed was required for entry into the

encampment. An occupier filmed Symonds and followed her around. When Symonds asked her

to stop, the occupier responded she would not until Symonds left. The occupier got physically

close to Symonds and threatened her. Symonds and Westergaard reported this to Public Safety

who refused to take action to identify the agitator. A student from the encampment then shouted

out Westergaard’s name and Columbia ID number, before yelling, “we know who you are, we

know that you’re a biology Ph.D. student and you’re not welcome on this campus.” When

Westergaard was near the encampment on April 25, a student-occupier again shouted out his




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Columbia ID number. The occupiers at the encampment maintained a central drive where

information on Jewish and/or Israeli students was kept.

        336.    Around that same time, just outside of Columbia’s gates, an agitator told three

Jewish students “Never forget the 7th of October. That will happen not one more time, not five

more times, not 10…100…1000…10,000…The 7th of October is going to be every day for

you.”

               iii.   April 19

        337.    On the third day of the encampment, students who had been arrested the day

before returned. According to FJP, Public Safety told students they could spend the night on the

South Lawn as long as there were no tents. Despite arrests and President Shafik’s requests that

the students disperse, the encampment and demonstrations continued throughout Friday.

        338.    That afternoon, FJP members joined the encampment to encourage an “academic

boycott of all events,” including classes and commencement, until its demands that Columbia

“halt all disciplinary proceedings against students,” comply with CUAD’s divestment proposal,

which includes cancelling Columbia’s partnership with Tel Aviv University (“TAU”), and

opening of the Tel Aviv Global Center, and reinstate SJP and JVP were met.

        339.    That day, over one hundred Jewish students signed an open letter to President

Shafik stating that they felt “categorically threatened” and requesting the option to attend classes

remotely. The letter also recited a litany of antisemitic harassment Jewish students had recently

endured, including that a student on campus wore a “Hamas emblem” and tried to instigate a

fight while calling students “pussies,” and that two Barnard students, including Bellows, were

screamed at while in their residence hall by a group of individuals giving them the middle finger

and threatening, “we know where you live now,” “you killed half our family,” and “come out

pussy,” while chalking “intifada” on the sidewalk under their room. After threatening Bellows


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and her friends, the agitators walked toward Barnard’s gates, where only students were allowed

to enter. She reported this incident to Public Safety, who said she would have to file a police

report with the NYPD.

       340.    That afternoon, Doe was wearing his kippah and entering an Uber just off campus

on Amsterdam Avenue when an individual yelled, “kike” and told him to “keep on walking.”

The Public Safety officers who were in earshot did not react or intervene. Doe called his friends

and family crying and changed his Passover plans to avoid campus.

       341.    Swill went to campus to pray at a makeshift wall where Israeli flags and hostage

posters had been on display, though some had been torn down. He was told by the self-

proclaimed encampment security donning yellow vests that he was not allowed to enter because

Zionists were not allowed. Friedman emailed President Shafik and COO Holloway about the

presence of non-CUID holders on campus over the first two days of the encampment,

specifically letting them know that nonstudents were sneaking in through the gates and that he

had personally seen people walk past scanners without anyone verifying that their CUIDs were

valid. Friedman never received a substantive response. At the encampment, Swill saw posters

which stated “long live Hamas,” “resistance by any means necessary,” and “long live the

resistance groups.”

              iv.     April 20

       342.    On April 20, the encampment entered its fourth day. A speaker in the

encampment declared: “We are here today because on October 7, the Palestinian resistance in

Gaza broke through the walls of their open-air prison, shattering the illusion of the invincibility

of their occupiers. By setting up this encampment in the heart of the Zionist stronghold of

Columbia University, we intend to do the same.” Students cheered during the speech.




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       343.    SCLJ Member #4 called Public Safety to report individuals sneaking into campus

and passing supplies for the encampment into campus via a 120th street entrance.

       344.    That morning, Stein saw occupiers display a banner with the message

“SHABBAT SHALOM, MOTHERFUCKER.” The night before, occupiers shouted at Stein and

his Jewish friends, “get off our fucking campus” and “we don’t want no Zionists here” and

chased them away.

       345.    That night, after Shabbat ended, Bellows and ten to fifteen other Jewish students

were at the sundial on campus waving American and Israeli flags and singing songs of peace.

Almost immediately, occupiers from the encampment started surrounding them and giving them

the middle finger. Soon after, an individual from the encampment stood in front of the group of

Jewish students holding a sign with an arrow pointing at them that read “Al-Qasam’s [sic] next

target,” referencing Hamas’s military wing. Other students surrounding the Jewish group

referred to their Israeli flags as “Nazi flags” and chanted, “go back to Europe” and “all you do is

colonize.” Occupiers from the encampment screamed, “baby killers” at Stein and his friends as

they continued singing songs of peace.

       346.    At the same time, WOL was leading a large rally directly outside the gates. These

WOL agitators accessed Columbia’s campus because Columbia failed to station security at one

of its gates. Stein noticed WOL’s leader Kiswani on campus. Students reported her to Public

Safety and asked the officers to remove her and the other nonstudents, but the officers shrugged

their shoulders and refused to do so, falsely claiming they could not ask individuals on campus to

show their CUIDs.

       347.    As Stein and his friends tried to leave campus, a group of masked agitators

harassed them, screaming, “you guys are inbred,” “you don’t have a culture,” “we don’t want no




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Zionists here,” “Hamas is coming for you guys,” and in Arabic, “Hamas, Hamas, our beloved,

burn Tel Aviv to the ground.” When Bellows tried to leave campus, agitators on the other side

of the gate chanted, “we say justice, you say how, burn Tel Aviv to the ground,” “Al-Qassam,

make us proud, take another soldier out,” and “go Hamas, we love you, we support your rockets

too.” Around the same time, Columbia students chanted in Arabic, “I wish that I was a martyr.”

Later, students chanted, “there is only one solution, Intifada revolution.”

       348.    Stein again told Public Safety he and his friends were being harassed, but they

refused to step in. As Stein and his friends made their way to the one open gate, the masked

agitators followed. Since the WOL riot was directly on the other side of that gate, Stein and his

friends were terrified. The masked agitators caught up to Stein and his friends and screamed,

“go back to Poland,” “colonizers,” and “baby killers,” while throwing water in their faces. Amid

the chaos, one of Stein’s friends became separated from the group and was assaulted by agitators

who threw hard objects at him. After this, Stein did not feel safe on campus and reported the

incident to Hillel the next morning. Weeks later, Columbia closed their investigation into the

incidents of that evening claiming it could not identify the agitators. This is unsurprising

considering Columbia continues to allow agitators to conceal their faces, despite the Task

Force’s March 4 recommendation that Columbia do more to identify individuals during rallies.

       349.    Bellows, who is visibly Jewish, was terrified and felt like there was no safe way

off campus. She asked Public Safety for an escort but her request was ignored, forcing Bellows

and her friends to walk through the violent rally to exit campus with no protection. Agitators

tried to steal and burn Bellows’s friend’s Israeli flag.

       350.    A Jewish student wearing a kippah was assaulted when he tried to recover an

Israeli flag from the agitator who had stolen it and tried to burn it. Public Safety was nowhere to




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be found. As the group of Jewish students exited campus, they were heckled with chants “stop

killing children,” “go back to Poland, go back to Belarus,” “go back to the gas chambers,” “bye

bye fuckers,” “genocidal pieces of shit,” and “Yehudim [Jews], Yehudi [Jew], fuck you.”

               v.   April 21

       351.    On the morning of April 21, as it became clear Columbia would continue to allow

the encampment to remain, Columbia Hillel Rabbi Elie Buechler advised members of

Columbia’s Jewish community to return home because Columbia’s campus was unsafe, writing:

               What we are witnessing in and around campus is terrible and tragic.
               The events of the last few days, especially last night, have made it
               clear that Columbia University’s Public Safety and the NYPD
               cannot guarantee Jewish students’ safety in the face of extreme
               antisemitism and anarchy.

               It deeply pains me to say that I would strongly recommend you
               return home as soon as possible and remain home until the reality in
               and around campus has dramatically improved.

               *It is not our job as Jews to ensure our own safety on campus.* No
               one should have to endure this level of hatred, let alone at school.

       352.    That same day, Congresswoman Virginia Foxx, Chairwoman of the House

Education Committee, wrote to President Shafik and the Co-Chairs (“Foxx April 21 Letter”).

Chairwoman Foxx wrote she was “gravely concerned by the ongoing chaos . . . caused by the

radical, unlawful Gaza Solidarity Encampment,” and that the encampment and its “related

activities” had created a “severe and pervasive hostile environment for Jewish students at

Columbia.” The Foxx April 21 Letter warned: “Columbia’s continued failure to restore order

and safety promptly to campus constitutes a major breach of the University’s Title VI

obligations, upon which federal financial assistance is contingent, and which must immediately

be rectified.” The Foxx April 21 Letter also noted that the Columbia students, faculty, and staff




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responsible for the “mayhem,” including members of SJP, JVP, CUAD, and FJP, “repeatedly

and flagrantly have violated multiple University rules, and in many cases, federal law.”

       353.    Included in the Foxx April 21 Letter were no fewer than twenty-two incidents of

antisemitism from the preceding four days which demonstrated Jewish students’ “well-founded

fears regarding their physical safety and continuing to be subjected to what is clearly a hostile

environment.” It further stated that threatening and pro-terror slogans such as “We don’t want

no Zionists here”; “Intifada”; “From the river to the sea, Palestine is Arab”; “We don’t want two

states, we want all of it”; and “[r]esistance is justified when people are occupied” have been

heard on Columbia’s campus since Hamas’s terrorist attack.

       354.    The Foxx April 21 Letter highlighted Columbia’s failure to fulfill its promises.

For example, numerous individuals, including ones explicitly banned from campus, were

documented at the encampment. Pro-Hamas Columbia University Visiting Professor Mohamed

Abdou was photographed at the encampment on April 19, despite President Shafik’s testimony

just four days earlier that “he has been terminated, and not just terminated, but his files will show

he will never work for Columbia again.” Chairwoman Foxx urged President Shafik, and the Co-

Chairs to “restore order and safety without further delay” in line with the commitments they

made during their testimony on April 17 and to meet their legal obligations through immediate

and decisive action.

       355.    Doe emailed his advising dean and Dean Josef Sorett, reporting being called a

“fucking Jew,” heckled with antisemitic remarks such as “we are so happy you Zionists are

finally leaving campus” when helping his friend move, and called a “kike” while walking past

the Amsterdam Avenue gate. Doe attached documentation of various antisemitic incidents that

had occurred on campus, explained that he had to leave campus because his safety was at risk,




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and sought accommodations to attend class online that week. Doe’s advising dean responded

that she was sorry about Doe’s experiences and was sure Dean Sorett would help him get his

accommodations, but Doe never received a reply from Sorett. Doe also filed a form with the

EOAA office that day, reporting the three incidents from his email and that Professor Kastleman

encouraged students to join the encampment. Doe received a generic email confirming receipt of

his report and has not received any updates.

       356.    That evening, three Jewish students, including Droznik, walked through campus

when they were confronted by a mob of students and other occupiers in the encampment.

Student and CUAD organizer Khymani James announced: “Attention everyone. Can I get

everyone to form a human chain right here please? We have Zionists that have entered the

camp.” As occupiers began emerging from the tents, Droznik was surrounded. James continued

a call and answer: “Repeat after me. We have Zionists who have entered the camp. We are

going to create a human chain. Where I am standing. So that. They do not pass this point. And

infringe upon our privacy. And try to disrupt our community. Please join me in this chain. We

are going to slowly walk and take a step forward. So that we can. Start to push them. Out of the

camp.” At James’ instruction, the mob of roughly two hundred students and outside agitators

encroached on the Jewish students, physically pushing them back. As Droznik left, occupiers

followed her, and one yelled, “yeah, go back to Brooklyn.” Two of Droznik’s friends called

Public Safety, who refused to act. The students later reported the incident to Public Safety, but

never received any follow up. The act of the occupiers locking arms to physically block Jewish

and/or Israeli students from accessing parts of campus is reminiscent of Nazis locking hands to

block Jews from entering the University of Vienna in 1938.




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               vi.     April 22

        357.    On April 22, President Shafik announced that classes would be held virtually that

day “[t]o deescalate the rancor and give us all a chance to consider next steps.” Despite

President Shafik’s acknowledgment that there had been “too many” examples of intimidating

and harassing behavior on campus, she ensured administrators and faculty would “continu[e]

discussions with the student protestors.” In her statement, President Shafik deflected blame to

“individuals who are not affiliated with Columbia who have come to campus to pursue their own

agendas,” ignoring that the encampment leaders invited outside agitators time after time and

continued endorsing their messages. In a separate statement, Columbia University Provost

Angela Olinto and COO Holloway announced that professors would be required to provide a

remote option for the rest of the semester, effectively creating a separate and inferior educational

experience for Jewish and Israeli students who felt unsafe on campus and allowing occupiers to

continue attending class from the encampment. By contrast, as Professor Schizer told the Wall

Street Journal: “The law requires universities to provide equal access to educational

opportunities to everyone[.] . . . You can’t limit the access of Jews or any other minority

group—and that includes clubs, and it includes programs and classes and it includes physical

spaces. . . . A university cannot fulfill its responsibility by saying, ‘For you, this has to be

online.’ We cannot have some people allowed to be there in person and others only able to

participate online.”

        358.    Barnard’s Executive Vice President for Strategy and Chief Administrative Officer

Kelli Murray emailed Barnard students that classes would take place entirely on Zoom. Even

though Rabban had classes on Columbia University’s campus, Barnard students do not receive

Columbia University emails so Rabban had not received emails from President Shafik. Later

that evening, President Rosenbury emailed Barnard students to inform them that students serving


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interim suspensions “may not physically be on campus, but Barnard professors may permit them

to attend class via Zoom and otherwise complete work remotely.” The email also stated that

Barnard sent notices to these students, “offering to lift the interim suspensions . . . if they agree

to follow all Barnard rules during a probationary period.” If the students chose to do this, the

suspensions would not show on their academic transcripts or become a part of their disciplinary

records.

       359.    That day, hundreds of faculty walked out of their classes to rally in support of the

encampment. SCLJ Member #4 was in line to scan their CUID to access Columbia University’s

campus when a group of approximately twenty professors walked over from Barnard’s campus

and joined the line to participate in the rally. The professors wore sashes stating, “we support

students.” SCLJ Member #4 asked the group whether they support Columbia’s Jewish students.

Barnard Professor María Rivera Maulucci responded, “we support all our students,” to which

SCLJ Member #4 shared that they are afraid to walk on campus. Maulucci responded that the

police presence around campus was causing students fear, dismissing the concerns SCLJ

Member #4 had just shared. When SCLJ Member #4’s friend asked about the frequent calls for

genocide of the Jewish people, Maulucci incorrectly claimed there had been no such chants.

SCLJ Member #4 submitted a bias report detailing this incident.

       360.    That day, Kahane saw a photograph on Instagram of Motaz Azaiza at the

encampment, who posted videos on Instagram in real time on October 7 of Israelis being

murdered and abducted by Hamas terrorists. Azaiza preached to students from a microphone,

telling them, “Gaza is seeing what you are doing for Gaza, so thank you so much for all what

you do. . . . This is the first place that make me feel like my work on the ground is action. . . .

You are on the right side in this war.” Kahane reported Azaiza’s presence at the encampment to




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Columbia University and explained his role in October 7, but received no response. Nauer also

called Public Safety and told them that someone who had participated in October 7 was on

campus, but all they said was, “we made a note.”

       361.    That same day, while individuals banned from campus and unaffiliated with

Columbia were occupying the South Lawn, Professor Davidai was denied access to campus

because, according to COO Holloway, Columbia could not “guarantee [his] safety.” Later that

day, CUAD posted on Instagram “THE TENTS ARE BACK UP. COLUMBIA ADMIN IS

FULLY AWARE. WE WILL NOT BE MOVED UNTIL COLUMBIA DIVESTS!!!!”

              vii.   April 23

       362.    On April 23, President Shafik issued another statement acknowledging that the

encampment raised “serious safety concerns, disrupts campus life, and has created a tense and at

times hostile environment for many members of our community,” and that it was “essential” to

“move forward with a plan to dismantle” the encampment.

       363.    But rather than taking immediate action to eradicate the encampment and punish

those responsible, President Shafik claimed that for several days, a small group of faculty,

administrators, and Columbia University Senators had been negotiating ways to dismantle the

encampment with student organizers. Because President Shafik “very much hope[d]” that these

discussions would succeed, she set a deadline of midnight that night to reach an agreement. If

they were unable to reach an agreement, President Shafik told students that they would have to

consider “alternative options” to clear the South Lawn and restore “calm” to campus.

       364.    That evening, SAA Member #2 was walking back to their dormitory from a

Passover Seder with a Jewish female friend, both wearing Star of David necklaces, and asked

Public Safety for an escort home. Their request was denied. Moments later, they encountered a

woman near campus who followed them home while swinging a broom in the air and slapping it


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on the ground. SAA Member #2 was terrified the woman would physically assault them with the

broom.

         365.     As Westergaard was leaving campus that evening while wearing his kippah, a

woman began following him, while filming and screaming, “we have a Zionist here” and

accusing Westergaard of being an undercover “Mossad agent.”

         366.     As the midnight deadline approached, an instigator speaking to the cheering

encampment announced: “We are entering a period of high alert for the next three days. And

that is why, I will urge all of you to talk to your friends as well and let them know that we may

need people to turn up quickly en masse in front of the encampment to defend the encampment.

Will you be ready to rally for your comrades?” Despite these ominous calls to action, President

Shafik’s deadline soon proved another empty threat.

                viii.   April 24

         367.     On April 24, President Shafik claimed that Columbia was “making important

progress with representatives of the student encampment,” and the deadline had been extended

an additional forty-eight hours “[i]n light of this constructive dialogue.” She also claimed that

“[s]tudent protesters have taken steps to make the encampment welcome to all and have

prohibited discriminatory or harassing language.”

         368.     Early that afternoon, James—the student who led the assault on three Jewish

students using a human chain a few days before and who had shared with administrators his

fantasies of murdering Zionists earlier in the year—spoke on behalf of CUAD at a CUAD-

organized press conference to provide an update on the status of negotiations with Columbia.

According to James, Columbia acceded to CUAD’s demand not to call law enforcement into the

encampment for the next forty-eight hours.




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               ix.   April 25

        369.    On April 25, the encampment continued undisturbed for the ninth day. Isra Hirsi,

who had been arrested and suspended one week earlier, returned to the encampment with her

mother, Congresswoman Ilhan Omar. Around this time, the wife of Sami Al-Arian, who pleaded

guilty in 2006 to providing assistance to Palestinian Islamic Jihad, was photographed in the

encampment.

        370.    During a press conference that evening, Ben Chang, Columbia’s Vice President of

Communications, stated, “we have our demands; they have theirs. A formal process is underway

and continues.”

                x.   April 26-29

        371.    On April 27, CUAD posted on Instagram that Columbia was considering evicting

students and implementing a complete lockdown of campus. In response, spokesperson Chang

issued an update dispelling the rumor of an impending lockdown or evictions on campus and

noted that discussions between university officials and student organizers were still ongoing,

even though the deadline to evacuate had long passed.

        372.    On April 29, Columbia began distributing notices to the occupiers warning they

had until 2:00 p.m. to leave the encampment, identify themselves to a Columbia official, and

commit to abiding by Columbia policies through the earlier of June 30, 2025 or conferral of their

degree. Columbia also threatened that any student remaining after 2:00 p.m. would be

suspended. That day, Droznik and a Jewish friend were blocked from entering the lawn by

faculty and staff.

        373.    In response, SJP posted to X “[w]e will not be moved,” and posted photos of the

notices defaced with “I AINT READING ALL THAT FREE PALESTINE” and “COLUMBIA

WILL BURN.”


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       374.    That morning, President Shafik released a statement acknowledging that “many of

our Jewish students . . . have found the atmosphere intolerable in recent weeks. . . . Many have

left campus, and that is a tragedy.” She announced that since April 24, “a small group of

academic leaders has been in constructive dialogue with student organizers to find a path that

would result in the dismantling of the encampment and adherence to University policies going

forward,” but they “were not able to come to an agreement.” President Shafik thanked the

student harassers for their “robust and thoughtful offers” and “diligent work, long hours, and

careful effort,” and stated that Columbia had offered concessions to the antisemitic occupiers by

“offer[ing] to develop an expedited timeline for review of new proposals from the students by

the Advisory Committee for Socially Responsible Investing, the body that considers divestment

matters,” “publish[ing] a process for students to access a list of Columbia’s direct investment

holdings,” and “increase[ing] the frequency of updates to that list of holdings.”

       375.    President Shafik admitted that the “encampment has created an unwelcoming

environment for many of our Jewish students and faculty,” and that Columbia was “a hostile

environment in violation of Title VI.” Rather than taking effective steps to remedy the hostile

environment, Shafik merely “urge[d] those in the encampment to voluntarily disperse.”

       376.    That night, Doe, wearing his kippah, was followed on campus to his dormitory by

a group of students who said, “oh you Zionist pig, welcome back,” and repeatedly called him a

“Zionist pig” and “baby killer” and made oinking noises at him.

              xi.    Pro-Hamas Demonstrators Violently Occupy Hamilton Hall

       377.    Just after midnight in the early morning hours of April 30, dozens of students and

their supporters, many dressed head to toe in black, broke into Hamilton Hall, a Columbia

University academic building. They smashed windows and the glass-paneled door, placed a bike

lock around the door handles, and barricaded themselves inside the building. Once inside, the


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students covered security cameras and draped massive banners, including one calling for an

“INTIFADA” outside the building, leading to chants of “from the River to the Sea, Palestine will

be free.”

       378.    The occupiers shoved Droznik and Westergaard as they broke into Hamilton Hall.

Droznik’s friend called the NYPD multiple times but was told that Columbia declined to allow

the NYPD on campus. Yet Public Safety watched the takeover and refused to act.

       379.    Several employees were inside Hamilton Hall when students occupied the

building. The employees were forced to fight their way out of the building while being subjected

to verbal abuse by aggressive and threatening students, and at least two custodians were

physically detained against their will. When the employees asked to leave, the occupiers

refused, telling them that the moment was “bigger than you.” One of the employees who was

trapped inside had discovered a girl hiding in a custodian’s closet in Hamilton Hall five days

before the occupation and reported her to Public Safety and his department head, but his

concerns were ignored. According to witnesses, there was only one security guard stationed at

Hamilton Hall that night who fled before the occupiers locked all the doors.

       380.    Outside Hamilton Hall, hundreds more students and other agitators formed a

human chain to protect the occupied building, claiming they would not leave until Columbia met

their demands. Those outside also passed supplies to the occupiers inside using a makeshift

pulley system. Around 2:00 a.m., students inside hung another banner that said, “Free Palestine”

in both English and Arabic. The chants continued through the night.

       381.    Zuckerman was terrified as she watched agitators throw picnic tables into the

building to barricade the doors.




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       382.    At 8:00 a.m., Columbia University spokesperson Chang issued a statement that

Columbia University had alerted its community members to avoid coming to campus if possible.

       383.    Rather than immediately remove the occupiers, Columbia closed campus and held

all classes remotely. Around 1:00 p.m., Chang issued another statement that those who

continued to violate Columbia University’s rules would be met with “clear consequences” and

threatened student-occupiers with expulsion.

       384.    At 2:30 p.m., President Shafik sent an email which also stated, in part, that the

“disruptions on campus ha[d] created a threatening environment for many of [Columbia’s]

Jewish students and faculty and a noisy distraction that interfere[d] with teaching, learning, and

preparing for final exams, and contribute[d] to a hostile environment in violation of Title VI.”

       385.    Kahane, completely silent and wearing his Star of David necklace, was filming

the event from behind where the press was corralled. When Kahane was walking away from the

event, he was standing next to a visibly Jewish individual when another individual started yelling

at them, “go back to Europe you fucking colonizers.” Kahane recorded the interaction, reported

it to Public Safety, and supplied them with his footage, urging them to find the individual since

he was easily identifiable from the video because he provided his hometown. Yet Kahane never

received a response.

       386.    SAA Member #2 was on their way to campus when they learned of the raucous

mob on and just off campus and that they would likely have difficulty getting home because of

the perimeter the NYPD had established. Afraid to try to return home, they stayed with a family

friend elsewhere in New York City. This too caused fear for SAA Member #2 because their

dormitory room is equipped with certain accommodations for their disability that alert them in




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the event of an emergency such as a fire. The following day, they took a particularly circuitous

route to return home, leaving the subway two stops before the Columbia station.

       387.    At 8:18 p.m., Columbia University’s Emergency Management and Operations

Team alerted community members to “shelter in place” for their safety. Roughly twenty minutes

later, Barnard’s Community Accountability, Response, and Emergency Services sent a similar

alert. Shortly after 9:00 p.m., President Shafik finally authorized the NYPD to enter Hamilton

Hall and arrest the violent occupiers.

       388.    Once the building was finally cleared, the mess left behind revealed the extent of

the violent occupation and the coordination and organization involved. The occupiers had

disabled an elevator, damaged hundreds of chairs which were thrown around the building and

zip-tied together, and removed wooden tabletops and drilled them into windows. There were

also hand-drawn floor plans, supply lists that identified the locations of equipment that could be

used to barricade the building, and a task list consisting of action items such as setting up the

pulley system and establishing security shifts—all evidence of a well-thought out, coordinated,

and organized plan.

       389.    On May 2, Columbia attempted to disclaim responsibility by stating that a

“significant portion of those who broke the law and occupied Hamilton Hall were outsiders.”

The composition of those arrested in fact shows that only thirty percent of those who took over

Hamilton Hall were unaffiliated with Columbia. The rest were undergraduate and graduate

students, as well as two employees. In any event, that antisemitic outside agitators were

infiltrating Columbia’s campus, at the invitation of Columbia student groups and their members,

in no way absolves Columbia. Indeed, Professor Schizer recognized “[i]t was not just outside

agitators. . . . What’s going on is that students have not believed that there would be meaningful




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discipline for breaking rules. And it’s because the university was so ineffective initially. And

it’s also because there are faculty members who are encouraging it.”

       390.    On May 4, Doe was followed on his way to campus after a media appearance

approximately six miles from Rockefeller Center on the subway and all the way to the gates of

campus. Doe called Public Safety to report it.

       391.    On May 10, hundreds of Columbia faculty and staff members initiated a strike.

The faculty, who had been “all hands [] on deck to demand for our disciplined and arrested

students full amnesty and their records expunged,” mischaracterized the Hamilton Hall

occupation as “nonviolent” and stated their intent not to return to campus because of the police

presence on campus.

       392.    On May 16, FJP published an op-ed in the Columbia Spectator, applauding

agitators for their “moral courage in speaking up about the ongoing genocide in Gaza” and their

“courage, creativity, and fortitude” at the encampment and occupation. The op-ed concluded by

reiterating FJP’s demand that Columbia completely divest from Israel.

       393.    On May 31, the eve of alumni weekend, agitators, including students from SJP,

set up another encampment on the South Lawn. SJP posted an image of a banner from the

encampment reading “WE’RE BACK BITCHES,” with the caption: “Y’all thought we were

done? Columbia’s third encampment is now up and running.” Later that day, SJP posted a

video encouraging occupiers to remain in the tents and shouted, “shame” and “Free Palestine” at

Public Safety officers. That night, the encampment moved to occupy one of the large tents

erected for alumni weekend and posted on Instagram: “what’s a Columbia alumni reunion

without an encampment to remind everyone NO DONATIONS TIL DIVESTMENT[] Many

thanks to Columbia for the conveniently placed reunion tents to use for our encampment.” On




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June 2, SJP posted a series of photos including: “WE WILL BE BACK, INSTALLATION 1

COMPLETE”; “WE KNOW THAT OUR MOVEMENT IS NOT CONFINED TO ONE

BUILDING OR ONE LAWN, BUT RATHER, WE KNOW THE PEOPLE OF GAZA ARE

THE LIFEBLOOD OF OUR STRUGGLE AND THAT THEY HAVE SPARKED THE

STUDENT INTIFADA”; “WE RECOMMIT TO CONTINUE STRATEGIC, TARGETED

ATTACKS ON ALL ASPECTS OF UNIVERSITY LIFE”; “WE ASK THAT STUDENTS

ACROSS THE GLOBE PLEDGE TO DISRUPT ALL ASPECTS OF UNIVERSITY LIFE”;

“AS WE BEGIN OUR SUMMER OF DISRUPTION, WE ASK THAT EVERY STUDENT,

AND OUR WIDER COMMUNITY, DOES THE SAME. USE THIS TIME TO AGITATE,

EDUCATE, AND ESCALATE.” The caption accompanying the post read, “Until victory, we

will be back. Agitate, educate, escalate for Gaza.”

       394.    During an alumni reunion panel on Jewish life, Columbia University

administrators, including Columbia College Vice Dean and Chief Administrative Officer Susan

Chang-Kim, Dean of Undergraduate Student Life Cristen Kromm, and Associate Dean for

Student and Family Support Matthew Patashnick, exchanged offensive messages disparaging

and dismissing the panelists and topic. While the panelists, including a Jewish Columbia student

and a Columbia religious leader, recounted experiences with endemic antisemitism on campus,

Dean Pastashnick invoked antisemitic stereotypes by accusing them of exploiting the subject for

“fundraising potential,” and Chang-Kim doubted Columbia has “really ha[d] students being

kicked out of clubs for being Jewish.” As a Jewish alumna shared a vulnerable moment, sobbing

as she described her daughter’s experiences with antisemitism at Columbia, Kromm messaged

vomit emojis. In another message, Chang-Kim wrote, “This panel is really making the

administration look like jokers,” to which Pastashnick responded, “Yep.”




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       G.      Columbia’s Digital Spaces Are Infected by Antisemitism

       395.    Following October 7, platforms like Instagram, X, Sidechat, and WhatsApp have

been bombarded with antisemitic social media posts and messages by Columbia students and

employees celebrating Hamas, denigrating Jews and Israelis, and even targeting and calling for

violence against individual Jewish students and faculty. Though these actions have been

reported to Columbia, it has done nothing in response.

       396.    In the days immediately following October 7, for example, a WhatsApp chat

group moderated by Columbia GS students was co-opted by outsiders invited to join by GS

students. Messages from a phone number associated with Mohammad Wiese, Assistant

Professor of Emergency Medicine at CUIMC, sought to instigate fights with students who

supported Israel: “Send location”; “Be a man and back ur threats”; and “The lack of locations

being sent just shows me that your forefathers were women just as you all are.” In response, a

GS student and IDF veteran replied that he intended to report the individual to GS for incitement

of violence, which elicited the response from the professor, “LMFAOOOO.”

       397.    Sidechat in particular has become an anti-Jewish echo chamber for Columbia

students posting anonymously. A valid Columbia University email address domain is required to

sign up for an account on Sidechat. While other universities have endeavored to identify posters

of antisemitic threats to anonymous message boards, Columbia has not.

       398.    Immediately after Hamas’s attack, Glaser noticed Sidechat had been taken over

by students who pushed antisemitic and anti-Zionist agendas. If a pro-Israel or pro-Jewish post

remained on the platform, it was downvoted by other students, meaning students were disliking

the post.

       399.    When a Jewish Israeli student was assaulted on Columbia’s campus by a student

on October 11, Columbia students took to Sidechat to defend the assailant. In one Sidechat post,


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a Columbia community member expressed their violent fantasies involving Columbia’s IDF

veterans, and even went as far as to name a Columbia University student, who took leave during

his junior year to serve in the IDF: “I sincerely hope any IDF veterans here (and this includes

[specific student], currently ‘proudly’ serving) die a slow death.” This, and similar messages

regarding IDF veterans, have a profoundly negative effect on Rubin and Symonds, both IDF

veterans, who feel threatened, forced to share a campus with individuals who wish for their

deaths. Their fear was compounded when Columbia did nothing despite receiving reports of this

post.

        400.   In a series of Sidechat posts, Columbia students also targeted and doxed a Jewish

Barnard resident assistant because she removed propaganda from a residence hall bulletin board.

The posts named the resident assistant’s specific residence hall and floor, leaving no doubt as to

her identity and location, and encouraged students to vandalize her room, which they eventually

did.

        401.   Aryeh reported the Sidechat posts to Dean Grinage when they met on October 24.

Grinage falsely responded that it was a Columbia University issue; however, Barnard students

can post to Columbia’s Sidechat. Nonetheless, Grinage stated that she would pass the

information on to the appropriate authorities if she determined it necessary. Following the

meeting, Aryeh emailed Grinage screenshots of antisemitic messages on Sidechat. She has not

heard of any action taken in connection with her report.

        402.   Social media posts that promote violence and target particular Jewish students

violate several of Columbia University’s policies which prohibit “verbal abuse; epithets or slurs;

negative stereotyping; threatening, intimidating or hostile acts; denigrating jokes; insulting or

obscene comments or gestures; and the display or circulation of written or graphic material . . .




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that denigrates or shows hostility or aversion toward an individual or group members of a

protected class,” whether disseminated through “hard copy, by email or text, or through social

media.” Columbia University’s Standards and Discipline Policy recognizes that “[c]alls, texts, e-

mails, and social media usage by students can contribute to a hostile work, learning, or living

environment, even if they occur away from the University premises.” Similarly, Barnard’s

Discrimination Policy states that Barnard “will engage in a variety of means to address and

mitigate the effects” of discrimination and harassment over social media.

       403.    At the Columbia Hearing, President Shafik recognized that “social media is part

of the problem,” and that she is “particularly uncomfortable with some of the anonymous

channels” such as “Sidechat.” She even called the platform “poisonous” and stated that she

would “welcome any improvement in content moderation which would reduce” the “egregious

cases . . . of antisemitism” on the application. But Columbia has done nothing.

       404.    Columbia nonetheless has made no effort to combat the onslaught of antisemitic

harassment and threats on social media by its students and faculty. With respect to posts made

while the user is on campus, using Columbia’s WiFi network, Columbia has refused to disable

access to Sidechat on its network or to take any steps to enforce Columbia University’s

Acceptable Usage of Information Resources Policy—which prohibits using Columbia

University’s network to “[v]iolate any institutional policies or procedures” or “[i]ntimidate,

harass, threaten or otherwise do harm to other Users or internal or external Information

Resources including, but not limited to: Doxing / Doxxing [and] Cyberbullying.” Barnard’s

Acceptable Use Policy, which similarly applies to “all individuals who access, use, or control

College resources,” states that Barnard “resources must be used in compliance with all Barnard

policies and procedures and applicable local, state, federal, and international laws and




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regulations,” and that users are prohibited from using College resources to “[i]ntimidate, harass,

threaten, or otherwise do harm to other users including, but not limited to, doxing/doxxing,

cyberbullying, creating deep fakes, cyberstalking, and non-consensual image use or

impersonation.”

       H.      Columbia’s Double Standard in Addressing Antisemitism

       405.    Columbia has deliberately chosen to remain indifferent in response to

antisemitism and anti-Jewish harassment—which stands in stark contrast to its swift and decisive

actions to address bias-related incidents when the victims are not Jewish and/or Israeli.

Columbia’s invidious and egregious double standard is reflected in, among other things, its

official statements and programs addressing bias or important social issues, disciplinary actions

against faculty, and disciplinary actions against students when antisemitism is not involved, as

well as its disparate treatment of SSI, students in the joint program with Tel Aviv University, and

Professor Davidai.

                i.    Columbia Issues Strong Statements to Address Hate, Violence, and
                      Harassment Unless Jews and Israelis Are the Targets

       406.    Columbia’s double standard is readily apparent when comparing its response to

attacks against other groups—even those off campus and outside of New York State—to attacks

against Jews and Israelis on its very own campus. As one Black Jewish Barnard student told the

Times of Israel: “When I speak about Black and Native American issues, you have people’s

attention, no one questions what you’re saying. If you say it’s racist, then it’s racist. Your word

is law. But now it seems my Jewishness cancels it out for them. If I say something is antisemitic

they don’t listen.”

       407.    In 2020, then Columbia University President Lee C. Bollinger and Columbia

University deans released no less than nine separate statements of solidarity in the wake of



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George Floyd’s murder. Shortly thereafter, Columbia announced robust efforts to address on-

campus racism.

       408.    In August 2020, Columbia University renamed a CUIMC residence hall because

its namesake was a slaveowner, issuing a statement: “We all understand how careful we need to

be in shaping the environment, symbolic as well as physical, in which we ask our students to live

and to call home.”

       409.    In 2021, prompted by a rise in anti-Asian incidents during the COVID-19

pandemic, and a shooting spree in Atlanta that targeted Asians, then Columbia University

President Bollinger and several Columbia University deans released statements of solidarity.

President Bollinger stated, in part: “I cannot adequately express my sense of shared injury and

outrage at yet another display of evil and bigotry in this country. . . . To the many thousands in

our Columbia University community who are Asian or Asian American, we want you to know

that we, too, on your behalf and for all of us, feel the anguish and justifiable fear because of this

latest episode of a deep-rooted strain of racism in America.” Then Barnard President Sian Leah

Beilock similarly issued a statement unequivocally denouncing xenophobia, which recognized

that the shooting in Atlanta came amid a rise of anti-Asian violence in New York City, and

expressed that “[i]t can be hard to fathom the depth of grief, rage, fear and confusion we are

feeling.”

       410.    In 2022, following the Colorado Springs night club shooting that targeted the

LGBTQ+ community, Columbia University released a statement of solidarity: “The violence and

harm that took place last night at Club Q must be named as an act of hatred and terror against the

LGBTQ+ community, and against the values we aim to uphold at Columbia. Informed by the




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values of respect, dignity and the inherent value of every human, we at Columbia condemn this

act, and stand in solidarity with the LGBTQ+ community.”

       411.    At the beginning of the past school year, on August 28, 2023, Columbia

University released a statement of solidarity in response to a shooting in Jacksonville, Florida,

which targeted the Black community. The statement claimed that “[o]ne of Columbia’s greatest

assets is our diverse community [and that Columbia] denounces all forms of racism and bias and

will continue working to fulfill its commitment to anti-racism.”

       412.    In each of the above examples, Columbia decisively issued statements of

solidarity with affected students and unequivocally denounced violence. Yet it took six months

after the October 7 terrorist attack against Jews for President Shafik to issue a statement to its

students condemning Hamas.

       413.    Columbia’s failure to publicly condemn Hamas is part of a deliberate, broader

pattern of refusing to acknowledge Jew hatred. In 2018, when an antisemitic domestic terrorist

unleashed a hail of bullets in the Tree of Life Synagogue in Pittsburgh, killing eleven Jews and

wounding six others, including Holocaust survivors, Columbia issued a statement conspicuously

omitting any reference to “Jews” or “antisemitism,” while also offering solidarity for those

affected by the then recent rise in homophobic- and racist motivated incidents.

               ii.   Columbia Swiftly Provides Resources for Victims of Doxing

       414.    On November 1, after campus antisemitism and discrimination reached a fever

pitch, Presidents Shafik and Rosenbury announced the creation of the Task Force. Less than

three hours later, Presidents Shafik and Rosenbury announced a “Doxing Resource Group” to

address “disturbing incidents” in which the “names and photos of Arab, Muslim, and Palestinian

students” were publicized. They added that Columbia was “grateful for the persistence and




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perseverance of the students, and their families, in the face of this harassment. We are

assembling available resources to support them and the staff and faculty who are by their side.”

          415.    These two initiatives were meant to address concerns from students on both

sides—Jewish students targeted by antisemitism on one side and students who were identified

for their possible involvement in these antisemitic incidents. But comparing these two emails—

sent hours apart—highlights Columbia’s antisemitic double standard. For example, the email

announcing the Task Force framed the incidents on campus as “report[s],” while the Doxing

Resource Group email left no doubt that Columbia believed “attacks” had occurred.

          416.    While the Doxing Resource Group email recounted specific “disturbing

incidents,” no specifics or details about the antisemitic incidents on Columbia’s campus were

provided in the Task Force email. And while the Doxing Resource Group email detailed

concrete measures, including that Columbia had already “retained experts in the field of digital

threat investigation and privacy scrubbing,” the Task Force made its first recommendations, a

narrow set of policy recommendations specific to Columbia University, on March 4, and has not

issued any other reports since. Since the establishment of the Task Force, Jewish students’

safety remains unaddressed at Columbia. As Professor Schizer testified at the Columbia

Hearing, the Task Force has a “critical responsibility” because the antisemitism on campus is

“not an acceptable situation,” and he acknowledged “the problem is there, and it is not yet

fixed.”

                 iii.   Columbia Does Not Hesitate to Discipline Faculty Who Make Racist or
                        Other Controversial Statements, Except When the Statements Are
                        Antisemitic

          417.    While Columbia hires, promotes, and protects professors who espouse and teach

antisemitic and anti-Israel vitriol, Columbia decisively disciplines professors in matters

involving other minority groups or expressing unpopular ideas. In 2005, Barnard fired an


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American History professor because he taught an unconventional perspective on history that

emphasized the role of debauchery. In 2022, Columbia University suspended its psychiatry

department chair for tweeting a photo of an African model with the caption: “Whether a work of

art or freak of nature she’s a beautiful sight to behold.” That year, Barnard canceled a course on

Culture in America, because the professor had quoted rap lyrics including the N-word.

       418.    But Columbia University does nothing to protect Jews in response to complaints

about its faculty, including Professors Rashid Khalidi, Hamid Dabashi, Joseph Massad, and

Katherine Franke, all of whom have been repeatedly exposed for their expression of antisemitic

views, endorsement of violence against Jews, and/or calls for Israel’s destruction. Indeed, just as

it ignored corroborated reports of Professor Massad’s antisemitic harassment nearly two decades

ago, Columbia has failed to answer renewed calls to discipline Massad for his abhorrent support

of terrorism against Jews and Israel the day after the depraved terror attacks on October 7. By

ignoring these reports, Columbia has emboldened Massad.

       419.    Columbia University Law Professor Franke—who bragged on X on November

26, 2023 that she helped shut down and trap people on the Manhattan Bridge to protest the

“genocide in Gaza,” and more recently called for Columbia to exclude Israeli students from

campus—taught three courses in the spring 2024 semester, including Reading Group on Modern

History of Palestine. The Associate Director of Undergraduate Career Development at Columbia

University, Lameess Mehanna, stated at a rally in New York City on December 31, 2023, “we

can make sure that it is etched in the books of history that 2023 was the beginning of the end for

the Zionist entity [Israel].” None have faced discipline.

       420.    Columbia University’s persecution of Jewish Israeli Professor Shai Davidai is

emblematic of its invidious double standard. Since October 7, Professor Davidai has been the




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most vocal faculty-advocate for Columbia’s Jewish and Israeli community and has been critical

of Columbia’s failure to address antisemitism and pro-terrorism on its campus. At a vigil

organized by Jewish students on October 18, Professor Davidai delivered an impassioned speech

warning parents that Columbia “cannot protect your children from pro-terror student

organizations,” who in the prior week “had thousands of students chant pro-terror songs that are

sung right now in Iraq, in Libya, in Yemen, in Afghanistan” and caused “the Center for Jewish

Life [] to go on lockdown.” A video recording of the speech went viral and was viewed millions

of times.

       421.    In the ensuing months, Professor Davidai repeatedly exposed antisemitic and pro-

terror incidents at Columbia and across the world, calling on Columbia to act, and criticizing

administrators, such as President Shafik, COO Holloway, and Senior Executive Vice President

Rosberg, for their failures to protect Columbia’s Jewish and Israeli community members.

       422.    On March 8, 2024, Professor Davidai revealed publicly that Columbia’s EOAA

office had opened an investigation accusing him of posting harassing material on social media.

But Professor Davidai’s posts identified in the accusation were critical of antisemitic, anti-Israeli,

pro-Hamas, and pro-terror activities on and around the Columbia campus and criticized no one

based on any protected characteristic. Indeed, Professor Davidai has often expressed his

“support for the Palestinian people, [] objection to Islamophobia and anti-Arab sentiment, [and]

hope for a two-state solution.”

       423.    Conversely, for decades Columbia has permitted faculty like Professors Massad,

Dabashi, and Khalidi to discriminate against and harass Jewish and Israeli students without

consequence. In fact, when President Shafik was asked at the Columbia Hearing about




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Professors Khalidi and Dabashi, whose antisemitism has been publicly exposed, she confirmed

that they are not under investigation.

       424.    Despite testifying that there “are consequences” for professors who behave in a

discriminatory fashion, when asked if there were any consequences for Professor Massad’s

article praising October 7 as “awesome, astonishing, astounding, and incredible,” President

Shafik stated he had merely been “spoken to.” President Shafik could not answer what Professor

Massad was told other than, “I think he was told that language was unacceptable.” She added

that Professor Massad “has not repeated anything like that ever since.” But during a webinar on

December 4, 2023, Massad promoted the debunked claim that the IDF was engaging in

“indiscriminate strafing of people at the music festival” or those trying to flee the scene. He also

added that the “claims of mass murders of babies” and “mass rapes of women” were lies

“dispensed to a white supremacist Western world.” On January 11, 2024, Massad stated in the

Middle East Eye that “a majority of Israeli Jews” hold “genocidal views” and “support [] ethnic

cleansing of the Palestinian people,” and suggested that “Israeli Jews” should move to the U.S.

and Europe.

       425.    President Shafik also claimed that professors are removed from the classroom “if

necessary,” but could not confirm if Professor Massad was still in the classroom. President

Shafik also put the onus on the students, adding that they are allowed to leave the classes if they

feel “uncomfortable.”

       426.    Professor Mohammad Abdou posted on October 11: “Yes. I’m with Hamas and

Hezbollah and Islamic Jihad.” He also claimed reports of sexual violence by Hamas on October

7 were false. The hiring of Abdou post-October 7 sparked questions by members of Congress

about Columbia University’s hiring practices, as Abdou was hired after he made these comments




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publicly. Ultimately, it was revealed the only checks that Columbia University currently does on

potential employees in this regard are asking whether they were found “guilty” in a

discrimination investigation. And when asked if Professor Abdou had written anything

antisemitic, President Shafik answered, “he has written and said things which are in support of

Hamas, which [she] find[s] very problematic.”

       427.    Similarly, President Shafik was asked about Professor Franke, who expressed

concern with Israeli students who come to Columbia’s campus after their compulsory military

service. Despite acknowledging that Franke’s comments were “completely unacceptable and

discriminatory,” President Shafik said Franke did not “intend” it and confirmed that no formal

disciplinary action has been taken against her and she was merely “spoken to by a very senior

person in the administration.”

       428.    Despite hours of testimony and questioning on antisemitic faculty at the Columbia

Hearing, when Professor Shafik was directly asked if there are antisemitic professors on her

faculty, she responded, “I certainly hope not, and if I have any evidence that there are, there will

be consequences.” When asked if that meant she had not seen any evidence of antisemitism

among professors, President Shafik then claimed she has seen “some cases, and there have been

consequences.”

       429.    Following the Columbia Hearing, Professor Massad denied that he had been

reprimanded, instead asserting that his supervisors praised his article and that he had received no

notice of any investigation into him. Further, an April 16, 2024 letter from Columbia University

to the House Education Committee suggested that the investigation of Professor Massad for his

October 8 article had only recently been initiated and confirmed it had not yet then been noticed.

The letter also stated that the complainant had only been interviewed earlier that month (after




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Congress asked President Shafik to testify), even though a student petition calling for Professor

Massad’s termination had garnered 47,000 signatures by October 17 and Kahane reported

Massad twice. And on May 7, 2024, Professor Abdou posted a video from his office at

Columbia University explaining he was not terminated, and that he had taught his two classes the

last two weeks in the encampment.

       430.    In contrast to President Shafik’s vacillations about antisemitic professors, when

asked about Professor Davidai at the Columbia Hearing, she confidently answered without

hesitation or need for confirmation that he was under investigation because Columbia University

received at least fifty complaints that he had “attack[ed] [Columbia] students.” Professor

Davidai’s social media posts are public and belie President Shafik’s suggestion that he

“attack[ed]” any student, let alone based on any protected characteristic. Nor has Columbia

provided to Professor Davidai the alleged “complaints” it claims it received; who sent or

authored the complaints; to whom at Columbia the complaints were directed, if anyone; what if

any organization the sender(s) are associated with; whether such alleged complaints are identical

to one another or unique; and what exactly was being complained about.

       431.    On June 28, 2023, SIPA announced that Maria Ressa would be joining the SIPA

faculty in July 2024. On November 6, 2023, Ressa published an editorial that compared Israel to

Nazi Germany and accused Israel of “targeting” news journalists. On May 23, 2024, Ressa gave

a speech at Harvard University’s commencement where she used a classic antisemitic trope:

“Because I accepted your invitation to be here today, I was attacked online and called antisemitic

by power and money, because they want power and money.” Ressa’s offer has not been

rescinded.




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              iv.    Columbia Punishes Students for Policy Violations That Do Not Involve
                     Antisemitism

       432.    Columbia’s failure and refusal to discipline students who engage in antisemitic

harassment also stands in stark contrast to the discipline Columbia metes out in response to bias-

motivated incidents against other minority groups, or even the mere use of crude language or

other misconduct.

       433.    In 2006, for example, Columbia University suspended its men’s ice hockey team

from preseason competition, placed it on probation for a year, and required its members to

participate in trainings because the team’s recruitment fliers said, “stop being a pussy.” In 2015,

Columbia University terminated a teaching assistant, in part, because he used the word “fucked”

in an email to students.

       434.    In 2016, Columbia University suspended its men’s wrestling team for text

messages containing racist, sexist, and homophobic language. In 2018, Barnard banned a

Columbia University student from its campus for harassing Black students. In November 2020,

Columbia University banned seventy MBA students from campus for traveling to Turks and

Caicos, in violation of its COVID-19 travel policy. In 2021, Barnard evicted a low-income

student from Barnard housing because she accidentally started a fire.

               v.    Students in the Tel Aviv University Dual Degree Program are Second-
                     Class Citizens at Columbia

       435.    In 2019, Columbia University’s School of General Studies and TAU launched a

dual degree program which allows students to spend their first two years at TAU and final two

years at GS (“TAU Program”).

       436.     Columbia University has exhibited a pattern of indifference toward students in

its TAU Program, like David, Elkins, and Gal, as compared to other similarly situated students.

For example, in May 2021, when Hamas launched thousands of rockets at Israeli population


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centers, David was shocked by Columbia’s silence. She received a single email from GS

Associate Dean for International Programs Jessica Sarles-Dinsick and Senior Assistant Dean of

Students Sara Ede with security directives, such as “remain aware of the location of the nearest

air raid shelter,” but no offer of solidarity or condemnation of Hamas, and Columbia did not send

a university-wide message of support. In contrast, in January 2017, when the Trump

administration banned immigrants from seven predominantly Muslim nations, then President

Bollinger sent a midnight Sunday email to the entire Columbia University community

condemning the executive order and stating that Columbia University was advising community

members from the designated countries. And after Russia invaded Ukraine in February 2022,

then President Bollinger condemned the “unspeakable acts of criminal violence, brutality, and

violations of international law,” and stated that Columbia University was “reaching out to

everyone affected to offer whatever assistance [Columbia University] can.”

       437.      In August 26, 2022, David participated in her Columbia University orientation,

which was held for students in all of Columbia University’s international dual degree programs.

During an orientation activity, students were asked various prompts and their answers formed a

word cloud projected on a large screen, with the most popular answers appearing in the largest

font size. When the students were asked what their favorite hobby was, the biggest—meaning

the most popular—phrase was “freepalestine.” When students were asked what habits they

hoped to continue while living in New York City, the second most popular word was

“antizionism.”

       438.      In March 2023, Columbia University announced a Global Center in Tel Aviv.

Following this announcement, nearly one hundred faculty, including Professors Franke, Khalidi,

and Dabashi signed an open letter to then President Bollinger and then President-Designate




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Shafik condemning the planned center as discriminatory and stating that because a Global Center

existed in Jordan, another one in the Middle East was unnecessary. Yet around that same time,

Human Rights Watch was documenting cases of Jordanian Security Forces “systematically

target[ing] lesbian, gay, bisexual, and transgender (LGBT) rights activists and coordinat[ing] an

unlawful crackdown on free expression and assembly around gender and sexuality,” affirming

that those faculty were holding Israel to a double standard.

       439.    Since Hamas’s October 7 terrorist attack, students in the TAU Program and the

Global Center in Tel Aviv have often been targeted by Columbia students and faculty.

       440.    On November 29, 2023, student group Columbia University SIPA Divest staged a

six-hour occupation of the SIPA building, demanding an end to the TAU Program and the

cancellation of the Global Center in Tel Aviv.

       441.    On March 3, 2024, Columbia College Student Council approved a referendum

with a specific proposal by CUAD that Columbia University cancel its Tel Aviv Global Center’s

opening and end the TAU Program. Barnard’s Student Government Association quickly

followed suit, approving its own referendum with CUAD’s proposal on March 4, 2024. The

Columbia College referendum passed a student body vote on April 22 and Barnard’s on April 29.

       442.    On April 8, 2024, eighty-five dual degree students, including Elkins, David, and

Gal, signed a letter to Columbia that stated “[s]ince the October 7th terror attacks on Israel, our

program specifically has faced heightened animosity and discrimination by students at

Columbia.” Given Columbia’s silence for months about the harassment targeting the TAU

Program, the students demanded a statement of support from the administration debunking

rumors that it was in danger of cancellation, and reiterating that students in the TAU Program are

welcome at Columbia.




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       443.    On April 28, 2024, SJP posted a supposedly “LEAKED DOCUMENT from

Columbia University admin,” which purported to demonstrate discriminatory admissions

policies, disproportionate financial aid, and bias from Dean Rosen-Metsch. This post was rife

with misinformation, inspiring comments like “[t]hey always find a way to steal” and “[w]e’re

paying for the terrorists to go to college.” For example, the post falsely claimed that the

program’s class of 2025 was nearly all if not entirely Jewish, even though a significant

percentage are non-Jewish.

       444.    On May 1, President Shafik released a statement on the Hamilton Hall

occupation, discussing Columbia’s negotiations with the encampment’s representatives,

including “offer[ing] to consider new proposals” relating to the TAU Program.

       445.    In May 2024, TAU’s Vice President, who oversees international academic

collaboration, said that some students in the dual program are “fearful or not at ease,” and that

many are “shaken” because of the antisemitism at Columbia in the wake of October 7.

Columbia’s campus was so hostile that TAU gave dual degree students the option of finishing

their degree in Tel Aviv, where a war against Hamas is raging, rather than attend Columbia.

              vi.    Antisemitism Task Force Confirms Columbia’s Double Standard

       446.    On March 4, 2024, over four months after it was announced, the Task Force

issued its first (and only) report (“March 4 Report”), which narrowly focused on Columbia’s

rules on demonstrations, and merely made recommendations, while promising to issue more

reports, “examining various aspects of this difficult situation” “[i]n the coming months.” The

March 4 Report focused on Columbia University because the Task Force’s work on Barnard was

still at an “early stage,” even though Jewish and Israeli students at both schools have endured the

same antisemitism and harassment.




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       447.    The March 4 Report evaluated and endorsed Columbia’s new demonstration

policies, which went into effect for Columbia University on February 19 and Barnard on

February 20, and which “adopt[ed] [a] location-based approach, requiring demonstrations to be

in ‘Demonstration Areas’ (East South Lawn, West South Lawn, and the sundial on Columbia’s

Morningside campus and Futter Field on Barnard’s campus) at designated times,” and a two-

business day notice requirement. Barnard’s Policy for Safe Campus Demonstrations also

adopted a prohibition on sound amplification. Yet these measures proved no more effective than

the existing policies, because, among other things, SJP, JVP, CUAD, FJP, and others continued

to disregard them with no effective response from Columbia.

       448.    The March 4 Report acknowledged that “[d]iscrimination and [h]arassment are

[n]ot [p]rotected [s]peech,” and confirmed that since October 7, Jewish and Israeli students at

Columbia have “been the object of racist epithets and graffiti, antisemitic tropes, and

confrontational and unwelcome questions, while others have found their participation in some

student groups that have nothing to do with politics to be increasingly uncomfortable”; heard

“chants at protests like ‘Globalize the Intifada’ and ‘Death to the Zionist State’ as calls for

violence against them and their families”; and “been criticized and stereotyped for serving in the

military, something most Israelis are required to do.”

       449.    The March 4 Report also confirmed that there have been “repeated violations of

the rules on protests,” and that Columbia “generally has not tried to stop violations as they have

occurred.” For example, “[p]rotesters have disrupted classes and events, taken over spaces in

academic buildings, held unauthorized demonstrations, and used ugly language to berate

individuals who were filming these protests or just walking by,” and “[t]here also have been




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reports of physical harm to students, including Columbia affiliates who were protesting against

Hamas.”

       450.    In fact, the Task Force recommended Columbia “do more to stop unauthorized

protests as they occur,” including “[i]dentifying [m]asked [d]emonstrators,” and “be[ing] more

effective at investigating and enforcing violations after the fact.”

       451.    The March 4 Report clarified that “epithets or slurs”—such as “F*** the Jews”—

and “negative stereotyping”—such as when “Jewish students walk by a group that is protesting

against policies of the Israeli government, . . . [and] the protesters heckle these students by

attributing Israel’s policies to them (e.g., ‘you bomb hospitals’)”—are types of harassment that

contribute to a hostile educational environment. The March 4 Report also acknowledged that

Columbia needs to better define antisemitic harassment, and recognized that Columbia’s gender-

based misconduct policy includes “scenarios” to “illustrate what is permitted and what is not,”

which “all members of the community” are required to attend “period online training” on, unlike

how antisemitic harassment is treated.

       452.    The March 4 Report admitted that Columbia’s nonenforcement of its policies

reflects an invidious double standard adverse to Jews and Israelis, or, as the Task Force put it, a

“different norm has applied to many Jewish and Israeli Columbia affiliates.” Whereas, in the

past, Columbia has “defer[red] to protected classes in defining which statements are considered

biased or hateful, prioritizing the concerns of the audience (i.e., the protected class) over the

intentions of the speaker”—which “has been evident, for instance, in discussions of policing,

affirmative action, sexual assault, transgender rights, and other important issues”—“when some

Israeli and Jewish Columbia affiliates have complained about phrases or comments in recent




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months, the response has been different, defending the intentions and free speech rights of the

speakers.”

       453.    On May 16, 2024, the Task Force published an op-ed in the Columbia Spectator

entitled “We hear you.” The op-ed detailed reports of antisemitic harassment and discrimination

that have occurred on campus, noting that the distinction between Israel and Jews has been

“blur[red],” as shown by “signs and chants, and in the emergence of ‘Zionist’ as a highly charged

negative category among some protesters and other students and faculty,” which “has become a

less well-defined general-purpose accusation.” According to the Task Force, “[i]t is usually only

Israelis and Jews who are asked to assure people, as the price of acceptance, that they are not

‘Zionists,’” which is “about as clear-cut a case of discrimination as one can find.” The op-ed

also described the “discomfort and fear” caused by the “increasingly violent and threatening

rhetoric” at rallies and on social media platforms such as Sidechat.

       454.    The Task Force’s op-ed acknowledged faculty’s role in creating a hostile

environment by: singling out Jewish and Israeli students in class; “endors[ing] efforts to deny

Israel’s long-established right to exist as a Jewish state”; and encouraging students to participate

in anti-Israel demonstrations or “conduct[ing] classes at protest sites.”

       455.    The op-ed also stated that students complained to the Task Force “about their

complaints not being taken seriously by administrators”; it was “common” for students to be

“assured that what [they] had experienced wasn’t antisemitism”; “two students in the same

program were each independently told that there is not an antisemitism problem, there is an anti-

civility problem—or that nobody else had complained”; “[s]ome students reported that their

complaints were treated as evidence that they had mental health problems”; and “[s]everal told




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[the Task Force] they had tried to reach out to their school but were directed to counseling

services before they could meet with the dean of student affairs.”

        I.      Plaintiffs Are Being Denied Equal Access to Columbia’s Educational
                Opportunities

        456.    The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members know that, solely because of their Jewish and/or Israeli identities, Columbia

views and treats them as second-class citizens, undeserving of the protections that Columbia

affords non-Jewish and non-Israeli students. The Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members have been deprived of the benefits that non-

Jewish and non-Israeli students enjoy in both academic and student life—all while paying, in

addition to tuition, mandatory costly “student life fees,” which fund student groups, including

SJP, JVP, and the coalition of student groups that constitute CUAD.

        457.    Because of Columbia’s persistent refusal to comply with its obligations to stop

discrimination and harassment against Jewish and Israeli students, the Individual Plaintiffs,

SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members, and other Jewish and/or

Israeli students are deprived of the benefits that non-Jewish and non-Israeli students enjoy,

including, but not limited to, physical protection; emotional support; a sense of inclusion and

belonging; participation in educational, extracurricular, and Columbia-sanctioned social

activities; the ability to freely express their Jewish and/or Israeli identity in class, written

coursework, and on campus; and their right to express their support for and attachment to Israel,

their ancestral homeland, where many, including the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members, have friends and family. And because of the

hostile environment, plaintiffs have been, and continue to be, deprived of Columbia’s full




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educational opportunities and offerings, including use of Columbia’s libraries, in-person

instruction, and other educational resources.

       458.    As a result of Columbia’s actions and inactions alleged herein, the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members are made to

feel less important than, and are treated differently from, other non-Jewish and non-Israeli

students. Students, along with Columbia faculty, are able to taunt, demonize, assault, harass,

intimidate, ostracize, and discriminate against the Individual Plaintiffs, SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members, and other Jews and/or Israelis with impunity.

       459.    The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members, and other Jewish and/or Israeli students do not feel physically safe on

Columbia’s campus or in its classrooms and other facilities and avoid certain areas of campus, or

sometimes campus entirely.

       460.    The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members also justifiably fear the harassment, discrimination, and intimidation they face,

on any given day, from professors and Columbia leadership—who are supposed to teach and

guide them—and from their fellow students, all of whom are required to treat them with respect

and dignity under Columbia’s policies. Columbia’s antisemitic faculty and curriculum

effectively limits the available courses for Jewish and Israeli students. When registering for

classes, the Individual Plaintiffs, SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, and other Jewish and/or Israeli students at Columbia are forced to check whether the

professors have a history of antisemitism. Especially since October 7, Jewish students have had

to cross-reference their preferred courses against the long list of faculty that have signed onto




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statements defending Hamas’s atrocities or participated in the pro-terror rallies. They have had

to avoid courses taught by professors who have expressed antisemitic views.

       461.    As a result of Columbia’s deliberate indifference to this hostile educational

environment, including its clearly unreasonable response—and in many instances, failure to

respond at all—to reported incidents, the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members are often unable to focus, study, or perform their

course work to the best of their ability, thereby inhibiting their ability to maximize their

Columbia education. These students have had to spend their time at Columbia fearing for their

physical safety, enduring anti-Jewish abuse and harassment, and communicating with Columbia

administrators in vain over antisemitism. They have been unable to focus on their coursework or

otherwise enjoy their Columbia experience.

       462.    Columbia’s unreasonable actions and inactions described above not only deprive

the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members

of their right to the educational and extracurricular opportunities afforded to other students—

which have led and will continue to lead to academic, social, and professional consequences—

but also severely impact their health, mental well-being, and sense of security. Indeed, a

Columbia degree is now synonymous with antisemitism and pro-terror such that employers,

including some federal judges, will not consider hiring Columbia graduates—for Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members, their once

highly coveted, respected, and valuable Ivy League diploma has greatly diminished in value.

                i.   Rubin

       463.    In the immediate aftermath of October 7, Rubin faced special challenges as an

IDF veteran. He anticipated being called to join his unit and contacted various GS deans to

inquire what options were available should he need to do so. On October 8, Rubin asked Dean


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Rosen-Metsch, who has touted GS as the “premier destination for military veterans seeking an

undergraduate degree,” to schedule a town hall to clarify how GS would support the Israeli

community and those who planned to deploy to the IDF. No town hall was scheduled.

       464.    In the days and weeks that followed, Jewish students, including Rubin, Symonds,

and McNulty, continued to contact the administration, including Deans Rosen-Metsch and Dave.

On October 16, Rubin sent an email stating that he felt “unsafe” on campus and that the

“learning environment [was] truly toxic.” GS Associate Dean of Student Affairs and Wellbeing

Amber Griffiths responded by suggesting he connect with Public Safety to get a “better sense” of

its presence on campus. The next day, Rubin emailed Case Manager Bridgette “Judy” Aboal—

his assigned point of contact at Columbia Health—stating that he was going through “emotional

turmoil” and that Columbia had turned into a “hostile learning environment.” He asked for

“immediate assistance in any way” and included “*urgent*” in the subject line. That afternoon,

in response to a different email, Aboal acknowledged how “difficult” it was for Rubin to share

his “intimate experiences with the current events,” but that she could not consider his request for

remote classes—news she could “imagine” was a “disappointment.”

       465.    On or about October 24, Rubin tried again to attend class. On his walk to class,

including inside an academic building, Rubin was bombarded by signs reading Israel is

“committing genocide.” Overwhelmed and unable to concentrate in class, Rubin left and went to

the Dean of Students office, where he was told to return later in the day. In the meantime, Rubin

emailed Dean Dave, Dean Griffiths, and his professor, pleading for help, but he received no

substantive response.

       466.    Faced with no more conventional options, and desperate to receive any

meaningful response from the administration, Rubin—joined at times by Symonds, Droznik, and




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other Jewish students—stood quietly on Columbia University’s College Walk for about four

hours holding up a sign that read “Columbia doesn’t care about the safety and well-being of its

Jewish students.” While McNulty was nearby, two students in keffiyehs walked by laughing.

When Rubin asked why they were laughing, one replied, “you guys bomb hospitals”—referring

to a false Hamas report that Israel had bombed the Al-Ahli Arab Hospital in Gaza City, when in

reality it was a rocket aimed at Israel that misfired. While Droznik was there, a woman yelled,

“fuck Israel.” When the Jewish students responded that their sign had nothing to do with Israel,

she said, “fuck you Jews too” and walked away. The incident was reported to Public Safety,

who responded months later.

       467.    Rubin was also approached by several professors. One MESAAS professor took

photos of Rubin and laughed at him. Another professor stopped to ask Rubin why he felt

Columbia does not care about its Jewish students. Moments later, a female student walked by

and yelled at Rubin, “Fuck the Jews. Fuck Israel.” Rubin looked at the professor and said,

“that’s why.” One of Rubin’s friends who had witnessed the interaction reported it to Public

Safety but never heard back.

       468.    Rubin experienced antisemitism in classes, which affected his GPA and forced

him to withdraw from a class. Since October 7, Rubin found Columbia’s campus to be

unbearable, affecting his mental health and causing him to flee campus to the safety of his

parents’ house and miss countless classes and fall behind on coursework. On October 25, Rubin

heard amplified chants of “from the River to the Sea” during a midterm exam, and during a

lecture on the Holocaust that day, he could hear similar chants. Rubin persistently requested

accommodations, such as remote learning, to no avail, causing him to withdraw from a course.




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               ii.   Symonds

       469.    In the immediate aftermath of October 7, Symonds also faced special challenges

as an IDF veteran as she needed to be prepared to potentially join her unit. Symonds has

experienced immense stress, anxiety, and trauma because of the antisemitic events at Columbia

since October 7, causing her to lose sleep and miss countless classes. Symonds’s stress has been

exacerbated by the lack of support offered by Columbia. Symonds has had to avoid taking

courses that she otherwise would have taken with certain professors, like Massad and Khalidi,

because of their well-documented histories of antisemitic discrimination and harassment. She

was also interested in attending graduate school at SIPA, but is dissuaded because of its rampant

antisemitism following October 7, including its academic building being defaced with a swastika

on October 27. Symonds initially avoided wearing clothing on campus identifying her as a

member of SSI out of fear for her emotional safety, or otherwise felt compelled to cover it up

depending on her surroundings, fearing retaliation for her Jewish identity. In order to graduate

on time, Symonds has to take summer classes to make up for credits lost during the fall 2023

semester. During the encampment, she was forced to miss her University Writing class because

the professor did not allow remote attendance and she did not feel safe on campus. Symonds has

applied to transfer to TAU.

              iii.   McNulty

       470.    McNulty dropped multiple classes because professors refused to arrange

accommodations for exams or missed in-person classes because she could not physically get to

class without risking her safety by walking through antisemitic rallies. On October 12, in her

Chinese class, McNulty’s classmate wrote the following notes on an iPad tilted in her direction:

“The jewish student who was attacked yesterday was a white student who’s [sic] goal was to get

a black Palestinian arrested”; “The jewish students on campus were trying to recruit ‘zionists’


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who we [sic] ‘extremely dangerous’ and who would make the campus unsafe”; and “The Jewish

communities [sic] goal is to spread misinformation to gain support.” Distressed by these

messages, McNulty immediately left class and sent an email reporting the incident to, among

others, Dean Delva. She did not receive a response. The next week, McNulty tried returning to

class only to find students discussing their participation in SJP rallies, which had no connection

to the subject matter of the course.

       471.    In January 2024, there was a display in celebration of Lunar New Year at Barnard

with sticky notes for students to write and display their wishes for the new year. Many of her

classmates wrote “free Palestine,” “end the siege on Gaza,” and “Columbia divests from

apartheid” as their wishes. On April 4, 2024, while an antisemitic rally took place on campus,

McNulty was in her Chinese class trying to focus over the chants from outside the classroom.

Her professor remarked that war was taking place in the Middle East because of “people and

money” and that the students protesting that day were doing so to fight against Israel. McNulty

is no longer pursing a minor in East Asian Studies so she can avoid the department. On April 19,

McNulty was walking to a final exam when she encountered a student who had been arrested at

Columbia for being violent during rallies who stared and yelled at her in Arabic. Shaken by this,

McNulty could not focus on her exam.

       472.    During the encampment, one of McNulty’s best friends, an Israeli student in GS,

stayed in her apartment because she felt unsafe on campus. Her friend, whose parents and

siblings were hiding in a bomb shelter in Israel on October 7, had been told by agitators at the

encampment, “you are a dirty Zionist” and “we don’t care that you got kicked out of Europe”

and her classmates had said, “October 7th gave hope, optimism, and relief” and that their “hearts

go out to Hamas.”




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        473.   Despite her previously stellar academic record, McNulty completed only one

class in the fall 2023 semester because that professor accommodated her request for remote

learning; even in that situation, however, she was deprived of the educational opportunities

offered by in-person learning. Her request to continue a class via Zoom in spring 2024 was

denied. McNulty’s mental health has also been significantly impacted by Columbia’s hostile

environment, causing her to lose sleep and have nightmares. She also withdrew from the

summer 2024 semester. As a result, McNulty’s graduation date will likely be extended by a full

year.

               iv.   Gerstein

        474.   Gerstein’s academic environment was severely impacted by antisemitism. In the

spring 2024 semester, she had to take an independent study as an accommodation to avoid a

required course taught by Erwin de Leon, SPS Chief Diversity Officer and Lecturer, because of

his previous alleged conduct toward Jews. The independent study was mainly online, depriving

Gerstein of the full benefits of the course. She was prevented from accessing libraries and other

resources she intended to use to complete her final exams. Antisemitism also impacted other

educational activities for Gerstein, including her ability to fully participate on SPS’s DEIA

Committee and the Nonprofit Student Management Student Association.

        475.   Since October 7, Gerstein had several classes disrupted because of the antisemitic

campus environment. In the fall 2023 semester, her class on the first floor of the SIPA building

was constantly disrupted due to a nearby class taught by former U.S. Secretary of State Hillary

Clinton, against whom students led a relentless campaign, disrupting academic activities in the

SIPA building, including on November 29, when students occupied its lobby chanting, “Hillary,

Hillary, you can’t hide, you’re supporting genocide.” During the spring 2024 semester, students

in one of Gerstein’s classes attended class virtually from the encampment. Gerstein often


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avoided campus when antisemitic rallies were planned, including on February 2 when WOL and

Columbia students led a riot adjacent to campus. When she was forced to be on campus during

rallies, Gerstein was, at times, physically prevented by the mobs of agitators from accessing

Columbia’s facilities. These experiences led Gerstein to fear she would be targeted for wearing a

necklace in support of the hostages in Gaza or a Star of David. Gerstein’s university-wide

graduation was canceled.

               v.    Miller

        476.   Since October 7, Miller has continued to experience antisemitism in classes. For

example, on October 30, Miller attended a “safe space” lecture—which was advertised as an

opportunity to have an open discussion about the Middle East with Dean Jaque of GSAPP.

During the lecture, Jaque consistently referred to Israel as “Palestine.” Feeling unsafe, Miller

felt compelled to leave.

        477.   The next day, Miller was paired with a fellow GSAPP student to give a lecture for

their Extreme Design class. While discussing the assignment, Miller’s classmate suggested they

focus their lecture on October 7. When Miller told his classmate that it was extremely painful to

discuss October 7, the classmate responded by pretending to look for a book around his desk and

jokingly told Miller he was trying to find his copy of Mein Kampf.

        478.   In November 2023, GSAPP students hosted a series of “teach-ins” as part of an

event, “What is Settler Colonialism?” Hamas was praised during at least one of these “teach-

ins.”

        479.   During a meeting with Dean Jaque in December 2023, Miller asked Jaque to

condemn antisemitic bullying on campus. Jaque refused to do so, claiming he was told to follow

President Shafik’s lead and would not make an independent statement. When Miller raised his

concerns about the “What is Settler Colonialism?” fliers and event with Jaque, Jaque claimed


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GSAPP did not endorse the event. To date, the event remains advertised on GSAPP’s website

and the poster advertises it as a GSAPP event.

       480.    After returning to campus in January 2024, Miller was once again confronted with

antisemitism in the classroom. On his first day of Spirits and Matter: Architecture and the

Modernization of the Middle East, Miller saw that according to the syllabus, not every class

would involve discussions of architecture. For instance, according to the syllabus, the lecture

planned for March 6 is called “Occupation and Genocide,” and required reading includes

“Israel’s Genocide in Gaza Encapsulates the Entire History of European Colonialism”—and

Miller, unwilling to sit through an anti-Israel course, dropped the class.

       481.    Throughout the spring 2024 semester, the bulletin boards outside Miller’s studio

were frequently covered with signs, such as “the more you try to silence us the louder we will

be,” “from the river to the sea,” and “if someone’s liberation offends you, it probably means you

were benefitting from the occupation.” Miller avoided campus during the encampment.

       482.    Since October 7, Miller has dropped multiple classes and avoided going to

campus on at least twenty days because of the hostile environment. He has made reports to the

administration but has merely received automated replies which include referrals to wellness

resources. As a GSAPP student, Miller must work in his assigned studio space in Avery Hall;

indeed, Columbia only provides software licenses to on-campus computers, which Miller cannot

access on his personal computer. Because the studio space does not have air conditioning, the

windows are often open, making it impossible to ignore the disruptive noise of the rallies. Even

with the windows closed, Miller found it impossible to concentrate and was frequently too

distracted to stay in the studio—which he reported to the administration. He also needed an




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extension to complete his studio final because the outside evaluators could not access campus

during the encampment.

              vi.   Aryeh

       483.    Aryeh moved out of campus housing during the fall 2023 semester because her

former roommate posted vile antisemitic statements on social media. As she explained to Dean

Grinage in a November 7 email, she “no longer fe[lt] safe living in the same room” as her former

roommate. At first, Aryeh sought to move into different campus housing, but ultimately moved

off campus altogether and to the east side of Manhattan because of the hostile environment,

forcing her to incur additional costs. Aryeh stopped wearing a necklace that has her Hebrew

name on it because of safety concerns.

       484.    Aryeh avoided campus after October 7 except to attend her classes. She did not

go to the libraries alone or social events outside of those hosted by Hillel and Chabad. She

participated in multiple clubs before October 7, but withdrew from all but Hillel and Chabad,

because of rampant antisemitism in student groups. She particularly avoided campus when

rallies were scheduled. She was selective about picking classes since October 7 to try to avoid

those with professors or students with histories of antisemitism. Her classes were disrupted

because of the antisemitic rallies on campus. For instance, on October 25, Columbia students

caused a campus-wide disruption by walking out of classes.

       485.    Aryeh’s last day on campus was April 18. She did not return to campus the

remainder of the spring 2024 semester except in connection with presenting her thesis and

graduation. On May 1, one day before Aryeh was to present her thesis, she received an email

from a Barnard administrator informing her that guests were no longer permitted to attend the

thesis presentations. Several of her family members were scheduled to attend but could not. On

May 13, during Aryeh’s graduation rehearsal on campus, she was so afraid of being harassed that


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she wore sunglasses and a hat and sat in the very back of the room. Aryeh’s university-wide

graduation was canceled. Her Barnard graduation was disrupted by pro-Palestinian students and

their guests. Aryeh was so upset, she left two hours early.

                vii.    Bellows

       486.       Bellows first year at Barnard has been severely impacted by antisemitism, both on

campus and in the residence hall. When she went to campus, she had to adjust her route so that

she would avoid walking by mobs with antisemitic chants and signs—a task which proved

incredibly difficult when Columbia limited access to specific gates. She could hear chants from

her classrooms which made it difficult to focus. She was similarly unable to concentrate in the

library because students were often handing out antisemitic fliers. The same happened in her

residence hall, where students would place fliers under her door and her neighbor had pro-

Palestine signs on her door, despite Barnard’s policy to remove such items. This was

particularly distressing because when Bellows hung hostage posters up on a bulletin board in her

residence hall, they were ripped down the next day. Bellows has avoided certain classes because

she does not feel comfortable being visibly Jewish in them, has concealed her Star of David

necklace since October 7, and has avoided speaking Hebrew on campus. Because her room

overlooked Broadway, Bellows could not sleep once the encampment started as she heard chants

throughout the night. After being accosted on campus during the encampment, she left New

York for nearly ten days and once she returned to New York, never set foot on campus. Because

of the antisemitism she experienced throughout her freshman year, she is considering

transferring.

                viii.   David

       487.       David’s educational opportunities are directly impacted by the TAU Program

being targeted by students and faculty. She is wary of sharing her participation in the program,


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and has been accosted in the past when she has. In particular, when students chanted “burn Tel

Aviv to the ground,” David felt unsafe because of her connection to Tel Aviv through the TAU

Program. While David was mourning the loss of a close friend, who was murdered at the Nova

Music Festival, she endured her classmates celebrating the attacks and their intimidating tactics,

as well as the lack of support from Columbia, which did not uniformly afford accommodations

until the university switched to remote learning.

       488.    David missed two classes following October 7 and struggled to go otherwise.

There were disruptive rallies that she could often hear from her classrooms, walkouts in the

spring 2024 semester that affected her classes, and inflammatory anti-Israel fliers plastered

around campus. Yet when she put up posters and balloons around the Butler Library lawn area

to celebrate the ninth birthday of an Israeli taken hostage by Hamas, Public Safety took them

down and threw them in the garbage within an hour. David has, at times, concealed her Star of

David necklace and hostage tags out of fear, including once when she had to be near the

encampment and thought she would be harassed. She has avoided campus spaces, like the

libraries, at times, and stopped going altogether when the encampment began. Rather than attend

one of her labs via Zoom, David was given pre-recorded lab sessions, which is not an adequate

substitute for what should have been a hands-on learning environment.

              ix.    Doe

       489.    Almost immediately after stepping foot on Columbia’s campus, Doe was made to

feel unwelcome because he is Jewish. Doe had his kippah ripped off his head and his mezuzah

stolen from his dormitory room.

       490.    Doe’s experiences with antisemitism persisted in the spring 2024 semester. On

January 16, there was a rally on campus and he could hear chants of “there is only one solution,

Intifada revolution” from his Literature Humanities class in Lerner Hall. At first, Professor


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Kastleman instructed the class to ignore the noise from the rally. Two students then began

leaving the class. When Professor Kastleman asked why they were leaving, they said to join the

rally, to which Professor Kastleman replied, “please be safe.” Those students did not face any

repercussions for leaving class that day, even though Professor Kastleman had a strict policy

surrounding absences. Previously, when Doe needed to miss class, he was required to provide a

doctor’s note.

       491.      In the spring 2024 semester, Doe was enrolled in Race, Climate Change, and

Environmental Justice with Professor Hadeel Assali and teaching assistant Casey Brayton.

Assali signed the October 15 letter expressing “unwavering solidarity” with Professor Massad in

response to backlash for Massad’s open celebration of Hamas’s October 7 attack. On March 22,

Assali and Brayton canceled class to accommodate participation in a citywide anti-Israel rally.

On April 15, Professor Assali cancelled class and encouraged students to attend a “shutdown for

Palestine” rally, writing, “If you can, try to join a protest.” On April 20, Brayton posted on

Canvas (a learning management software utilized by colleges and universities) that class

discussions would be moved off “CU internet resources” to Signal, an ephemeral messaging

application that SJP had encouraged students to use to evade surveillance by Columbia while

organizing unauthorized rallies. In addition, the Canvas post stated that the next class would be

held at an alternative location, such as the encampment or Riverside Park or Morningside Park.

Once the Signal chat was created, it was used to circulate information about off-campus class

gatherings, organize support for the encampment, and collect signatures for a letter condemning

the NYPD’s presence on campus. Assali and Brayton were both participants in the Signal chat.

On April 21, Doe inquired about a Zoom option for class the following day to accommodate for

Passover. Assali informed him that a virtual option might be unavailable, and she might cancel




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class and have a small gathering instead. The class did gather at Professor Assali’s apartment on

April 22 with no accommodation for Doe who could not participate because of his religious

observance. In the email providing the details for this gathering, Brayton reminded the class to

join the Signal group as “[they] would prefer not to use campus resources.” On April 28, Assali

canceled the remaining two classes of the semester.

       492.    The encampment created unique challenges to Doe’s ability to observe his

religion. Doe could not access the only kosher dining hall at Columbia, located on Barnard’s

campus, because he is not a Barnard student and had to get his meals from the Kraft Center or

otherwise spend his own money to be able keep kosher. Indeed, on April 26, Doe attempted to

access the Barnard kosher dining hall but was not permitted inside. Doe spent his own money on

kosher food during the final two weeks of the spring 2024 semester and had many unused meal

swipes. On May 10, Doe was returning to his dormitory to prepare for Shabbat services when a

Public Safety officer demanded Doe scan his CUID to access campus. Doe asked the officer to

scan it for him, explaining that he could not use the scanner on Shabbat. When he returned later

that evening, Doe had the same problem with a different Public Safety officer. Doe repeatedly

requested the Public Safety officer scan Doe’s CUID for him, but the officer said that it was

Doe’s job and threatened Doe that he would not be able to get into campus if he did not scan his

own CUID. Fearful of the consequences, Doe scanned his CUID himself, breaking Shabbat. On

May 11, Doe emailed COO Holloway, cc’ing Dean of Religious Life Ian Rottenberg, and on

May 17, Doe received a response from Dean Rottenberg merely thanking Doe for bringing the

issue to Columbia’s attention.

       493.    In addition to these challenges, Doe was severely harassed at the time of the

encampment. He was stalked and called a “fucking Jew,” “kike,” and “Zionist pig,” among




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other things. Doe frequently stayed at a friend’s at The Jewish Theological Seminary rather than

his own dormitory on the main campus, and after the Hamilton Hall takeover, he stayed with a

friend for the remainder of the semester. Since October 7, Doe would check social media posts

and group chats to learn about rallies so he knew to take alternative routes to avoid them. Doe

was afraid of his dormitory, the libraries, and the dining halls. The only places Doe felt

relatively safe at Columbia were Chabad, the Kraft Center, and The Jewish Theological

Seminary.

       494.    Following the fall 2023 semester, Doe was unsure if he would return to campus

for the spring semester. He spoke with his academic dean about the possibility of transferring,

but felt optimistic that there would be meaningful change after Columbia’s deans released a

statement on December 20. Unfortunately, Doe’s optimism was short-lived, as Doe’s spring

semester was clouded by yet more antisemitism, including being stalked and called antisemitic

slurs. He has applied to transfer into the TAU and GS dual degree program. If his application is

not accepted, Doe will likely seek to transfer to be a full-time student at TAU.

               x.    Droznik

       495.    Because of the harassment on campus, Droznik has avoided the gym, the library,

and the dining hall—as a low-income student, she relied on her meal plan to eat. She has been

unable to complete assignments on time and has needed extensions for nearly all of her

assignments. She has been generally fearful of walking on campus, and is uncomfortable with a

Zoom alternative since it would reveal her Jewish identity. She also remains traumatized by the

incident on the evening of April 21 when she was surrounded by students and other occupiers

and pushed away from the encampment, thinking about it near-daily since it happened.




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               xi.    Elkins

        496.    Elkins’ educational opportunities are directly impacted by the TAU Program

being targeted by students and faculty. The vitriol directed at and frequent calls to end his

program has upended his educational experience. Chants calling for Tel Aviv to burn to the

ground have particularly concerned Elkins because such an action would result in the death of

scores of civilians, including those in his program at TAU. Elkins has sometimes avoided

campus because of the discrimination he faced during the October 12 rally. Rather than study on

campus, Elkins would typically go home to his apartment instead. Since the encampment began,

these rallies have also been disruptive. Elkins had a class in Hamilton Hall in the spring 2024

semester which was often disrupted by chants from the encampment.

               xii.   Friedman

        497.    In the wake of October 7, three hostage posters were hung up on the bulletin

board in the entrance of the Mudd Building. On October 11, Friedman was exiting the building

when he saw a woman walk in, scoff, tear a row of fliers of these posters off the wall, and

crumple them up. Following this incident, Friedman no longer felt safe wearing a kippah and for

months, wore a hat on top to cover it while on campus. That same day, October 11, Friedman

went to study in Butler Library. He saw students hanging hostage posters when he walked in,

but noticed that the posters had been torn down when he left the library two hours later. That

evening, he learned that an Israeli student was beaten with a stick by another student while

hanging hostage posters by the library that evening. Friedman did not return to study in the

library for the rest of the semester as he no longer felt safe there.

        498.    Time-sensitive changes to Friedman’s coursework were announced during

Passover, while he was unable to access the internet. Friedman was scheduled to take his

Operating Systems final on May 7 in-person. When Columbia switched to remote finals, the


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professor canceled it altogether as he felt it would be too difficult to monitor cheating. As a

result, the weight of the other assignments for the class was redistributed. Friedman hoped to use

the final as an opportunity to improve his grade, and he had been working hard to prepare.

Friedman lost that opportunity, and his grade suffered.

              xiii.   Gal

       499.     Prior to October 7, Gal regularly utilized campus facilities, including libraries,

dining halls, and medical services. However, after October 7, Gal ceased using Columbia’s

medical services because she no longer felt safe on campus. She also avoided attending classes

and accessing other campus facilities. Many of Gal’s classes have been disrupted by rallies, with

chants making it impossible for her to concentrate or focus on exams. Gal could not enroll in

certain literature or humanities courses because the professors or classroom environment made

those classes hostile for Jewish and Israeli students. Since enrolling at GS, Gal has felt isolated

from her classmates, a feeling exacerbated by Hamas’s terrorist attack. She avoided Butler

Library and concealed her Israeli identity on campus out of fear that speaking Hebrew with

friends or family would make her a target. As a veteran of the IDF, Gal was particularly

distressed when students and faculty called for the removal of the “IOF” from campus. With

most of her family and friends still residing in Israel, including her sister and several cousins

who are currently serving in the IDF, Gal felt especially threatened by rhetoric such as “Brick by

Brick Israel will fall” and “Kill another soldier now,” as these statements applied to her own

family members.

              xiv.    Glaser

       500.     During the fall 2023 semester, Glaser took a class concerning civil rights and civil

liberties with a professor who had a connection to TAU’s Law School. During one class, the

professor made a statement about the atrocities Hamas committed on October 7, calling Hamas


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terrorists and the acts they committed “abhorrent.” Glaser immediately found herself surrounded

by classmates laughing and whispering in response to their professor’s statement.

       501.    During fall 2023, Glaser spent most days in her apartment, terrified to leave. For

example, one rally fell on a Friday right before Shabbat began and before she left her apartment.

Since she does not use electronics like her cell phone on Shabbat, she found it particularly

difficult to walk around without being able to pick up the phone and call for help.

       502.    When Glaser registered for classes for the spring 2024 semester, as she had done

in other semesters, she was forced to confirm that certain professors and classes would be safe

for her as a Jewish student. For example, Glaser wanted to take a class, but when she noticed the

class description referred to Israel as “the occupied territories,” she did not enroll.

       503.    Throughout fall 2023 and spring 2024 semesters, Glaser’s time studying in the

library and her classes were interrupted by agitators chanting on Columbia’s campus. She also

struggled to sleep at night, which made studying and going to class even more exhausting and

unbearable. She was often forced to adjust her routes to, from, and on campus to avoid rallies.

But avoiding the agitators off campus was no easier as outside agitators had also taken over the

sidewalks surrounding campus. After the encampment was erected, she avoided campus. For

the first time in her life, Glaser concealed her Jewish identity, often covering up clothing

identifying her as Jewish and hiding her Star of David necklace.

              xv.    Gross

       504.    In the days following October 7, the CUIMC campus became increasingly hostile

for Jews. Gross, whose friends were murdered in Hamas’s attack, helped organize a small vigil

at CUIMC. After a photo of Gross crying and holding an Israeli flag was posted to social media,




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he received hateful, antisemitic messages, calling him a “murderer,” “filthy Jew,” and “Nazi,” as

well as death threats.

       505.    On October 12, Gross wrote an email to the School of Nursing deans and other

administrators, explaining that he did not feel safe at CUIMC, and found the antisemitism on his

campus deeply distressing. Gross asked how Columbia planned to keep its Jewish students safe,

but never received a response. He separately heard from his program director that she would

pass his concerns along to the deans of the nursing school. As antisemitism escalated at CUIMC,

he continued emailing his program director, who repeatedly told him she would pass his

concerns along.

       506.    Gross did not feel safe going to class because of the hostile environment on

campus and the lack of a response from the administration. CUIMC became so unbearable that

he left New York during November and December 2023, but was forced to return in January

2024, when Columbia removed the remote option for all medical programs. When he told his

program director he left the state, she merely put him in contact with the school’s social worker.

When Gross met with the social worker, she dismissed his concerns by claiming that he was “the

only Jewish student who has complained.” Yet Gross knows that several of his Jewish

classmates have also complained to the administration about antisemitism on campus. In fact,

multiple Jewish students have been told by various members of Columbia’s administration that

they are the only ones feeling unsafe, a fact admitted by Columbia’s Task Force in a May 16,

2024 op-ed in the Columbia Spectator entitled “We hear you”: “[T]wo students in the same

program were each independently told that . . . nobody else had complained” about antisemitism.

When Gross reiterated his concerns, the social worker replied, “I’m sorry that’s your perception

of things, but we have to support all of our students.” The social worker Columbia referred




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Gross to dismissed his experiences with antisemitism yet emphasized she would never tolerate

people saying they wanted to lynch African Americans or yelling homophobic slurs.

       507.      After October 7, Gross repeatedly emailed Judy Wolfe, School of Nursing Senior

Associate Dean of Student Affairs, expressing his concerns with the campus environment, but

never received a response. On November 28, Gross finally met with Dean Wolfe but left the

meeting disappointed and discouraged. When he reiterated his concerns, Wolfe said, “I’m sorry

this is your experience.” Wolfe told him that she does not handle disciplinary procedures, and

referred him to the bias reporting procedures, which at that time, weeks after announcing the

Task Force, still did not include antisemitism as grounds for making a report. Indeed,

antisemitism did not become a reportable basis for bias reports until the beginning of the spring

2024 semester.

       508.      Gross’s experiences did not improve in the spring 2024 semester. There was an

influx of fliers in residential buildings and the main lecture building and continuous rallies.

Gross has continued to document and report incidents. On February 20, 2024, Gross met with

Dean Judy Honig and another administrator to discuss incorporating Jewish history and

education on antisemitism into the curriculum at the School of Nursing. Gross suggested

consulting with Jewish professors and organizations and recommended resources, but the

administrators failed to take these steps.

       509.      On March 27, Gross and another Jewish student, met with Dean Honig and

another administrator, to continue the discussion from the February 20 meeting. But Honig was

again dismissive of Gross’s concerns. For example, when Honig questioned why Jewish

students did not organize more Jewish events at CUIMC, Gross and his peer responded that

Jewish Columbia students feared harassment. Honig expressed disbelief of the legitimacy of




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their concerns, even after they detailed antisemitic incidents, claimed the issue is not

antisemitism, but a “lack of civility,” denied policies had been violated, invoked the pretextual

excuse of free speech, disclaimed Columbia’s ability to address antisemitism, and demanded

Gross and the other Jewish student provide proof of antisemitic incidents.

       510.    In response, on April 1, Gross emailed the administrators documentation of

antisemitic incidents, including a recording of a “teach-in” the night after their March 27

meeting, during which a student claimed terrorism isn’t a crime. Gross also attached a document

with evidence of several other incidents, including the December 6 “teach-in” at CSSW and the

January 24 “No Safety Without Divestment Rally.” Over one week later, on April 9, Dean

Honig responded copying Academic Affairs Coordinator Tina Holder who Honig said would

“coordinate a meeting to discuss possible next steps.” Gross, two other Jewish students, and

Holder then exchanged emails discussing availability for the meeting, but when Gross’s

classmates asked if they could bring a member of the Task Force, Holder never responded. The

meeting was never scheduled. On a separate email thread on April 19, Honig emailed Gross and

the other two Jewish students requesting they “redirect” their meeting back to its “original

purpose,” the “nursing curriculum.”

       511.    On April 20, Gross was on his way to CUIMC while wearing a Star of David

necklace. After October 7, Gross did not wear a Star of David publicly due to safety concerns,

yet he made an exception this day to connect with an Orthodox Jewish patient who was

hospitalized during Passover. Gross came across a rally by CUIMC, where students, including

his classmates, were chanting “long live the Intifada,” “there is only one solution, Intifada

revolution,” “from the River to the Sea,” “we don’t want no two states, we want all of it,” “down

with the Zionist state,” “we don’t want no Zionists here,” “Zionists off campus now,” and, in




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Arabic, “from the River to the Sea, Palestine will be Arab.” Fearful, Gross returned home, took

off the necklace, and then took an alternative route to campus.

       512.    On April 22, Gross emailed School of Nursing deans, faculty, and other

administrators, including Deans Wolfe and Honig, reporting this incident and expressing

concerns that there had been “many instances of violence and intimidation against Jewish

students since the encampment on the Morningside campus started, and it truthfully feels as

though no one cares.” Gross explained that the “impact of these incidents on the Jewish

community on campus is profound and terrifying,” as “Jewish students are too afraid to show up

on campus” or “contact their professors out of fear.” Gross again reported that he did “not feel

safe on any Columbia University campus or in any Columbia University classroom” and could

not “concentrate on any of [his] work or upcoming exams.” Gross also communicated disbelief

that campus conditions could worsen from the previous semester when he “had to complete last

semester remotely over 1,000 miles away,” and “the complete lack of acknowledgment of what

is occurring by administrators, deans, and professors.” Gross attached documentation of various

antisemitic incidents in the days before. Wolfe emailed Gross the next day offering a meeting.

When Gross responded on April 24 asking how this meeting would be different than his prior

meetings with administrators that had not led to any meaningful change, Wolfe did not respond.

       513.    Gross attended an April 30 “Glory to Our Martyrs” rally at CUIMC (advertised as

a “vigil”), risking his safety, because at the March 27 meeting, Dean Honig demanded Jewish

students prove they have been experiencing antisemitism. During the “vigil,” Gross observed

Professor Abdul Kayum Ahmed inciting disruption as he lamented that CUIMC was operational

while the main campus was shut down because of the Hamilton Hall takeover.




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       514.       On May 8, Gross’s professor asked in a remote clinical psychotherapy course if

anger can be helpful and stated the anti-Israel rallies as an example of how can anger can be used

constructively and rejected the notion that the rallies need to be peaceful. Disturbed by this,

Gross, the only Jewish Zionist in a class of just nine students, turned his camera off and was

unable to focus and learn the rest of the class.

                xvi.   Harnick

       515.       Harnick was frequently late to class because of the rallies. On April 17, he

noticed a large group of students marching around campus screaming for an “Intifada

revolution.” On April 18, he left campus early and missed class after he saw occupiers

screaming at visibly Jewish students that they supported genocide. Harnick became

uncomfortable in his classes as he feared confrontation. Later that day, Harnick and other Jewish

students were holding American and Israeli flags on campus when occupiers from the

encampment accosted them, yelling that they were “terrorists” and “supported genocide.” One

of Harnick’s friends was called a “Nazi.” While they were standing with the flags, an agitator,

with his face completely covered, stood in the faces of Harnick and his friends holding up a

Hamas flag. Harnick was frightened.

       516.       Harnick’s last day on campus was April 18. Once his classes were moved online,

office hours were canceled and his classes were no longer productive learning environments. He

also could not access campus, including the dining halls and libraries, which forced him to

change his typical study routine. His Computer Science final, which Harnick was relying on to

improve his grade, was canceled, along with two other finals. The remaining two finals were

made optional. Because he no longer feels safe on Columbia’s campus, he is considering

transferring.




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              xvii.   Kahane

       517.     Since October 7, Kahane has experienced antisemitism in classes. On December

4, 2023, students in Kahane’s poetry workshop class shared poems they had written for class.

For example, a poem by his classmate included such lines as “two men blurring the image of a

body’s cracked skull,” “the Gazans have been eaten it will become the fissure near her brow the

blood that seeps presenting here as the blood that continues to seep the poem must undo,” “the

poem must use both fists to convince its reader that this is not a poem and when I say place what

I really mean is Palestine and the stanza is the blood,” “do you feel it bleeding onto the cotton of

your white blouse you are now wearing the poem,” and “Palestine, for the poem you must keep

breathing.”

       518.     After this poem was shared and another poem was read, Kahane’s professor

stopped the class for a break. After the break Kahane read his poem to the class, a short haiku

poem written from the perspective of a hostage whose poster was ripped off a lamppost. The

poem ended with the line “I want to go home.” Kahane’s poem, which was written from the

point of view of a hostage in Gaza—not about Zionism or Judaism—triggered a charged

conversation, ultimately making him realize that as long as he expressed distress and sadness by

Hamas’s October 7 attack, he would be unable to learn in a classroom environment free of

discrimination or harassment. As is standard for the class, his professor asked him how he felt

after about ten minutes of discussion. Kahane responded that he felt incredibly hurt hearing the

chants “globalize the Intifada” or “fuck the Jews” as he walks around campus, or reading posters

that exclaim “Zionism is terrorism,” particularly because many of Kahane’s ancestors were

killed in the Holocaust, Kahane’s mother is from Israel, and at least two people he knew

personally were killed on October 7. A student interrupted him asking to speak as an anti-

Zionist and told Kahane his rhetoric is dangerous because it’s a “white supremacy” issue.


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       519.    Kahane, emotionally distressed, left the classroom and immediately returned to

his apartment where he sat depressed in darkness for hours before reaching out to a support

group of other Jewish students. Following this incident, he told his professor that he did not feel

safe in the classroom and would not be attending the last class session. Kahane met with his

professor to express his pain and fear for his safety in the classroom. A few days after this

incident, Kahane made a formal complaint with Columbia, detailing the incident and identifying

the students that harassed him, but did not hear back for at least ten days—after classes had

ended for the semester—at which point he received an automatic reply merely listing resources

available. Indeed, this incident was so severe that it prompted Kahane to take a leave of absence

from Columbia for the spring 2024 semester.

       520.    Kahane has experienced immense stress, anxiety, and depression because of the

antisemitic events at Columbia, causing him to lose sleep, have nightmares that he has been

forced to hide in an attic, and miss class. This has been compounded by the lack of support from

the administration. For example, Kahane has met with Dean Rosen-Metsch to express his

concerns but saw no changes implemented as a result. Kahane struggles to feel comfortable

speaking about his Jewish or Israeli identity and feels that Columbia has become a Hamas public

relations firm. Kahane has had to confirm his professors have not signed on to antisemitic letters

or openly supported antisemitic professors like Massad. Kahane’s grades have suffered since

October 7 and he has considered transferring but because he came to GS as a transfer student, he

cannot transfer again and is forced to stay at Columbia if he wants to obtain a college degree. He

ultimately took a leave of absence from Columbia and has not yet decided when he might return,

and in the interim, he has not found employment.




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            xviii.   Kesselman

         521.   Kesselman’s experiences with antisemitism at Columbia began a year before

October 7. In fall 2022, during Introduction to Power Race Oppression Privilege—a required

class for CSSW students—Professor Margarita Carlson often ignored Kesselman. For example,

when other students in the class shared their personal stories of intergenerational trauma or

experiences with racism, Carlson provided feedback and told the students they were “amazing”

or offered similar praise. Yet when Kesselman shared she was Jewish or told her own family

history, Carlson would simply ignore her and move on.

         522.   In spring 2023, Professor John Robertson played a video to Kesselman’s class of

a disability activist named Judith Heumann, whose family members had survived the Holocaust,

and who compared the Americans with Disabilities Act to the Emancipation Proclamation. On a

message board in the class, one classmate wrote that this comparison was very offensive because

a Jewish woman was appropriating the term Emancipation Proclamation, and he falsely claimed

that the Holocaust did not involve the sale of human beings or mass rape and exploitation. The

next class, during an argument about the Holocaust, that same classmate claimed that Jewish

people were instrumental and disproportionately impactful in the slave trade, had a massive

influence on slavery due to their wealth, and should be considered oppressors. When another

classmate responded and shared a story about her grandmother being enslaved in the Holocaust,

Robertson responded that it’s hard to conceptualize antisemitism these days “because we don’t

see it anymore.” Kesselman noted her disagreement, explaining that antisemitism does still

exist.

         523.   In the aftermath of October 7, Kesselman, who had friends and family murdered

in Hamas’s attack and other loved ones taken hostage into Gaza, struggled to focus on school

and requested extensions for nearly all of her assignments. On or around October 10, Kesselman


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returned to class. During that week’s class with Professor LaTasha Smith, Kesselman was still

grieving. This class typically began with “making space” for Kesselman and her classmates to

process and reflect, yet that week Professor Smith was away and the Live Support Specialist

Leah led the class. Leah did not address October 7. In a smaller breakout room, Kesselman

explained the emotional impact of October 7 to her classmates. When the breakout rooms joined

the larger class discussion to share what they had discussed, one of Kesselman’s classmates

explained that they talked about the atrocities in Israel, and that she thought it was important for

Kesselman to share what happened. Leah responded in essence, “um okay, it’s definitely

important, but before we get to that all the groups have to go.” After the groups finished sharing,

it was finally Kesselman’s turn to talk about October 7. However, before Leah let Kesselman

speak, she told the class “there are equally horrible things that happen in this country, and they

don’t get the same air time as other issues,” and there are “lots of things that happen around the

world.” After that, Kesselman gave a trigger warning—as she was required to do when sharing

about sensitive topics—that she would be discussing horrific events, and then explained that

Hamas terrorists invaded Israel, slaughtered civilians in their beds, and slaughtered babies in

their cribs. Leah interrupted to the effect of: “woah, woah, woah, Talia you’re using a lot of

really triggering, graphic language, the goal of this is to be in community with the class, we don’t

need the details, we can go on the news.”

       524.    On October 11, Kesselman received an email from Professor Smith asking her to

“touch base.” During their meeting the next day, Smith asked Kesselman how she was doing.

Kesselman explained she was struggling to focus on class while still grieving from Hamas’s

October 7 attack. Smith responded “yeah, that was clear, I watched the class.” Smith, a Black

woman, then told Kesselman that she “disrespected another Black woman” by interrupting Leah




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when she was speaking. When Kesselman asked Smith if she was as horrified about the 1,200

Israelis that were slaughtered on October 7, she looked away from the camera, crossed her arms,

and said in effect, “I am horrified and outraged and scared about a lot of things around the world,

there are a lot of things that scare me.” Kesselman followed up and asked why Smith did not say

the word “Jews.” Smith defensively responded, “why do you need me to say that? You can’t

make me say a thing that I don’t want to say,” and told Kesselman she was behaving

inappropriately. Because of Smith’s comments in their meeting, she dropped the class.

       525.    In the spring 2024 semester, Kesselman took a class with Professor Natacha

Jacques. During the first day of class, students had to agree to various “Community

Agreements,” which were guidelines about how to behave in the class. These included, “open-

mindedness toward all,” “be considerate and respectful towards each other,” “being respectful,

kind, and aware within the space,” and “respect different opinions.”

       526.    On February 26, Kesselman emailed Professor Jacques, “As someone who lost

friends and family in this conflict and has loved ones actively being held hostage in Gaza, the

constant reminders [Palestinian flags] of the conflict in our class are becoming increasingly

traumatic.”

       527.    On March 18, Jacques brought up the issue in class, but was immediately met

with extreme backlash. Students replied with comments such as “social work is incompatible

with Zionism,” and “I refuse to be in a class with people complicit in genocide.” However,

neither Jacques nor Kesselman received support from the class. Unable to remain in class,

Kesselman walked away from her computer and hid in her closet shaking until class ended.

       528.    On March 20, Kesselman emailed Ernst VanBergeijk, a student adviser, and Dean

Curtain about the incident. She explained that, when Professor Jacques tried to address the issue,




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“the class erupted and became extremely toxic and hostile, with students sharing that social work

students who support genocide should not be in this course/program, among many other hostile

Anti-Semitic comments and messages.” Kesselman explained that the situation was extremely

traumatizing, and that she was “shaking and crying for hours following the incident.” Because

of this incident, Kesselman requested to complete the course through independent study.

       529.     On March 25, Kesselman met with VanBergeijk. In response to Kesselman’s

request to complete the course through independent study, VanBergeijk suggested that she just

mute the class, not participate, and accept a lower grade to just “get through it.”

       530.     Kesselman’s mental health has suffered because of her experience at CSSW.

Throughout her two years, but particularly since October 7, she felt unsafe, targeted, and

traumatized as a Jewish Israeli student at Columbia. Given Columbia’s inability to take control

of its student body and the public criticism it has received, she is ashamed of her degree and

fears she will not be able to get a job with it. She considered transferring, but could not afford to

go to a different university, while also supporting her children.

              xix.   Mizrahi-Aks

       531.      In the days after October 7, Mizrahi-Aks learned that two of his cousins were

taken hostage by Hamas into Gaza. He immediately left New York to be with his family and did

not return until late October. He was disturbed by what he heard before he left New York, as he

was forced to listen to students proclaim, “it was a justified resistance” and the “rapes women

reported were fake” as he walked through campus to get to class.

       532.     On or around the beginning of April 2024, Mizrahi-Aks was walking to class

when he encountered a mob of students just outside the campus gates. As he needed to get to

class, he continued walking through the mob. Three individuals yelled, “get out kike” at him.

Mizrahi-Aks reported the incident to Public Safety, but did not receive a response. Mizrahi-Aks


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was wearing his Star of David necklace that day, but from that point on, he hid his Star of David

while walking around campus if there was a rally. Frightened by the encounter, he continued to

avoid coming to campus whenever possible, took longer routes to class to avoid the mob, and

even missed classes because of the mob’s presence.

       533.    On April 18, 2024, Mizrahi-Aks encountered the encampment for the first time.

He was shocked by what he saw: a student wearing a green headband resembling ones worn by

Hamas terrorists and another holding a Hamas flag. They were chanting, “burn Tel Aviv to the

ground” and “Intifada.” On or around this time, he was pushed several times, and was told,

“Zionist get out” and “get the fuck out of here” and some of his friends were told, “go back to

Poland.”

       534.    Mizrahi-Aks has experienced a decline in his mental health as a result of his

experience at Columbia since October 7, causing him to lose sleep and his ability to focus on

daily activities. He spent most of his sophomore year in his apartment avoiding campus. He

also stopped speaking Hebrew, as he would typically do with friends and family, while on

campus.

       535.    Mizrahi-Aks has had to confirm his professors have not signed on to antisemitic

letters or openly supported antisemitic professors. His grades have suffered since October 7, as

he could not participate in mandatory labs for his physics class during the fall 2023 and spring

2024 semesters, and could not study in the library because of the presence of students dressed up

as Hamas terrorists, fully covered except for their eyes. He has considered transferring but has

realized that to complete his degree on time he needs to remain at Columbia.

              xx.    Nauer

       536.    For the week after October 7, Nauer avoided going to campus as he was still

grieving the loss of friends who died during Hamas’s attack at the Nova Music Festival. A few


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weeks before October 7, Nauer and his classmates introduced themselves at the beginning of

their Public Speaking class. One student, Mohsen Mahdawi, introduced himself and, while

pointing at Nauer, told the class that his best friend was shot in the eye when they were five, that

his uncle was assassinated by an Israeli solider when he was eleven, and that he was shot in the

leg by an Israeli soldier when he was fifteen. Nauer reported the incident but did not receive a

response until months later. Because of this and because Nauer saw Mahdawi leading

antisemitic rallies on campus, Nauer stopped attending Public Speaking in person after October 7

and instead attended remotely. At the end of the fall 2023 semester, Nauer and his classmates

had to write a persuasive speech and debate with a partner in front of the class. For his debate,

Mahdawi and his partner spent forty-five minutes lecturing Nauer and his classmates on

boycotting Israel, telling them to stop buying Israeli products, and to kick out all Israelis.

       537.     Because of the antisemitism on campus, Nauer has had anxiety and trouble

sleeping. When in class, Nauer could sometimes hear chants calling for his death over his

professors, making it challenging to focus. He also felt like an outsider on his own campus when

students chanted that no Zionists should be allowed. His freshman year, Nauer started a group

for Israeli students at Columbia, which now has over 400 students. In the months following

October 7, Nauer and the group collected details of antisemitic harassment and incidents on

campus and helped students report it to the administration. Nauer would identify specific

students in his reports but still see them on campus weeks or months later.

              xxi.   Ami

       538.     Ami’s experience on campus has been severely impacted by the rampant

antisemitism. He has concealed his Jewish identity, removing his kippah when on campus.

Ami, who is an IDF veteran, could not focus on classwork when he heard his classmates

chanting, “death to Israel” and “we don’t want no Zionists here.” When Columbia closed its


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campus for the encampment, Ami, who lives off campus, could not access campus, including the

gym, libraries, and the kosher dining hall.

               xxii.   Gabe

        539.     As Gabe keeps kosher, he regularly ate in the only kosher dining hall at Columbia

University, which is on Barnard’s campus. One day in February 2024, he encountered a group

of people with bullhorns standing in a ring blocking access to the dining hall.

        540.     Gabe’s last day of the spring 2024 semester on campus was April 19. While he

initially planned to return to campus after Passover, he ultimately stayed at his parents’ house for

another week because he did not feel safe as long as Columbia permitted the occupiers in the

encampment. And while he normally studied regularly in the library, he studied for all of his

finals at his parents’ home.

        541.     Gabe had thoughts of transferring during his first semester, but decided against it,

as he was optimistic that conditions would improve on campus and placed value on the education

he was receiving from Columbia. However, he quickly realized upon returning to campus for his

second semester that things had gotten increasingly hostile. While he had been excited to join

clubs such as intramural soccer during his second semester, the increased number of rallies

around campus led Gabe to decide not to join any clubs out of concern for his safety. The

encampment exacerbated these concerns, and he is now strongly considering transferring. He

has put in transfer applications at other institutions.

            xxiii.     Molly

        542.     Molly’s academic environment has been impacted by the antisemitic events and

posters calling for violence at Barnard since October 7. She reported the posters to the

administration, but they were never taken down. In or around November 2023, Molly, who for




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three years studied in Milstein Library, was no longer comfortable studying there because of the

harassment Jewish students faced in the library.

       543.    Molly avoided campus during the encampment until May 2, when she was

required to present her thesis. Traditionally, Barnard invites the students’ families to these

presentations but because of the encampment, Barnard did not allow any guests. On May 14,

Molly attended her Phi Beta Kappa induction at Barnard. Senior Class Dean Rebecca Grabiner

chose Barnard Professor Manu Karuka as the keynote speaker to speak about W.E.B. Du Bois.

A few weeks earlier, Karuka was guarding an entrance to the encampment and was seen with

agitators in front of Hamilton Hall the night it was occupied. Rather than speaking about Du

Bois, Karuka’s speech focused on Gaza, with no mention of October 7, Hamas’s violence, or the

hostages. Karuka received snaps of approval throughout his speech and a round of applause at

the end from both students and faculty, including President Rosenbury. After the ceremony,

President Rosenbury sent the students an email that stated, in part, she was “sorry” the “room

was obviously divided” during such a “special day,” but that Barnard does not review speeches

by faculty, and she respected Professor Karuka’s right to express his own views and “especially

his right to criticize Barnard and Columbia’s actions.”

            xxiv.    Nock

       544.    Nock’s courses have been contaminated by rampant antisemitism before and

following October 7. In fall 2023, his Foundation of Public Health required course was taught

by Assistant Professor Abdul Kayum Ahmed, who, in 2019, told an auditorium full of high

school students during a presentation that there is “fluidity between those who are victims

becoming perpetrators” as shown by “Jews who suffered in the Holocaust and established the

State of Israel . . . perpetuat[ing] violence against Palestinians that [is] unthinkable.” Ahmed

also signed the October 30 letter defending the student groups’ joint statement that justified the


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October 7 terrorist attack, and this year, published “A is for Amandla: The ABC Guide for

Young Revolutionaries [and their parents],” the cover of which depicts children holding signs

that say “no justice no peace” and “decolonize this place” in front of a banner that reads “free

Palestine.” Ahmed exploited his position as a core curriculum professor to teach a false narrative

that justifies violence against Jews and Israelis to approximately 420 first-year graduate students.

       545.    In early September 2023, Professor Ahmed led the students in a call-and-response

chant, which was filmed by the teaching assistants, during which he yelled, “What do we want?”;

the students responded, “Justice!”; Professor Ahmed then yelled, “If we don’t get it?”; and the

students responded, “Shut it down!” The exercise made Nock feel uncomfortable and different

and reminded him of Nazi Germany. During that semester, Ahmed taught that Israel was a

colonial state and claimed that (i) the School of Public Health should not be named after Joseph

L. Mailman (a Jewish philanthropist who helped Jews escape Nazi Germany), and (ii) the

building that houses the school should not be named after Armand Hammer (a Jewish

philanthropist and Nobel Peace Prize nominee), because all they have done is give Columbia

“blood money.”

       546.    During an October 10 event hosted by Mailman School of Public Health Dean

Linda P. Fried, Ahmed redirected a discussion around Indigenous Peoples’ Day to broadcast his

narrative of Israel as a colonizer. Nock walked out of the event. On December 10, Nock shared

his concerns about Professor Ahmed’s “many biased and unprofessional actions” in an email to

Dean Fried, as well as to various other administrators.

       547.    Nock’s required General Public Health program in the fall 2023 semester was

similarly co-opted by Professor Rachel T. Moresky as a platform to spread propaganda. For

example, Moresky assigned a biased reading ahead of a lecture that falsely blamed Israel for the




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Al-Ahli Hospital explosion well after it was proven that a misfired rocket from Gaza caused the

explosion. Nock reported his concerns about Moresky’s lectures in his December 10 emails to

Dean Fried and others.

       548.    On March 8, 2024, the Wall Street Journal published an article entitled “Some

Columbia Professors Accused of Pro-Palestinian Indoctrination” that featured concerns about

Ahmed, including a quote from Nock that “[Ahmed] puts the idea into everyone’s head that the

Jews stole the land and it should belong to the indigenous people.” Ahmed was quoted in the

article responding to students, like Nock, who criticize him, stating, “a handful of privileged,

white students, who have probably never been confronted by a framework that challenges them

to think critically about the benefits they derived from the system of white supremacy,

patriarchy, and capitalism.” After seeing the published article, Nock felt personally attacked by

Ahmed since his father survived the Holocaust and engrained in Nock how dangerous

justifications—such as that Jews are privileged, white supremacists—perpetuate hate for Jews

solely because they are Jewish and lead to horrific attacks on Jewish people such as October 7.

       549.    Since October 7, Nock only uses a back entrance to CUIMC because of frequent

rallies held near the main entrance that make him feel unsafe. Nock has avoided campus and

missed classes due to safety concerns. He also avoids certain courses and has withdrawn from

others because he no longer feels safe at the main campus. In the spring 2024 semester, Nock

wanted to take French and coding classes, but dropped them after registering because they were

located on Columbia’s main campus. Instead, he chose different classes, including a math class,

even though he did not have background on the subjects. Yet Nock was still unable to focus on

his coursework because of the increasingly hostile environment at Columbia and fell

dramatically behind on his schoolwork, ultimately forcing him to take an incomplete in at least




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one class. Because he has been unable to take classes in his program, Nock’s graduation date

has been delayed by at least one full semester.

       550.     On May 7, Nock emailed Director of Student Support at the Mailman School of

Public Health Meurcie K. Zignoli summarizing his experiences at Columbia, including the

antisemitism in his fall 2023 classes. He recounted how he “told [his] classmates, [his]

professors, [his] advisors, [his] deans, [his] medical center administration and [his] University

Administration about the hate that was being perpetrated in our classrooms. AND NOTHING

HAPPENED!” Nock also explained that because he had not received responses from the

administration to previous reports he made, he understood their silence as a refusal to take action

and internally make substantive changes. In the email, Nock reported that he intends to take a

leave of absence and plans to take his remaining credits “at a time and place in which [he] feel[s]

safe.” He also told Zignoli how he “let advisors and deans know that [he] was not doing ok for

months,” and wrote: “So let me be clear: I need help. The racist environment created at

Columbia is deleterious to my emotional, mental, and likely physical health.”

              xxv.   Quinn

       551.     Quinn is a member of Sigma Delta Tau and on the sorority’s Standards Board,

which evaluates discipline or action taken against other sorority sisters. In or around the first

week of April 2024, one sorority sister had posted to her Instagram a screenshot of another

sorority sister’s pro-Israel story and wrote, “u fucking IDIOT USE UR HEAAAD.” Three

members of the Standards Board, which constituted a majority, voted that the Instagram post was

not antisemitic and not a personal attack on the pro-Israel student.

       552.     Quinn’s academic experience has been impacted by antisemitism since her

freshman year. When she was registering for classes, Quinn had to adjust her schedule to avoid

classes with antisemitic professors or syllabi—even classes that were part of her sociology


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major. During her sophomore year, she mentioned Israel in class but was met with silence from

her classmates and her professor changed the topic. After October 7, Quinn became more

apprehensive when she registered for classes as she worried professors and classmates would

discriminate against her for being Jewish. By November 2023, Quinn did not feel safe studying

in the library and avoided campus when possible. When she was on campus for class, she

adjusted her route to avoid rallies but because she could hear the rallies from some of her

classrooms, it was often difficult to focus. Her classes were also disrupted by her classmates

who would leave class to attend rallies. For example, during one rally, approximately half of

Quinn’s class left class to participate in a pro-Palestine walkout.

       553.    Because Quinn found her academic environment incredibly hostile, she added

additional classes to her spring 2024 schedule to take enough credits to graduate and leave

Columbia’s campus early. In her Global Activism course, Quinn was one out of only fourteen

students in the class. Students in the class often shared their support of Palestine, called Israel an

“apartheid state,” and the professor distributed readings that used Israel as an example of

colonialism. During one class, Quinn expressed that in her view, Israel cannot agree to a

ceasefire without Hamas’s commitment to do the same and that the lives of both those in Israel

and Gaza should be valued equally. Her classmates were initially quiet but then started laughing

at her. Her professor, who was silent when classmates shared support for Palestine, immediately

changed the topic. Quinn was particularly distraught by this experience because at the beginning

of the semester the class was required to sign a “community agreement” which, in part, stated

classmates would demonstrate kindness, consideration, and respect in the classroom. Because of

her classmates’ and professor’s reaction, Quinn felt even more uncomfortable being Jewish in

the classroom and removed the dog tag necklace she wore in honor of the hostages held in Gaza.




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       554.    On April 23, the same professor emailed the class: “I condemn the recent actions

of the Barnard and Columbia administrations, including the arrests, suspensions, and evictions of

students, and I offer my unwavering support and solidarity to each and every one of you,

especially those of you engaged in acts of protest.” He also changed the remaining assignments,

allowing students to give presentations on recent campus events instead of their final paper

topics and shortened the minimum final paper length since current events were “scrambling”

students’ work schedules. While he was open to extensions, he “really [did] not recommend

asking for more time.”

           xxvi.    Rabban

       555.    In the weeks after October 7, Rabban reached out to Barnard’s Rosemary F.

Furman Counseling Center, yet did not receive support because therapists were “backed up.”

Prior to October 7, Rabban felt connected to and accepted by her sorority sisters in Sigma Delta

Tau. But following Hamas’s terrorist attack, a member of the board blocked all Jewish members

on Instagram, one Jewish member was called a “fucking IDIOT” on Instagram, and others have

consistently posted antisemitic content and promoted SJP’s posts. The sorority’s DEI chair

organized a “safe space” event in October with separate designated times for Jewish and non-

Jewish members, further isolating Rabban and her Jewish sorority members. Her sorority holds

monthly DEI events for minority groups other than Jews.

       556.    Despite her stellar academic record, Rabban has missed many classes because she

was forced to avoid campus during the near-daily rallies. Her grades have also suffered,

receiving the lowest grades in her entire academic career because she could not concentrate in

class, where she could hear her classmates protesting, or study on campus in the libraries. In

fact, in December 2023, Rabban elected to defer a physics exam until January so she could study




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during winter break. Because of the encampment, Rabban took an incomplete in her research

class for spring 2024.

       557.    Rabban has been forced to hide her Jewish identity, concealing her Star of David

necklace during rallies on campus, and no longer discloses that her father is Israeli. She has had

to avoid taking classes in departments such as Sociology, Anthropology, and the Women’s,

Gender, and Sexuality Studies department, despite Barnard’s reputation for being a women’s

college. For example, Rabban wanted to take a class called Intersectional Feminisms but chose

not to after the professor spoke of genocide in Palestine. Rabban was also confused to see the

syllabus focused on colonialism, not feminism. When Rabban’s friend met with this professor to

express frustration that there were no other viewpoints on the syllabus, the professor told her

friend, “there was one piece written by a Jew.”

           xxvii.    Roe

       558.    Even though Roe lived off campus, she was close enough that she could hear the

rallies on campus, particularly during the encampment, which made it impossible to sleep or

focus. On campus, she had to constantly walk by violent, hostile, and aggressive antisemitic

protests where agitators chanted antisemitic rhetoric. Because of the environment, she was

incredibly anxious and would often arrive late or miss class and avoid campus. When she was

on campus, she regularly experienced panic attacks. She also sustained an injury to her knee

when she was assaulted by a student during the encampment. The leg was unable to support her

weight for weeks and caused immense pain.

       559.    Roe is an observant Jew who has been asked by faculty multiple times to

compromise her religious practices. In the spring 2024 semester, Roe’s class took her and her

classmates to Berlin, Germany for research on their senior thesis project. Roe told the

department in advance that she would be unable to travel on Saturday as she observes Shabbat.


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But a few weeks before the trip, Roe’s department announced that it had put the class on a

Saturday flight. Roe reiterated she was unable to travel with the group on Saturday. Roe was

forced to change her flight to Friday and pay the change fee and for her hotel on Friday night.

       560.    That same semester, Roe’s teaching assistant scheduled her final presentation on

Passover. When Roe told her teaching assistant she would be unable to attend, her teaching

assistant threatened to give Roe a failing grade for the class. After notifying the professor, Roe

was ultimately able to move her presentation, but was required to present on Zoom. Around the

same time, Roe was told she would have to install her final art project on a Saturday. Since the

installation required using power tools, Roe explained she would be unable to participate.

Despite her protest, Roe was forced to attend or face severe academic consequences. Roe

ultimately attended on Saturday as it was the only time the curator—a mandatory aspect of the

final—was scheduled to come in.

          xxviii.      Rukeyser

       561.    The week after October 7, Rukeyser met with her Cultural Psychology professor,

Karen Seeley, regarding her senior thesis. Professor Seely had asked the students in the class to

select an aspect of their culture and write about it. Rukeyser went into the meeting eager to share

that she wanted to write about Judaism, but the professor shut her down and said, “Judaism is a

religion, not really a culture.” On October 30, Seeley signed the “Open Letter from Columbia

University and Barnard College Faculty in Defense of Robust Debate About the History of the

War in Israel/Gaza.”

       562.    In November, Rukeyser was in her Shakespeare and Performance class when the

other students in the class arranged a walkout. Ten students stood up and left the class, and only

Rukeyser, the professor, and one other student remained.




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       563.    Post-October 7, Rukeyser encountered rallies nearly every day while walking on

campus. She would regularly hear chants of “resistance by any means necessary,” “from the

River to the Sea,” and “globalize the Intifada.” She also saw posters all over campus, saying

things such as “resistance is justified when people are occupied” and “intifada.”

       564.    Feeling the stress and unease of everything that was happening around her on

campus, Rukeyser hoped that she could seek refuge in the quiet of her own residence hall.

Unfortunately, that was not the case. The elevator in Rukeyser’s residence hall had posters for

several days after October 7 saying things such as “Israel bombs, Columbia pays.”

       565.    Rukeyser had three roommates in her residence hall this year, with each of them

having their own, separate bedroom and a shared common space. She had been friends with

these students previously, and they all knew she was Jewish and a Zionist. Things became tense

between Rukeyser and two of her roommates in the wake of October 7, as they would regularly

attend rallies, openly supported SJP, and were hostile to Rukeyser. When Rukeyser sought to

initiate a conversation with one of her roommates about how these things were affecting her, the

roommate blocked her on social media and told Rukeyser that she “wasn’t antisemitic,” she was

“anti-Zionist.” In total, Rukeyser slept in her residence hall for only ten nights the entire year

after October 7, often staying at her boyfriend’s apartment or her parents’ home instead.

       566.    On May 1, at about 5:00 p.m., one of her roommates was loudly discussing the

war in Israel and Gaza and said that “Israel was supporting a genocide” in their shared kitchen

space, despite Rukeyser’s repeated requests throughout the year not to discuss the topic in their

shared spaces. Rukeyser went into the kitchen to fill up her water bottle, and calmly stated that

“Hamas is wrong for murdering, raping, and abducting 1,200 Jews.” The roommate immediately

became aggressive, screamed at her that she was a “genocide supporter,” and then lunged at her.




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Rukeyser ran and closed the door to her bedroom, and the roommate continued to scream things

like, “do not fuck with me,” and banged on her bedroom door. Rukeyser called Community

Accountability, Response, and Emergency Services to report the incident, and they offered to

move her to another suite that evening. She also called the Title IX emergency line, and emailed

the dean and the Title IX office about the incident.

       567.    Rukeyser ended up filing a complaint against her roommate on May 2, and she

followed up on May 6 as she had not received an update as to the status of her complaint. Once

again, she was offered a room change and was provided information on counseling services, but

was not given an update on the status of her investigation nor was any immediate action taken

against the roommate. Given that she was dealing with the stress of finals, Rukeyser elected not

to move and instead slept in her boyfriend’s apartment during that time. She ultimately met with

the Title IX office on May 17, two days after graduation. They informed her that since she had

graduated, a no-contact order was not a viable option. Nothing happened to either of her

roommates, and they graduated with clean records.

            xxix.    Ruttenberg

       568.    Shortly after October 7, the doors in Ruttenberg’s residence hall were covered

with fliers and stickers including “never give up until Palestine is free,” “glory to our martyrs!!,”

“long live the resistance!,” “we are all Palestinian,” “intifada intifada intifada intifada,” “Zionism

is terrorism,” “Fuck the occupation,” “anti-zionism is not anti-semitism,” “every time media lies

a neighborhood in Gaza dies,” and “Zionism is terrorism.”

       569.    On February 1, 2024, Ruttenberg met with Dean Grinage, and told her the posters

plastered on Barnard residence hall doors, including a poster of a blue and white skunk with an

Israeli flag imprinted on it, made her feel unsafe as a Jewish student at Barnard. Dean Grinage

said she would “look into it.” On February 13, Ruttenberg met with her resident assistant about


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fliers on doors in her hallway and her resident assistant submitted a report on her behalf. After

receiving an email from her on February 14, Ruttenberg met with Elizabeth Scott Francis,

Barnard’s Executive Director for Outreach and Response & Title IX Coordinator, on February

19, and four days later, on February 23, Barnard published a door policy stating, “we are asking

everyone to remove any items affixed to your room and/or suite doors (e.g. dry-erase boards,

decorations, messaging) by Wednesday, February 28 at noon.” Yet this policy was ineffective;

decorations would be removed and placed in a bag on the door handle but the decorations would

return on the door by the next day.

       570.    On April 19, Ruttenberg returned to her residence hall to find a poster that read

“ceasefire now” on her roommate’s wall and a list of chants being used at the encampment,

including “brick by brick wall by wall / apartheid states will have to fall,” “we demand liberation

/ end the zionist occupation,” and “fight the power, turn the tide / end israeli apartheid.” No

longer feeling safe, Ruttenberg asked the Office of Residence Life to switch residence halls. But

Ruttenberg was unable to sleep in her new room which faced Broadway because she could hear

chants from the encampment at all hours of the night.

       571.    On April 22, Ruttenberg’s professor canceled the class’s final presentations,

which were supposed to be held via Zoom, and offered to meet with students in a park on

Riverside Drive instead. Her professor wrote that class was canceled because campus was

experiencing a moment of “historic turmoil” and that some were “close to the conflict in

Palestine” and some close to the “conflicts on campus.” Ruttenberg met with Danielle-Hope

Hayden, Barnard’s Senior Associate Director of Nondiscrimination and Title IX, a few days later

about this email and Barnard’s failure to respond to antisemitism on its campus. At the meeting,

Hayden did not offer any actions Barnard would take to make campus safe other than offering




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accommodations—after the semester was essentially over—and that Hayden would “keep [the

situation] in mind.”

       572.     Because of the harassment and intimidation on campus, Ruttenberg started seeing

a therapist. However, Ruttenberg did not feel comfortable meeting with a Barnard affiliated

therapist because on March 7, Barnard shared on its Instagram a post from the Barnard Health

Center which read, in part, “if you were impacted by the January 19th spray incident on campus

(for example, incurring costs for clothing, cleaning supplies, health follow up, etc.), please come

to one of the open-hours care packages of health and wellness items and support from Health &

Wellness Staff.” This was in reference to the purported “chemical attack” on January 19. After

seeing this, Ruttenberg did not feel safe talking to Barnard counselors about her safety on

campus as a Jewish student, as Jewish students were not offered care packages in the aftermath

of October 7 or any other day.

              xxx.     Sandler

       573.     In the days following October 7, Sandler’s classmates justified Hamas’s October

7 attack on social media. Because of the rallies on campus, with signs reading “by any means

necessary” and chants such as “we don’t want two states, we want all of it” and “death to

Zionists,” Sandler tried to avoid them. She was particularly uncomfortable knowing professors

participated in such rallies. Sandler sometimes avoided the libraries, where she had frequently

studied before October 7, because the rallies made it difficult to concentrate. On November 18,

2023, Sandler emailed President Shafik and Columbia University’s Board of Trustees “to

express [her] deep concerns about the recent incidents on campus that have significantly

impacted [her] experience both inside and outside of the classroom as a Jewish student.” Sandler

further shared that she “no longer feel[s] that Columbia is a place that celebrates inclusion and

diversity,” and “[t]he current situation has significantly affected [her] mental well-being, making


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it challenging to sleep, focus on [her] studies, and engage in campus life.” In particular, Sandler

emphasized that she was “scared to tell [her] classmates and professors that [she] is Jewish.”

Sandler did not receive a response. On December 11, 2023, Sandler was forced to walk through

bushes on Barnard’s campus to get to her office hours as a teaching assistant because of a rally.

The following day, Sandler met with an administrator and shared her concerns about and

experiences with antisemitism at Columbia.

       574.    For the spring 2024 semester, Sandler cross-referenced the October 30 faculty

open letter defending student groups for justifying Hamas’s October 7 terrorist attack before

registering for classes. That semester, Sandler shifted her teaching assistant office hours to an

earlier time of day when it would be less likely for there to be protest activity. On April 19,

Sandler’s advising dean emailed her because she learned that Sandler intended to return home

because of the encampment. The advising dean apologized Sandler was “going through a tough

time” and explained that if Sandler missed classes that had mandatory attendance, she would

have to inform her professors she was “dealing with an urgent matter,” request to attend classes

via Zoom, and if completing her finals on time “seem[ed] challenging,” Sandler would have to

“petition for an incomplete in the relevant classes,” which might affect her graduation date.

Sandler was incredulous that her advising dean failed to recognize the antisemitism and hostile

environment that made being on campus unsafe for Jewish students, instead framing it as

Sandler’s “urgent matter” and “tough time,” and that she suggested Sandler might have to take

incompletes in her classes because Columbia could not protect its Jewish students. Since

Sandler was expected to graduate in a few weeks, she did not want to take incompletes and be

forced to finish class work over the summer after graduation.




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       575.    Sandler ultimately returned home on April 20 and did not return to campus until

May 2 because she was uncomfortable by the encampment, as the noise made it difficult to

focus, and it created an unsafe and unsettling environment, including as a result of nonstudents

who were in the encampment even though they were not supposed to be permitted on campus.

Sandler was especially frustrated when she was in a dining hall and witnessed a student brazenly

filling a cardboard box with food to take to the encampment. During finals in the spring 2024

semester, Sandler could hear rallies from her dormitory targeting President Shafik’s residence,

which caused her to lose sleep. Sandler’s commencement was canceled.

           xxxi.    Stein

       576.    In the days following October 7, Stein, who wears a kippah, avoided campus.

Stein could hear rallies from his classroom throughout the year. During one final exam, Stein

struggled to focus over the “Intifada, Intifada” chants directly outside. Once the encampment

occupied the South Lawn, the antisemitic chants were near constant, so when in class, Stein

would close the classroom windows to minimize the noise.

           xxxii.   Swill

       577.    In or around the first week of November 2023, Swill was physically assaulted

near the Alma Mater statue in the center of Columbia’s campus. Swill was wearing his backpack

with a pin stating “Israel Always and Forever” when a man wearing a keffiyeh over his face

grabbed the pin, pulled Swill to the ground by his backpack, and said, standing over him, “fuck

you Zionist.” When he got home, Swill immediately removed the pin from his backpack and

never wore it on campus again.

       578.    Swill applied to Columbia University specifically intending to join the Bio-

Mechanics graduate program as Columbia University is one of the few universities offering the

program. When he arrived, he was told that the professor who taught the program was on


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sabbatical for an entire year. Swill switched to an entrepreneurship program rather than drop

out. In or around mid-October 2023, Swill was offered a Ph.D. position with a basis in Bio-

Mechanics, which would allow him to pursue his desired degree. He initially accepted the

position and began working on the degree. Yet Swill ultimately forewent the opportunity

because he could not stay at Columbia another six years due to the antisemitism he has

experienced.

       579.    During the encampment at the end of the semester, Swill still had final projects to

complete, including one in the Biomedical Engineering lab. But because the encampment forced

the closure of the entire campus, Swill was denied access to his lab. Swill went to the gate for

four days straight and each day he was told he could not enter, all while other students were

allowed entry. Swill was told to email Public Safety for access to campus. On May 1 and 2,

2024, Swill emailed and called Public Safety, who told him to go to the gates and that he would

be allowed on campus. Yet when he went to the gates, he was still denied entry. He continued

to call Public Safety and received inconsistent responses about his access to campus, with some

officers telling him there was nothing they could do and that even if he were allowed on campus,

no one was on campus who could open the lab. On May 3, Swill emailed the chair of the

Biomedical Engineering Department requesting access to campus. The chair forwarded Swill’s

email to the dean of the Engineering School, who eventually granted Swill access to campus on

May 4, 2024. Swill was denied access to campus from May 1 to May 4.

       580.    Swill is traumatized by the intimidation and harassment he has experienced at

Columbia, including being physically assaulted. In the days following October 7, Swill attended

a pro-Israel vigil when a professor walked through the group waving a Palestinian flag and

others around the group shouted, “free Palestine.” After this and hearing chants such as “we




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don’t want Zionists here” and “Intifada revolution” at the large October 12 rally on campus,

Swill felt too uncomfortable and opted to stay home the next week. Swill often avoided campus

during rallies and missed many classes, including some with critical in-person lab components.

On days when Swill had to go to campus, he would often see Columbia community members

ripping down hostage posters. Swill, whose two friends were murdered on October 7, and knows

the family members of others taken hostage, was particularly impacted by this.

       581.    One day on his way to class, Swill noticed a memorial for a ten-month-old baby

held hostage in Gaza. By the time Swill’s class was over, the memorial had been ripped to

shreds with devil horns and “satan” drawn on the baby’s face. For Swill, knowing he had

classmates who were capable of destroying a memorial for a ten-month old was incredibly

traumatizing and he left campus hysterically crying. Swill felt similarly destroyed when he saw

posters in honor of a hostage’s ninth birthday also ripped down and torn to shreds. During the

rallies in the spring 2024 semester calling for all IOF off campus, Swill, who has worked with

IDF soldiers for years and has dozens of cousins who have served or are serving in the IDF,

found himself again avoiding campus because the chants during these rallies, calling Swill’s

family “terrorists,” were particularly traumatic.

       582.    Since October 7, Swill has experienced a decline in his mental health, doubled the

dose of his anxiety medication, suffered from depression, lost sleep and missed countless classes.

He also stopped wearing a kippah, began to conceal his Star of David, map of Israel, and “bring

them home” dog tag necklaces, and stopped speaking Hebrew when on campus. Swill’s daily

routines, such as going to the gym, became unthinkable as he was afraid to leave his apartment.

Even though Swill lived off campus, he could still hear the agitators at Columbia’s gates from

his apartment. He would also encounter agitators on his way to campus. For example, one day




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he encountered an individual standing at the entrance to Earl Hall in front of a Public Safety

booth asking students to sign a thank you letter to Hamas. When Swill asked the individual to

clarify what they were thanking Hamas for, he replied their October 7 operation.

           xxxiii.   Vanuno

       583.    Soon after October 7, Vanuno started seeing a therapist to help manage the

anxiety and stress he was experiencing. He joined a “first response” group chat on WhatsApp,

where he and fellow Jewish students could communicate to warn others of antisemitic activity on

campus. He concealed his Star of David necklace and avoided campus and the libraries. During

the encampment, Vanuno tried to avoid campus but was forced to go to access certain dining

halls where his meal plan was covered, as the only dining hall not on main campus was shut

down. One of the occasions he was on campus, he saw a large banner that said, “SHABBAT

SHALOM, MOTHERFUCKER.” When he walked on campus, he felt intimidated and terrified

by chants such as “from the River to the Sea,” and “globalize the Intifada” and tried to leave as

quickly as he could. Vanuno’s girlfriend was accosted and called a “Zionist pig” by an occupier

at the encampment. Before classes were moved online, Vanuno missed an entire week of class

because he avoided campus. Once his classes became virtual, he effectively missed his

philosophy class because the audio was unintelligible, which ultimately impacted his

performance on the final exam.

           xxxiv.    Westergaard

       584.    Westergaard has been targeted by students and faculty at Columbia because he is

a visibly Jewish student. Since October 7, he has felt unsafe on campus, particularly because

individuals have shouted his CUID number and other personal information. Westergaard was

often forced to pass the hostile rallies, with chants against the “Zionist entity” and “Israeli

monster,” on the way to his lab. In Lerner Hall, students have handed him pamphlets that depict


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a “power map” of Columbia that purports to show that “Zionist cultural orgs” have

disproportionate power over Columbia, that call to “Globalize the Intifada,” and that claim

“Zionism is terrorism.” He has taken alternative routes to avoid rallies. Westergaard largely

avoided campus in April 2024 because of the encampment, and when he had to go to campus, he

wore a baseball hat and traveled quickly.

           xxxv.      Yadegar

       585.    As a vocal leader and advocate for Columbia’s Jewish and Israeli students,

Yadegar has been targeted and harassed on social media, including by Columbia students.

Yadegar has been called “Israel’s number one d*ckrider [skull emoji] . . . [who] cries about

dumb shit,” and who “just can’t stop reiterating debunked claims of baked and beheaded babies,”

been told, “burn in hell you Zionist bitch” and “[f]uck her,” and has been accused of

“misrepresentation and fear mongering” for sharing Jewish students’ safety concerns. She has

been referenced in Instagram posts such as “@edenyadegar continue crying about ‘from the river

to the sea’ as the rest of the world watches the Zionists’ genocide unfold in real time,” and one

from a student who called Yadegar a “coward” who speaks “out of her ass” and asked Yadegar

to respond to certain questions and based on those she threatened, “I might smack a bitch.”

Because students were posting her photo and name, Yadegar is afraid she will be recognized and

attacked on campus.

       586.    Since October 7, Yadegar has missed classes and taken alternative routes to avoid

rallies when she can, has tried not to walk on or around campus alone, and has utilized

Columbia’s libraries much less often than she did before. When she was on campus, her classes

were often disrupted with chants of “from the River to the Sea” and “Zionists off campus.” Her

grades have been impacted, particularly in the spring 2024 semester when she had to switch two

classes to pass/fail and take an incomplete in two others.


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          xxxvi.     Zuckerman

       587.    Zuckerman has been effectively denied access to Columbia’s campus and

buildings like the gym, library, and dining hall, which has limited her ability to be with her

support system, including friends at Columbia. Since Zuckerman’s apartment was directly

across the street from Columbia, it was unbearable when rallies escalated during the spring 2024

semester as she could hear the agitators chanting on campus and outside the gates. She has

considered transferring or taking a leave of absence because of the discrimination she endured

from the Barnard community.

          xxxvii.    SAA Member #1

       588.    SAA Member #1 is a dual Mexican-American citizen who has experienced

discrimination related to her Jewish identity that she knows would not be tolerated if directed

toward her Mexican and Latin identity. SAA Member #1 has avoided taking certain classes that

she knows would subject her to indoctrination. Because of the near-daily rallies on campus,

SAA Member #1 has been unable to focus in the classroom and her grades have suffered. It has

also been difficult to sleep as she could hear chants from the encampment in her residence hall

off campus late into the night.

       589.    On February 23, Barnard mandated that students remove any items affixed to

room or suite doors by February 28. SAA Member #1 works as a resident assistant at Barnard

and is responsible for mandatory reporting of actual or suspected incidents related to violations

of Barnard’s Discrimination Policy. SAA Member #1 reported at least one complaint on behalf

of a freshman student at Barnard who expressed fear and discomfort due in part to the numerous

antisemitic banners affixed to the walls in her residence hall. But in Barnard residence halls, the

policy had the opposite effect, and, in response, students began displaying banners and flags in

even greater numbers.


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         xxxviii.    SAA Member #2

       590.    In the fall 2023 semester, SAA Member #2 often took alternative routes around

campus to circumvent rallies that they learned of in advance. Although they would have

preferred to avoid campus altogether, they risked falling behind substantially if they did not

attend their classes regularly—some of which had crucial in-person lab components—and

complete their coursework on time. For that reason, when they could not physically avoid

campus or a rally to get to their classes, they would travel through them, suppressing their safety

concerns. They hid their Star of David necklace when they knew there were rallies on campus,

as they had friends whose necklaces had been ripped off their necks. In both the fall 2023 and

spring 2024 semesters, they had classes in Hamilton Hall. Due to its proximity to the centrally

located lawns on campus, their classes in that building were regularly disrupted by the rallies.

       591.    When registering for classes for spring 2024, SAA Member #2 confirmed with

Jewish classmates that the classes and professors they planned to take would be safe for a Jewish

student. Although they were optimistic that Columbia’s environment would be calmer after

winter break, they were in disbelief and dejected that it was just the opposite. During the first

week of the encampment, SAA Member #2 was meeting with a group of friends around campus

when they learned that their Jewish friends had been spit on just outside of Columbia’s gates.

They immediately changed their plans and avoided campus that day.

       592.    On the first day of the encampment, SAA Member #2’s professor dismissed their

concerns about the encampment. Because of the encampment and their safety concerns, SAA

Member #2’s last day on campus in the spring 2024 semester was April 19. Even though SAA

Member #2 attended their remaining classes via Zoom, they were severely disadvantaged

because of a disability and are able to learn more effectively in person.




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       593.    Given their professor’s dismissive remarks about the encampment, and that their

teaching assistant called the mobs of students peaceful—despite them calling for “death to

Zionists”—SAA Member #2 was shocked when, on April 18, their teaching assistant in another

class remarked in class that the Environmental Biology Department supports the students who

were arrested and that “[t]hey won’t have academic repercussions,” which the teaching assistant

learned from a departmental faculty meeting earlier that day. SAA Member #2 reported this

incident to the Task Force.

       594.    On April 18, SAA Member #2 received an email from their Student Affairs

Committee chairs, students that were supposed to represent their interests, condemning

Columbia for having the encampment cleared out rather than negotiating with the student

harassers. The following day, on April 19, SAA Member #2 received an email from their

teaching assistant from a class they took in the fall 2023 semester with the subject “Just checking

in,” in which the teaching assistant expressed she was “thinking about y’all right now,” and

condemned “Columbia’s actions in the past few days, namely its decisions to bring NYPD on

campus and to arrest/suspend students.” The teaching assistant further explained that “us grad

students are in your corner.” SAA Member #2 reported both emails to the Task Force. On April

22, SAA Member #2 received an email from Javier Alvarez-Oviedo, Interim Hearing Officer,

CSSI, who stated their April 18 report was forwarded to his office and was being investigated.

SAA Member #2 met with Alvarez-Oviedo on April 24, and a mere two weeks later, on May 7,

Alvarez-Oviedo emailed SAA Member #2 that Columbia would not be pursuing policy charges

based on the emails. SAA Member #2 is concerned that other students in positions of power are

permitted to openly encourage policy violations and express indifference toward Jewish students

who are suffering as a result of those violations.




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       595.    On April 23, SAA Member #2 was denied an escort to their dormitory by Public

Safety, resulting in being followed and intimidated by a woman just off campus, and SAA

Member #2 did not return home on April 30 because of the Hamilton Hall takeover. As a result

of being driven off campus, and because the kosher dining hall is located on Barnard’s campus

and was restricted to only Barnard students during part of the encampment, they were often

forced to pay out of pocket for kosher meals or not eat at all, and finished the semester with

approximately one third of their entire meal plan unspent.

          xxxix.     SAA Member #3

       596.    SAA Member #3’s experience at Barnard has been impacted by antisemitism they

have experienced on campus and in their residence hall. During the fall 2023 semester, their

room faced Broadway and they often could not focus or concentrate on their schoolwork because

they could hear chants from rallies on campus and in front of the gates for hours. In or around

November 2023, SAA Member #3’s suitemate displayed antisemitic stickers in her room such as

“Zionist donors and trustees, hands off our university.” They were also frequently unable to get

to the library without passing a rally. During a class in the fall semester, SAA Member #3’s

professor was interrupted by the rally outside where agitators displayed a large “by any means

necessary” banner. Shortly after October 7, SAA Member #3 began seeing a therapist to manage

the emotional magnitude of the antisemitism at Barnard.

       597.    SAA Member #3 asked the administration if they could graduate early or be a

part-time student and pay by credit because they felt uncomfortable, unsafe, and unwanted on

campus. Their request was denied and they were told they must petition for an exception to

Barnard’s policies, that an individual exception “may be unlikely,” and that any petition could

not be submitted until the fall. Once the occupiers established the encampment, SAA Member

#3’s suitemate spent the days there and came home at night. Around this same time, SAA


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Member #3 moved out of Barnard housing because they could not escape the sounds of the

rallies and the antisemitic comments from their suitemate. When they returned to their residence

hall to collect their belongings, their suitemate had taken over their room.

              xl.     SAA Member #4

       598.    SAA Member #4’s first year at Barnard has been plagued by the antisemitism she

experienced on campus and in her residence hall. As someone who not only has friends and

family in Israel but whose family friend was murdered on October 7 and whose family is close

with the family of another taken hostage in Gaza, SAA Member #4 was distraught watching

classmates rip down hostage posters. When she was on campus commemorating a hostage’s first

birthday with posters and balloons, she was yelled at, “it’s just one kid, you murdered thousands

of people.”

       599.    Throughout the year, on the days she could not avoid campus, SAA Member #4

found it impossible to avoid rallies on campus on her way to class. Seeing signs and hearing

chants such as “we don’t want no two states, we want all of it,” “Intifada revolution,” “skunks

get off our campus,” and “Zionists off our campus” was overwhelming and she would often

struggle getting to class and focusing once there. Once in her classrooms, she could still hear the

chants coming from the rallies, particularly during the encampment. Because of the noise, she

tried to study in the library but often felt uncomfortable and anxious when there. But studying in

her room was not a viable option because it overlooked Broadway, and she was unable to focus

hearing chants from rallies on campus and outside the gates. The constant chants also impacted

her sleep and eventually she spent nights at a family member’s apartment far from campus. She

has felt on edge eating at the kosher dining hall because she once heard two students, before they

entered, say, “I don’t want to go to Hewitt [the kosher dining hall] because that is where all the

dirty Zionists go.”


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              xli.   SCLJ Member #1

       600.    SCLJ Member #1 is traumatized by the intimidation and harassment she endured

at CSSW, including at the November 8 takeover where she was forced to be escorted to and from

class by a professor for her own safety. SCLJ Member #1 had a final scheduled at the same time

as the December 6 takeover. SCLJ Member #1, driven to tears by the hostile environment

created by the takeover, requested an accommodation. Her request was denied, and she was

required to take the final, a group project, with one of the organizers of the pro-terror event. The

next day, SCLJ Member #1 emailed several universities to ask about transferring but determined

that transferring was not a viable option because it would require her graduation date to be

extended.

       601.    SCLJ Member #1 had to drop or avoid taking classes because of antisemitic

students or professors. SCLJ Member #1’s classes were often derailed by student-led antisemitic

diatribes. In multiple classes, SCLJ Member #1’s classmates made offensive comments about

Jews, Zionists, and Israel—which none of her professors addressed. She made reports to Dean

Curtain. SCLJ Member #1 also made a formal conduct complaint to CSSI on January 30, 2024

about a threatening antisemitic social media post by a CSSW student. Katie Goodwin, CSSI

Senior Associate Director for Case Management and Student Support emailed SCLJ Member #1

on February 22, 2024 to arrange a meeting, but refused SCLJ Member # 1’s request to have an

adviser present. Following the meeting, on April 9, 2024, CSSI Interim Hearing Officer Amela

Bajramovic emailed SCLJ Member #1 to “further discuss this matter.” SCLJ Member #1

responded on April 19 that she had already provided the information, and Columbia’s “lack of

action since January has emboldened the student to harass [her] on social media.” Bajramovic

replied that day to explain the meeting would be for “gathering more facts,” and on April 21,

SCLJ Member #1 offered to schedule a follow up but has not received a response. The CSSW


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student who posted the threat on social media and harassed SCLJ Member #1 graduated. On

June 7, 2024, CSSI emailed that the case had been closed. SCLJ Member #1 dropped a course in

the spring 2024 semester about a subject she was particularly interested in because of this

student.

       602.     Before October 7, SCLJ Member #1 took full advantage of CSSW. She

participated in several clubs; following October 7, she was only comfortable participating in

events hosted by the Jewish Caucus because other clubs either published or endorsed antisemitic

statements, or their leaders organized antisemitic rallies or made antisemitic posts or messages

on social media. She remained on campus only as long as necessary to attend her classes and

often fled campus to stay with family outside of New York City. SCLJ Member #1 did not step

foot on campus from the time the encampment was first erected to the end of the spring 2024

semester. She was dismayed that two of her professors signed a letter on behalf of CSSW

faculty in support of Aidan Parisi and another CSSW student who were suspended for their role

in organizing the Resistance 101 pro-terror event. SAA Member #1 was a top student until

spring 2024, when she received a C- in a class she found especially difficult to concentrate in

because of antisemitic remarks made in class. SCLJ Member #1 was shocked to learn that her

graduation ceremony this year was planned for a Friday and to end at 6:30 p.m., shortly before

the Jewish Sabbath begins. She and other Jewish CSSW students requested a date or time

change to accommodate their Sabbath observance, which was denied.

              xlii.   SCLJ Member #2

       603.     When on campus, SCLJ Member #2 lives in a constant state of fear. Because of

pro-terror rallies in the fall 2023 semester, her classes were moved to Zoom twice. Another

class, on November 9, was effectively canceled when she was the only student who did not

participate in a walkout. SCLJ Member #2 has had to avoid registering for courses she otherwise


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would have taken because of antisemitic professors. During the spring 2024 semester, she

dropped a course that she planned her entire schedule around when on the second day, a group of

roughly half the class came in late after participating in a rally. SCLJ Member #2 recognized

several of these students as having organized and participated in the December 6 takeover where

she was shoved and jabbed with umbrellas. During a meeting with her professors and a follow-

up email dropping the class, SCLJ Member #2 reported that she did not feel safe being in a class

with these students.

       604.      SCLJ Member #2 struggles to concentrate in class as there are often distracting

posters covering her classrooms, which her professors largely ignore. Her professors and

classmates often make offhand comments about Israel, regardless of whether it is relevant to the

discussion. SCLJ Member #2 avoids campus and common areas in CSSW because of the

antisemitic environment.

              xliii.   SCLJ Member #3

       605.      SCLJ Member #3 has been denied access to Columbia’s full academic and

extracurricular offerings because of antisemitism. His request to form a Jewish affinity group at

CSSW was denied, even though there are affinity groups for other protected groups. SCLJ

Member #3 has also been prevented from joining CSSW student caucuses that he is interested in

because they have posted statements calling for violent means of resistance. SCLJ Member #3’s

academics have also been disrupted because of campus antisemitism.

       606.      SCLJ Member #3 foregoes registering for courses taught by antisemitic

professors. Multiple hostile takeovers at CSSW forced his classes during fall 2023 to be held

remotely or canceled. During the November 8 takeover, the professor of his afternoon course

facilitated an informal discussion about the takeover and related current events, even though the

topic of that class was supposed to be “toddlerhood, early childhood, and infancy,” and his


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evening class that day was canceled because of the takeover. SCLJ Member #3 has avoided

campus when there are rallies because they make him feel unsafe.

              xliv.   SCLJ Member #4

       607.     In the two weeks following October 7, SCLJ Member #4 was deeply disturbed by

the antisemitic rallies as they were forced to traverse through mobs of students with signs on

campus stating “by any means necessary” and “resistance is justified” to get to their lab, which

often requires them to be onsite. While worrying about their family in Israel, SCLJ Member #4

was bombarded by signs and chants reminding them of stories they were told by members of

their family who witnessed the Nazis rise to power and fled Europe before the Holocaust.

Distraught and unable to focus while on campus, SCLJ Member #4 felt they had no choice but to

work remotely until mid-January 2024, causing them to forgo onsite research. Consequently,

SCLJ Member #4’s research was significantly adversely affected.

       608.     SCLJ Member #4 returned to campus in mid-January but stays home on

particularly chaotic and violent days. Since returning in January, students and faculty have

called for the exclusion of Israelis from campus. SCLJ Member #4 now takes a circuitous route

to their lab to avoid the rallies and also plans their research around when the rallies occur.

Although they would like to continue their education and pursue their research in person, there

are days where they cannot go to campus out of concern for their safety. In one such instance,

on February 2, WOL and student groups rioted around Columbia’s perimeter, preventing SCLJ

Member #4 from walking to their lab without confronting their fellow students’ calls for their

removal from the Columbia community. SCLJ Member #4 has sent at least nine emails to

President Shafik and the Task Force to report incidents that have created a hostile environment

and impacted their access to the full educational benefits at Columbia. SCLJ Member #4 has

only received generic, ineffective responses.


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       609.    SCLJ Member #4 avoided campus as much as possible the first week of the

encampment. On April 18, SCLJ Member #4 emailed President Shafik, Columbia University’s

Board of Trustees, the Task Force, COO Holloway, and various administrators to express

frustration over the encampment and Columbia’s lack of response, writing “You are failing me,”

and “I have been sending emails to you since October 12th, and the situation has only gotten

worse and worse. I am nearing the end of my capacity to handle this and am seriously

considering other places to take my research.” SCLJ Member #4 did not receive a response. On

April 23, SCLJ Member #4 responded to their own unanswered email to criticize Columbia’s

“solution” to go hybrid, rather than addressing the encampment and antisemitism directly. SCLJ

Member #4 reported students in the encampment for “chanting death threats” and “inviting non-

Columbia affiliates onto campus, making it unsafe for me to come onto campus.” SCLJ Member

#4 explained that they could not work remotely without sacrificing months of lab work. SCLJ

Member #4 received a response from an administrator, and they scheduled a call for April 23.

During the call, SCLJ Member #4 reported that they could not go to campus because of the

encampment. The administrator offered no concrete response, instead expressing platitudes like,

there are a lot of “charged sentiments,” there is “a lot of hurt everywhere,” there needs to be

“conversations” and “perspectives shared,” and she knows it’s “not comforting that you and I

can’t solve things.” The administrator advised SCLJ Member #4 to “exercise caution” around

campus and do “whatever [work] you can do at home.” SCLJ Member #4 responded that this

was unacceptable. The administrator agreed but asked to redirect the discussion to focus on

SCLJ Member #4 and how SCLJ Member #4 can get their work done.

       610.    During the second week of the encampment, SCLJ Member #4 reluctantly

returned to campus more often to prevent losing months’ worth of lab work. SCLJ Member #4




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was forced to access their lab through the main entrance after the direct entrance to their lab,

which was four blocks north, was closed, which forced them to pass through mobs of individuals

who openly supported terrorism against Jews. After SCLJ Member #4 returned to their lab, they

could hear rally goers marching around campus on Broadway. They could also observe

nonstudents entering campus, causing them to fear violence by outside agitators. On April 28,

SCLJ Member #4 emailed President Shafik, Columbia’s Board of Trustees, the Task Force, COO

Holloway, and various administrators admonishing Columbia for “continuing to negotiate with

students who are calling for my death and the destruction of my country.” Two days later, on

April 30, SCLJ Member #4 responded to the email: “You have let a violent antisemitic mob take

over our campus. You are forcing me to stay home for my safety and abandon my research.”

       611.     SCLJ Member #4 has had issues with groups that are supposed to represent their

interests, but instead espouse antisemitism. They withdrew their membership from their

graduate student union because of its rampant antisemitism, including its statement blaming

Israel for October 7, dissemination of weekly emails encouraging attendance at rallies, and vote

to divert funding to SJP and JVP, which they were not supposed to receive during their

suspension. Columbia’s hostile environment—in which they are constantly confronted by

stickers such as “Zionist donors get your hands off our institution” or posters hung near their lab

with pictures of Israeli tanks with phrases such as “is your research fueling the war machine?”—

has severely impacted SCLJ Member #4’s mental health. In response, SCLJ Member #4 is in a

constant state of distress and hypervigilance whenever stepping foot on campus.

              xlv.   SCLJ Member #5

       612.     Since October 7, SCLJ Member #5 is forced to often work remotely rather than in

their shared Columbia lab, which for months was overtaken by individuals who used the space to

espouse antisemitic conspiracy theories and blood libels. Columbia students have organized


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multiple rallies at or next to CUIMC’s campus, including on November 29 in which they

blockaded the entrance to the Hammer Health Sciences Building. SCLJ Member #5 now feels

unsafe working on campus and often stays home instead.

       613.    SCLJ Member #5 is also afraid for their safety on campus because of the violent

and exclusionary rhetoric espoused freely by students targeting them as an Israeli and Jew. SCLJ

Member #5 is deterred from wearing garb that identifies them as Jewish because of these safety

concerns. SCLJ Member #5 returned to Israel over winter break because they did not feel safe

on campus and were disheartened that their concerns proved even more well founded upon

returning. Before returning, they emailed their deans to ask if the campus environment was

likely to be safer when they returned. One of their deans responded that it was unclear. SCLJ

Member #5 visited Israel in early April, and extended the trip because their friends experienced

direct instances of antisemitism during the encampment, which they submitted to Columbia

through a bias report.

       614.    SCLJ Member #5 is significantly less productive at home, and has sacrificed in-

person collaboration, networking, and other benefits afforded to their non-Jewish, non-Israeli

colleagues. When SCLJ Member #5 is on campus, they struggle to concentrate. In the fall 2023

semester, for example, there were constant antisemitic poster campaigns at the Hammer Health

Sciences Building, which included placing posters containing blood libels on every seat. There

has also been phone banking weekly at the Vagelos Education Center.

       615.    SCLJ Member #5, exhausted by all of the energy they expend documenting and

reporting antisemitism at Columbia, including their considerable efforts to be heard by

Columbia’s administration, considered transferring. At the very least, their graduation date will

likely be extended because of their diminished productivity.




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              xlvi.   SCLJ Member #6

       616.     SCLJ Member #6’s experience as a film student at Columbia hinges on their

ability to access equipment on campus and work collaboratively with classmates. Following

October 7, this has been nearly impossible, significantly affecting their productivity, and they

have considered transferring to a different school or taking a leave of absence. Immediately after

October 7, SCLJ Member #6 was attacked by classmates in a group chat for sympathizing with

another Jewish student. Since then, SCLJ Member #6 is a social pariah in their department due

to their Jewish identity, and they have been forced to forgo numerous social events.

       617.     On November 2, SCLJ Member #6 met with an administrator in Columbia’s film

department and expressed concern about certain classmates posting violent rhetoric on social

media. SCLJ Member #6 also expressed concern about professors in the department who had

signed onto a letter defending the students who signed the pro-terror joint statement and referring

to the October 7 terrorist attack as a “military action” that can be reasonably

“recontextualize[d].” SCLJ Member #6 will now not take classes with these professors even

though they likely would have otherwise. The chair of their department said there is nothing

they can do to address the issue, and that SCLJ Member #6 needs to be comfortable working

with people they disagree with. Lechner also told them that the Jewish people “have been

through a lot and can get through [this].”

       618.     On January 22, SCLJ Member #6 met with School of Arts Assistant Dean of

Student Support Herbert Hugh “to highlight the occurrences on campus that have made

Columbia a hostile and unsafe environment since Hamas’ attack,” including frequent calls for

violence against Jews. During this meeting, Hugh told them that he would send multiple

resources to “foster [their] wellness as a Jew on [Columbia’s] campus”—a common response to

Jewish students who have expressed similar concerns rather than addressing the root cause or


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disciplining harassers. Three days later, SCLJ Member #6 emailed Hugh because they had not

received any resources. In response, Hugh claimed he was delayed sending resources—despite

promising them within one day—because he wanted to consult School of the Arts Dean Leila

Maher. In a February 2 meeting, Dean Maher echoed the department chair’s response, telling

SCLJ Member #6 there was nothing she could do about the antisemitism on campus.

       619.    SCLJ Member #6’s classes have been disrupted by antisemitic rallies on roughly

five occasions. The School of Arts is near the center of campus, and rallies can be heard from

within the building. On February 2, the rally was so disruptive, SCLJ Member #6 was forced to

leave class. There are also days where rallies are scheduled and SCLJ Member #6 avoids

campus altogether. When they must go to campus, SCLJ Member #6 takes alternative routes to

and from campus to avoid rallies. When campus access is restricted and certain gates are closed

because of rallies, however, SCLJ Member #6 is sometimes forced to traverse threatening rallies

to get to the School of Arts. SCLJ Member #6 recently received an email from a professor

inquiring as to why they were absent from a lecture class. They responded they did not want to

come to campus given the previous day’s rally where SJP students broke a library door and

chanted, “there is no safe place.” The professor responded this was not a valid excused absence.

            xlvii.   SCLJ Member #7

       620.    SCLJ Member #7’s classes, particularly those on Barnard’s campus, have been

regularly disrupted by the antisemitic rallies. For example, a rally on November 15 could be

heard during SCLJ Member #7’s lab. SCLJ Member #7’s classmates congregated at the

classroom’s windows to watch the rally. Rather than address the disruption, SCLJ Member #7’s

professor remarked, “wish we could be there.” Due to incidents like this, SCLJ Member #7 is

afraid to share her Jewish identity in her classes.




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       621.    SCLJ Member #7’s campus experience has also been deeply impacted by

Columbia’s hostile environment since October 7. SCLJ Member #7 is disturbed by antisemitic

propaganda ubiquitous on Columbia’s campus. Due to Columbia’s inaction, she reports these

posters herself. In SCLJ Member #7’s formerly preferred study location in the Milstein Center,

there is an unauthorized poster that she cannot remove herself and Barnard has not taken down

despite her reports. Consequently, SCLJ Member #7 stopped studying in this location.

                                            COUNT I
              (Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.)
                      On Behalf of All Plaintiffs Against All Defendants

       622.    Plaintiffs repeat and reallege the allegations of the preceding paragraphs as

though fully set forth herein.

       623.    Columbia University and Barnard receive financial assistance from the United

States Department of Education and are therefore subject to suit under Title VI of the Civil

Rights Act of 1964.

       624.    Discrimination against Jews and/or Israelis—including based on actual or

perceived shared ancestry, race, ethnic characteristics, or national origin—is prohibited under

Title VI.

       625.    The Individual Plaintiffs are and identify as Jewish and/or Israeli, and their status

and identification as Jews brings them within the scope of Title VI’s protections. The Individual

Plaintiffs include students currently enrolled in Columbia and recent graduates. SAA’s members

include Jewish and/or Israeli students at Columbia, who are also within the scope of Title VI’s

protections. SCLJ’s members include Jewish and/or Israeli students currently enrolled in

Columbia and recent graduates, who are also within the scope of Title VI’s protections.




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        626.    Title VI prohibits a recipient of federal funds from intentionally treating any

individual worse, even in part because of his or her ancestry, race, ethnic characteristics, or

national origin.

        627.    The acts and omissions of Columbia and its administrators have subjected the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members,

and continues to subject, the Individual Plaintiffs currently enrolled in Columbia and SAA’s and

SCLJ’s Jewish and/or Israeli Columbia student members to discrimination and harassment on the

basis of their actual and/or perceived shared Jewish and/or Israeli ancestry, race, ethnic

characteristics, or national origin.

        628.    Columbia and its administrators had and have actual notice that such

discrimination and harassment, over which Columbia had and has substantial control and the

authority to remedy, was, and continues to be, so severe, pervasive, and objectively offensive

that it created, and continues to create, a hostile environment based on shared Jewish and/or

Israeli ancestry, race, ethnic characteristics, or national origin that deprives the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members of full access

to Columbia’s educational programs, activities, and opportunities.

        629.    Columbia and its administrators intentionally discriminate against the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members on the basis

of their actual and/or perceived shared Jewish ancestry, race, ethnic characteristics, or national

origin, as exhibited by Columbia and its administrators’ deliberate indifference to the antisemitic

abuse, harassment, and intimidation of the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members in violation of Title VI. Specifically, Columbia and its

administrators clearly and unreasonably failed, and continue to fail, to cure or otherwise




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adequately, appropriately, and meaningfully address, ameliorate, or remedy the discrimination

against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members and the hostile environment that they and other Jewish and/or Israeli students are

forced to endure at Columbia because of their ancestry, race, ethnic characteristics, or national

origin. Additionally, Columbia continues to fail to take prompt and effective steps reasonably

calculated to end the harassment, eliminate any hostile environment, and prevent the harassment

from recurring. Such unlawful deliberate indifference caused and causes the Individual Plaintiffs

and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members to be subjected to a

hostile educational environment.

        630.    The environment at Columbia, which has been rendered hostile for the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members as a result of

their Jewish and/or Israeli ancestry, race, ethnic characteristics, or national origin, is sufficiently

severe, pervasive, persistent, and offensive such that it deprives the Individual Plaintiffs and

SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members of equal access to the

educational opportunities and benefits that Columbia provides to non-Jewish and/or non-Israeli

students.

        631.    Columbia and its administrators actively and intentionally engage in this pattern

of severe and pervasive discrimination.

        632.    Columbia and its administrators also directly and intentionally discriminate

against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, with their actual or perceived shared Jewish and/or Israeli ancestry, race ethnic

characteristics, or national origin a substantial or motivating factor in Columbia actions.




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        633.   Columbia continues to unreasonably fail to act, or to act inadequately and

discriminatorily, and with leniency, tolerance, deliberate indifference and/or unjustifiable delay,

in applying its policies to known or reported incidents involving antisemitism or where the

victim or complainant is a Jewish and/or Israeli student, including the Individual Plaintiffs and

SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members. As detailed above,

Columbia’s actions, inactions, and conduct were, and continue to be, intended to treat the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members

differently as Jewish and Israeli students as compared to other similarly situated non-Jewish

and/or non-Israeli students.

        634.   Columbia’s acts and omissions are the actual, direct, and proximate causes of the

Individual Plaintiffs’ and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members’

injuries.

        635.   As a result of the foregoing, the Individual Plaintiffs have suffered, and currently

enrolled Individual Plaintiffs continue to suffer, substantial damages in amounts to be

determined at trial.

        636.   The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members have been and will continue to be injured because Columbia has and will

continue to deny them equal access to the educational opportunities and benefits provided to

other students, and has and will continue to intentionally discriminate against them on the basis

of Jewish and/or Israeli ancestry, race, ethnic characteristics, or national origin.

        637.   Plaintiffs are entitled to injunctive relief under Title VI, because Columbia has

knowledge of, and has been and continues to be deliberately indifferent to, a hostile environment

that is severe, persistent, and pervasive; there is no adequate remedy at law to prevent Columbia




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from continuing to discriminate against its students on the basis of Jewish and/or Israeli ancestry,

race, ethnic characteristics, or national origin in violation of Title VI; and the harm the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members currently

enrolled will otherwise continue to suffer is irreparable.

       638.    Plaintiffs are entitled to attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.

                                        COUNT II
                (New York Executive Law (Human Rights Law) § 296 et seq.)
                     On Behalf of All Plaintiffs Against All Defendants

       639.    Plaintiffs repeat and reallege the allegations of the preceding paragraphs as

though fully set forth herein.

       640.    Educational institutions like Columbia are prohibited, under New York Executive

Law § 296, from discriminating against or permitting the harassment of students, even in part

because of their actual or perceived race, religion, national origin (defined to include “ancestry”),

citizenship, or immigration status.

       641.    The Individual Plaintiffs are and identify as Jewish and/or Israeli, and their status

and identification as Jews and/or Israeli brings them within the scope of Executive Law § 296’s

protections. The Individual Plaintiffs include students currently enrolled in Columbia and recent

graduates. SAA’s members include Jewish and/or Israeli students at Columbia, who are also

within the scope of Executive Law § 296’s protections. SCLJ’s members include Jewish and/or

Israeli students currently enrolled in Columbia and recent graduates, who are also within the

scope of Executive Law § 296’s protections.

       642.    The acts and omissions of Columbia and its administrators have subjected the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members,

and continues to subject, the Individual Plaintiffs currently enrolled in Columbia and SAA’s and

SCLJ’s Jewish and/or Israeli Columbia student members to discrimination and harassment on the


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basis of their actual and/or perceived Jewish and/or Israeli race, religion, national origin,

citizenship, or immigration status.

       643.    Columbia and its administrators had and have actual notice that such

discrimination and harassment, over which Columbia had and have substantial control and the

authority to remedy, was and continues to be severe, pervasive, and objectively offensive that it

created, and continues to create, a hostile environment based on shared Jewish and/or Israeli

race, religion, national origin, citizenship, or immigration status that deprives the Individual

Plaintiffs and SAA’s Jewish and SCLJ’s and/or Israeli Columbia student members of full access

to Columbia’s educational programs, activities, and opportunities.

       644.    Columbia and its administrators intentionally discriminate against the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members on the basis

of their actual and/or perceived shared Jewish and/or Israeli race, religion, national origin,

citizenship, or immigration status, as exhibited by Columbia and its administrators’ deliberate

indifference to the antisemitic abuse, harassment, and intimidation of the Individual Plaintiffs

and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members, in violation of

Executive Law § 296. Specifically, Columbia and its administrators clearly and unreasonably

failed, and continue to fail, to cure or otherwise adequately, appropriately, and meaningfully

address, ameliorate, or remedy the discrimination against the Individual Plaintiffs and SAA’s and

SCLJ’s Jewish and/or Israeli Columbia student members and the hostile environment that they

and other Jewish and/or Israeli students are forced to endure at Columbia because of their race,

religion, national origin, citizenship, or immigration status. Additionally, Columbia continues to

fail to take prompt and effective steps reasonably calculated to end the harassment, eliminate any

hostile environment, and prevent the harassment from recurring. Such unlawful deliberate




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indifference causes the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli

Columbia student members to be subjected to a hostile educational environment.

       645.    The environment at Columbia, which has been rendered hostile for the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members as a result of

their Jewish and/or Israeli race, religion, national origin, citizenship, or immigration status is

sufficiently severe, pervasive, persistent, and offensive such that it deprives the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members of equal

access to the educational opportunities and benefits that Columbia provide to non-Jewish and/or

non-Israeli students.

       646.    Columbia and its administrators actively and intentionally engage in this pattern

of severe and/or pervasive discrimination.

       647.    Columbia and its administrators also directly and intentionally discriminate

against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, with their actual or perceived shared Jewish and/or Israeli race, religion, national

origin, citizenship, or immigration status a substantial or motivating factor in Columbia’s

actions.

       648.    Columbia’s actions or conduct had, and continue to have, an unjustifiable

differential or disparate impact upon the Individual Plaintiffs, SAA’s and SCLJ’s Jewish and/or

Israeli Columbia student members, as Jewish and/or Israeli students.

       649.    Columbia continues to unreasonably fail to act, or to act inadequately and

discriminatorily, and with leniency, tolerance, deliberate indifference, and/or unjustifiable delay,

in applying its policies to known or reported incidents involving antisemitism or where the

victim or complainant is a Jewish and/or Israeli student, including the Individual Plaintiffs and




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SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members. As detailed above,

Columbia’s actions, inactions, and conduct were, and continue to be, intended to treat the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members

differently as Jewish and/or Israeli students as compared to other similarly situated non-Jewish

and/or non-Israeli students.

        650.   Columbia’s acts and omissions are the actual, direct, and proximate causes of the

Individual Plaintiffs’, SAA’s, and SCLJ’s Jewish and/or Israeli Columbia student members’

injuries.

        651.   As a result of the foregoing, the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members have suffered, and those currently enrolled

continue to suffer, substantial damages, including emotional pain, suffering, inconvenience, loss

of enjoyment of life, and other non-pecuniary losses, in amounts to be determined at trial.

        652.   Columbia’s actions and omissions toward the Individual Plaintiffs, SAA’s and

SCLJ’s Jewish and/or Israeli Columbia student members amount to willful or wanton

negligence, recklessness, and/or a conscious disregard of the rights of others.

        653.   The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members have been and will continue to be injured because Columbia has and will

continue to deny them equal access to the educational opportunities and benefits provided to

other students, and has and will continue to intentionally discriminate against them on the basis

of Jewish and/or Israeli race, religion, national origin, citizenship, or immigration status.

        654.   Plaintiffs are also entitled to injunctive relief under New York Executive Law

§ 296, because Columbia had and has knowledge of, and has been, and continues to be,

deliberately indifferent to, a hostile environment that is severe, persistent, and pervasive; there is




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no adequate remedy at law to prevent Columbia from continuing to discriminate against its

students on the basis of Jewish and/or Israeli race, religion, national origin, citizenship, or

immigration status in violation of Executive Law § 296; and the harm the Individual Plaintiffs

and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members currently enrolled will

otherwise continue to suffer is irreparable.

        655.    Plaintiffs are entitled to attorneys’ fees and costs pursuant to N.Y. Exec.

Law § 297(10).

                                          COUNT III
                             (New York Civil Rights Law § 40-c)
                       On Behalf of All Plaintiffs Against All Defendants

        656.    Plaintiffs repeat and reallege the allegations of the preceding paragraphs as

though fully set forth herein.

        657.    New York Human Rights Law § 291 provides that the opportunity to obtain

education and use places of public accommodation, such as Columbia, without discrimination

because of race, creed, or national origin is a civil right.

        658.    New York Civil Rights Law § 40-c (“NYCRL”) prohibits Columbia from

subjecting Jewish and/or Israeli students to discrimination or harassment—including based on

their actual or perceived race, creed, or national origin.

        659.    The Individual Plaintiffs are and identify as Jewish and/or Israeli, and their status

and identification as Jews and/or Israelis brings them within the scope of NYCRL’s protections.

The Individual Plaintiffs include students currently enrolled in Columbia and recent graduates.

SAA’s members include Jewish and/or Israeli students at Columbia, who are also within the

scope of NYCRL’s protections. SCLJ’s members include Jewish and/or Israeli students

currently enrolled in Columbia and recent graduates, who are also within the scope of NYCRL’s

protections.


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       660.    The acts and omissions of Columbia and its administrators have subjected, and

continue to subject, the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli

Columbia student members to discrimination and harassment on the basis of their actual and/or

perceived Jewish and/or Israeli race, creed, or national origin.

       661.    Columbia and its administrators had and have actual notice that such

discrimination and harassment, over which Columbia had and has substantial control and the

authority to remedy, was and continues to be so severe, pervasive, and objectively offensive that

they created and continue to create a hostile environment based on shared Jewish and/or Israeli

race, creed, or national origin that deprives the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members of full access to Columbia’s educational

programs, activities, and opportunities.

       662.    Columbia and its administrators intentionally discriminate against the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members on the basis

of their actual and/or perceived shared Jewish and/or Israeli race, creed, or national origin, as

exhibited by Columbia and its administrators’ deliberate indifference to the antisemitic abuse,

harassment, and intimidation of the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or

Israeli Columbia student members, in violation of NYCRL. Specifically, Columbia and its

administrators clearly and unreasonably failed, and continue to fail, to cure or otherwise

adequately, appropriately, and meaningfully address, ameliorate, or remedy the discrimination

against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members and the hostile environment that they and other Jewish and Israeli students are forced

to endure at Columbia because of their race, creed, or national origin. Additionally, Columbia

continues to fail to take prompt and effective steps reasonably calculated to end the harassment,




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eliminate any hostile environment, and prevent the harassment from recurring. Such unlawful

deliberate indifference causes the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or

Israeli Columbia student members to be subjected to a hostile educational environment.

       663.    The environment at Columbia, which has been rendered hostile for the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members as a result of

their Jewish and/or Israeli race, creed, or national origin, is sufficiently severe, pervasive,

persistent, and offensive such that it deprives the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members of equal access to the educational opportunities

and benefits that Columbia provides to non-Jewish and/or non-Israeli students.

       664.    Columbia and its administrators actively and intentionally engage in this pattern

of severe and/or pervasive discrimination.

       665.    Columbia and its administrators also directly and intentionally discriminate

against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, with their actual or perceived shared Jewish and/or Israeli race, creed, or national

origin a substantial or motivating factor in Columbia’s actions.

       666.    Columbia’s actions or conduct had, and continue to have, an unjustifiable

differential or disparate impact upon the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members, as Jewish and/or Israeli students.

       667.    Columbia continues to unreasonably fail to act, or to act inadequately and

discriminatorily, and with leniency, tolerance, deliberate indifference, and/or unjustifiable delay,

in applying its policies to known or reported incidents involving antisemitism or where the

victim or complainant is a Jewish and/or Israeli student, including the Individual Plaintiffs and

SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members. As detailed above,




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Columbia’s actions, inactions, and conduct were, and continue to be, intended to treat the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members

differently as Jewish and Israeli students as compared to other similarly situated non-Jewish

and/or non-Israeli students.

        668.   Columbia’s acts and omissions are the actual, direct, and proximate causes of the

Individual Plaintiffs’, SAA’s, and SCLJ’s Jewish and/or Israeli Columbia student members’

injuries.

        669.   As a result of the foregoing, the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members have suffered, and those currently enrolled

continue to suffer, substantial damages and are entitled to statutory damages of $500 per

violation pursuant to NYCRL § 40-d.

        670.   The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members have been and will continue to be injured because Columbia has and will

continue to deny them equal access to the educational opportunities and benefits provided to

other students, and has and will continue to intentionally discriminate against them on the basis

of Jewish and/or Israeli race, creed, or national origin.

        671.   Plaintiffs are also entitled to injunctive relief under NYCRL, because Columbia

had and has knowledge of, and has been, and continues to be, deliberately indifferent to, a hostile

environment that is severe, persistent, and pervasive; there is no adequate remedy at law to

prevent Columbia from continuing to discriminate against its students on the basis of Jewish

and/or Israeli race, creed, or national origin; and the harm the Individual Plaintiffs and SAA’s

and SCLJ’s Jewish and/or Israeli Columbia student members currently enrolled will otherwise

continue to suffer is irreparable.




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        672.     By this action, plaintiffs seek to vindicate the public interest by enforcing

fundamental civil rights protections for students, including students who face discrimination and

harassment at school based on race, creed, or national origin.

        673.     Plaintiffs have complied with the procedural requirements of NYCRL § 40-d by

serving notice of this complaint upon the State Attorney General at or before the commencement

of the action.

                                       COUNT IV
         (New York City Human Rights Law – N.Y.C. Admin. Code § 8-107(4), (17))
                    On Behalf of All Plaintiffs Against All Defendants

        674.     Plaintiffs repeat and reallege the allegations of the preceding paragraphs above as

though fully set forth herein.

        675.     New York City Admin. Code § 8-107(4) prohibits Columbia from subjecting

Jewish and/or Israeli students to discrimination or harassment—including based on actual or

perceived race, creed, national origin, immigration or citizenship status.

        676.     The acts and omissions of Columbia and its administrators and other employees

have subjected, and continue to subject, the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members to discrimination and harassment on the basis of their

actual and/or perceived Jewish and/or Israeli race, creed, national origin, immigration or

citizenship status that is severe and pervasive. Columbia has refused, withheld from, and denied

the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members

the full and equal enjoyment, on equal terms and conditions, of Columbia’s accommodations,

advantages, services, facilities or privileges, in violation of N.Y.C. Admin. Code § 8-107(4),

including by treating them less favorably than similarly situated non-Jewish and/or non-Israeli

students based on their protected characteristics.




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        677.   Columbia’s actions or conduct had, and continue to have, an unjustifiable

differential or disparate impact upon the Individual Plaintiffs and SAA’s and SCLJ’s Jewish

and/or Israeli Columbia student members, as Jewish and/or Israeli students, in violation of

N.Y.C. Admin. Code § 8-107(17).

        678.   Columbia’s acts and omissions are the actual, direct, and proximate causes of the

Individual Plaintiffs’ and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members’

injuries.

        679.   As a result of the foregoing, the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members have suffered, and those currently enrolled

continue to suffer, substantial damages, including emotional pain, suffering, inconvenience, loss

of enjoyment of life, and other non-pecuniary losses, in amounts to be determined at trial.

        680.   Columbia’s actions and omissions toward the Individual Plaintiffs and SAA’s and

SCLJ’s Jewish and/or Israeli Columbia student members amount to willful or wanton

negligence, recklessness, and/or a conscious disregard of the rights of others.

        681.   The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members have been and will continue to be injured because Columbia has and will

continue to deny them equal access to the educational opportunities and benefits provided to

other students, and has and will continue to intentionally discriminate against them on the basis

of Jewish and/or Israeli race, creed, national origin, immigration or citizenship status.

        682.   Plaintiffs are also entitled to injunctive relief, because Columbia had and has

knowledge of, and has been and continues to be deliberately indifferent to, a hostile environment

that is severe, persistent, and pervasive; there is no adequate remedy at law to prevent Columbia

from continuing to discriminate against its students on the basis of Jewish and/or Israeli race,




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creed, national origin, immigration or citizenship status; and the harm the Individual Plaintiffs

and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members currently enrolled will

otherwise continue to suffer is irreparable.

       683.    By this action, plaintiffs seek to vindicate the public interest by enforcing

fundamental state civil rights protections for students, including students who face discrimination

and harassment at school based on their actual or perceived race, creed, national origin,

immigration or citizenship status.

       684.    Plaintiffs have complied with the procedural requirements of N.Y.C. Admin.

Code § 8-502 by serving notice of this complaint upon the City Commission on Human Rights

and the Corporation Counsel.

       685.    Plaintiffs are entitled to attorneys’ fees and costs pursuant to

N.Y.C. Admin. Code § 8-502(g).

                                         COUNT V
                                    (Breach of Contract)
                  On Behalf of Individual Plaintiffs Against All Defendants

       686.    The Individual Plaintiffs repeat and reallege the allegations of the preceding

paragraphs as though fully set forth herein.

       687.    At all relevant times, an implied and/or express contractual relationship existed

between Columbia University and David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross,

Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn,

Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar, by virtue of their

enrollment at Columbia University and as defined by and through Columbia University codes,

policies, and procedures governing student conduct, including, but not limited to, Columbia

University’s (i) EOAA Policies & Procedures; (ii) Rules of University Conduct; (iii) Standards

& Discipline Policy; (iv) Non-Discrimination Statement and Policy; (v) University Events


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Policy; (vi) Interim University Policy for Safe Demonstrations; (vii) Student Group Event Policy

and Procedure; and (viii) Faculty Handbook. Through the documents and materials it publishes

and provides to students, Columbia University makes express and implied contractual

commitments to its students concerning bias-related abuse, harassment, intimidation, and

discrimination.

       688.    At all relevant times, an implied or express contractual relationship existed

between Barnard and Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser, Ruttenberg, and

Zuckerman by virtue of their enrollment at Barnard and as defined by and through Barnard

codes, policies, and procedures governing student conduct, including, but not limited to,

Barnard’s (i) Policy Against Discrimination and Harassment, (ii) Rules for Maintenance of

Public Order, (iii) Student Code of Conduct, and (iv) Policy for Safe Campus Demonstrations.

Through the documents and materials it publishes and provides to students, Barnard makes

express and implied contractual commitments to its students concerning bias-related abuse,

harassment, intimidation, and discrimination.

       689.    New York law recognizes that the relationship between a student and a college is

contractual in nature, and that the terms of student handbooks, university bulletins, regulations,

codes, policies, and procedures become part of that contract.

       690.    The Individual Plaintiffs complied with their obligations under these contracts.

       691.    Columbia University breached its agreements with David, Doe, Droznik, Elkins,

Friedman, Gal, Gerstein, Gross, Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks,

Nauer, Ami, Gabe, Nock, Quinn, Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard,

and Yadegar, and failed to comply with its obligations under these contracts, throughout the




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course of their enrollment at Columbia University, including by, among other things, failing to

comply with the following provisions, among others:

              “Columbia University is committed to providing a learning, living, and working
               environment free from prohibited discrimination and harassment and to fostering a
               nurturing and vibrant community founded upon the fundamental dignity and worth
               of all of its members.” (EOAA Policies & Procedures);

              “Harassment may include, but is not limited to: verbal abuse; epithets or slurs;
               negative stereotyping; threatening, intimidating or hostile acts; denigrating jokes;
               insulting or obscene comments or gestures; and the display or circulation of written
               or graphic material (including in hard copy, by email or text, or through social
               media) that denigrates or shows hostility or aversion toward an individual or group
               members of a protected class.” (Id.);

              “All employees . . . have an obligation to immediately report harassment [and]
               discrimination.” (Id.);

              Violations of the Rules of University Conduct include, among other things,
               threatening to or placing another in danger of bodily harm or causing or attempting
               to cause physical harm; incitement; property damage; interfering with an entrance
               or exit or physically preventing passage from a University facility; “causing noise
               that substantially hinders others in their normal academic activities”; “briefly
               interrupt[ing] a University function”; “disrupt[ing] a University function or
               render[ing] its continuation impossible”; “fail[ing] to self-identify when requested
               to do so by a properly identified [dean or appointed official]”; and “fail[ing] to
               disperse from an assembly upon order of a properly identified [dean or appointed
               official].” (Rules of University Conduct);

              “The University prohibits any form of discrimination against any person on the
               basis of . . . citizenship status; . . . creed; . . . national origin;. . . race; religion; . . .
               or any other applicable, legally protected status in the administration of its
               educational policies, admissions policies, employment, scholarship and loan
               programs, and athletic and other University-administered programs and functions.”
               (Non-Discrimination Statement and Policy);

              “As members of the Columbia University community, all students are expected to
               uphold the highest standards of respect, integrity, and civility. . . . Students who
               violate standards of behavior related to academic or behavioral conduct interfere
               with their ability, and the ability of others, to take advantage of the full complement
               of University life, and will thus be subject to Dean’s Discipline.” (Standards and
               Discipline);

              “The University has an obligation to ensure that all members of our community can
               participate in their academic pursuits without fear for their safety.” (University
               Event Policy);


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             “Attendees at events held without approval as described in this Policy will be
              required to disperse.” (Id.);

             “[R]ules of conduct do not allow or condone language that promotes or supports
              violence in any manner. Calls for genocide against the Jewish community or any
              other group are abhorrent, inconsistent with our values and against our rules.
              Incitement to violence against members of our community will not be tolerated.”
              (Event Policy and Campus Resources FAQ);

             “The University will designate spaces (“Demonstration Areas”) that will be
              available on each of its campuses for Demonstrations from 12:00 to 6:00 pm on
              Monday-Friday (‘Regular Demonstration Times’) when classes are in session (does
              not include reading days or exam periods) in a manner that does not disrupt
              University matters and subject to the Rules. Any such designation will take account
              of the importance of providing prominent and central locations for Demonstrations.
              On the Morningside campus, for example, the designated Demonstration Area will
              typically be South Field East, South Field West, or the Sundial area.
              Demonstrations may not be advertised before registration is confirmed.” (Interim
              University Policy for Safe Demonstrations.);

             “In order to ensure safety and limit potential interference with normal University
              activities, Demonstrations will not be permitted in University areas outside of the
              Demonstration Areas, except as provided in the following paragraph.” (Id.);

             “Two working days’ advance registration is required for any Demonstration to
              ensure the safety of the University community.” (Id.);

             “Demonstrations that are not registered or go beyond the registered Demonstration
              Area or reserved time will violate this policy. Advertising of Demonstrations prior
              to a confirmed registration is also a violation.” (Id.);

             “The conduct of all guests is bound by University Rules and the student group may
              be held responsible for the behavior of their invited guests.” (Student Group Event
              Policy and Procedure.); and

             “Faculty should confine their classes to the subject matter covered by their courses
              and not use them to advocate any political or social cause . . . Faculty should allow
              the free expression of opinions within the classroom that may be different from
              their own and should not permit any such differences to influence their evaluations
              of their students.” (Faculty Handbook.)

       692.   Barnard breached its agreements with Aryeh, Bellows, Glaser, Molly, Rabban,

Roe, Rukeyser, Ruttenberg, and Zuckerman, and failed to comply with its obligations under




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these contracts, throughout the course of their enrollment at Barnard, including by, among other

things, failing to comply with the following provisions, among others:

              “The College takes prompt and appropriate action to address misconduct, end a
               hostile environment if one has been created, and prevent the recurrence of a hostile
               environment.” (Policy Against Discrimination and Harassment.);

              “Although Barnard may not control websites, social media, and other venues in
               which harassing communications are made, when such communications are
               reported to the College, it will engage in a variety of means to address and mitigate
               the effects.” (Id.);

              “The following activities which infringe upon the rights of individuals shall not be
               permitted and shall be considered violations of College rules:” “Use or threat of
               force or violence against any person, or the damaging of property”; “Prevention of
               the normal use or occupancy of any building . . . or disruption of any normal
               College function”; “Physical obstruction of or the use of threat of force or violence
               to interfere with the passage of any person about the College campus or through the
               entrance or exists of any College building or facility.” (Rules for Maintenance of
               Public Order.);

              Prohibited conduct includes, among other things, “discrimination, harassment and
               retaliation,” “Disorderly Conduct,” “Disruptive Behavior,” “Failure to Comply,”
               “Vandalism or Damage to Property,” “Threatening Behavior,” and violations of
               Barnard policy or federal, state, or local law. (Student Code of Conduct.);

              “This policy protects the right to engage in campus demonstrations as long as
               demonstrations are conducted safely and do not interfere with the rights of others
               to speak, study, teach, learn, work, and live on our four-acre campus.” (Policy for
               Safe Campus Demonstrations.);

              “Demonstrations are not permitted inside College buildings or at locations other
               than the Designated Demonstration Area. The Designated Demonstration Area is
               limited to the grassy area of Futter Field, and Demonstrations may not extend onto
               the walkways, patios, and terraces surrounding the field.” (Id.);

              “The Designated Demonstration Area will be available to students, faculty, staff,
               and Barnard-recognized student groups for Demonstrations from 2:00 pm to 6:00
               pm on Monday through Friday when classes are in session (excluding reading days,
               exam periods, and College holidays).” (Id.);

              “Demonstrations may take place in the Designated Demonstration Area within the
               available time window only upon advance notice and registration given Barnard’s
               small campus size and limited staffing capabilities.” (Id.);




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              “[I]ndividuals participating in registered Demonstrations must follow all Rules for
               the Maintenance of Public Order.” (Id.);

              “[T]hose participating in registered Demonstrations may not use noise
               amplification (e.g., megaphones, bull horns, etc.) or sound machines (e.g., pots,
               pans, instruments, etc.) during Demonstrations. (Id.);

              “[T]hose participating in registered Demonstrations may not make true threats,
               incite violence, use fighting words, or engage in unlawful harassment.” (Id.);

              “Those refusing to cease their activities and/or to provide identification to College
               officials will be required to leave campus immediately.” (Id.); and

              “Any student violating this policy, including by engaging in an unregistered
               Demonstration or in Demonstrations that go beyond the registered area or time, will
               be subject to Student Conduct proceedings. Any staff or faculty member violating
               this policy will be subject to policies governing employees.” (Id.)

       693.    Columbia University has also breached the implied covenant of good faith and

fair dealing implied in its contracts with students, including David, Doe, Droznik, Elkins,

Friedman, Gal, Gerstein, Gross, Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks,

Nauer, Ami, Gabe, Nock, Quinn, Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard,

and Yadegar. Among other things, Columbia University selectively applies or enforces its

student handbooks, university bulletins, regulations, codes, policies, and procedures in a bad

faith and discriminatory way—improperly motivated by shared ancestry, race, ethnic

characteristics, religion, national origin, citizenship, or immigration status bias—treating

incidents of abuse, harassment, intimidation, or discrimination against Jewish and/or Israeli

students, including David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross, Harnick,

Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn, Rubin,

Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar, in a more lenient, tolerant,

forgiving, and nonchalant manner than it treats similar incidents against other minority groups.

       694.    Barnard has also breached the implied covenant of good faith and fair dealing

implied in its contracts with students, including Aryeh, Bellows, Glaser, Molly, Rabban, Roe,


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Rukeyser, Ruttenberg, and Zuckerman. Among other things, Barnard selectively applies or

enforces its student handbooks, university bulletins, regulations, codes, policies, and procedures

in a bad faith and discriminatory way—improperly motivated by shared ancestry, race, ethnic

characteristics, religion, national origin, citizenship, or immigration status bias—treating

incidents of abuse, harassment, intimidation, or discrimination against Jewish and/or Israeli

students, including Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser, Ruttenberg, and

Zuckerman, in a more lenient, tolerant, forgiving, and nonchalant manner than it treats similar

incidents against other minority groups.

       695.    As a direct, proximate, and foreseeable consequence of the foregoing breaches,

the Individual Plaintiffs have been damaged, and continue to sustain substantial damages, in

amounts to be determined at trial.

                                        COUNT VI
                      (New York General Business Law §§ 349, 350)
                  On Behalf of Individual Plaintiffs Against All Defendants

       696.    The Individual Plaintiffs repeat and reallege the allegations of the preceding

paragraphs above as though fully set forth herein.

       697.    Section 349(a) of the General Business Law provides consumer protection by

declaring as unlawful “deceptive acts or practices in the conduct of any business, trade or

commerce or in the furnishing of any service” in New York. Section 350 similarly prohibits

“false advertising in the conduct of any business, trade or commerce or in the furnishing of any

service” in New York.

       698.    Columbia University’s conduct, statements, and representations described above,

were consumer-oriented and were aimed at, and had a broad impact on, a large consumer group,

namely, prospective and current students of Columbia University. These statements include

those reflected, embodied, and set forth in Columbia University’s: (i) Equal Opportunity and


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Affirmative Action Policies & Procedures; (ii) Rules of University Conduct; (iii) Standards &

Discipline Policy; (iv) Non-Discrimination Statement and Policy; (v) University Events Policy;

(vi) Interim University Policy for Safe Demonstrations; (vii) Student Group Event Policy and

Procedure; and (viii) Faculty Handbook.

       699.    Columbia University has not acted in accordance with, and has not followed

through on, its statements against discrimination, abuse, and harassment, and has instead

knowingly engaged in the following false acts or practices that are deceptive or misleading in a

material way, that were aimed at the consumer public (namely, prospective and current students),

and that were likely to mislead a reasonable prospective or current student acting reasonably

under the circumstances:

              By falsely leading David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross,
               Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe,
               Nock, Quinn, Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and
               Yadegar to believe that Columbia University would apply, enforce, and follow the
               rules and policies, and the commitments contained therein, reflected, embodied and
               set forth in Columbia University’s: (i) Equal Opportunity and Affirmative Action
               Policies & Procedures; (ii) Rules of University Conduct; (iii) Standards &
               Discipline Policy; (iv) Non-Discrimination Statement and Policy; (v) University
               Events Policy; (vi) Interim University Policy for Safe Demonstrations; (vii) Student
               Group Event Policy and Procedure; and (viii) Faculty Handbook; and

              By falsely causing David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross,
               Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe,
               Nock, Quinn, Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and
               Yadegar to believe that if they paid tuition and fees to Columbia University, then
               Columbia University would uphold, adhere to, abide by, and comply with its stated
               rules and policies, and the commitments contained therein, to foster, ensure,
               maintain, and create an environment free of discrimination, abuse, harassment, and
               intimidation, and provide an adequate and appropriate setting and environment in
               which all students, of whatever ancestry, race, ethnic characteristics, religion,
               national origin, citizenship, or immigration status could freely express their identity
               and ancestry, could learn and grow, and could participate fully and meaningfully in
               Columbia University’s educational and other programs.

       700.    David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross, Harnick, Kahane,

Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn, Rubin, Sandler,


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Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar saw, heard, and were aware of

Columbia University’s false and misleading statements and representations described above

before they enrolled at Columbia University, and after they were enrolled in Columbia

University.

       701.    Columbia University’s false and misleading statements and practices described

above caused David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross, Harnick, Kahane,

Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn, Rubin, Sandler,

Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar injury by causing them to enroll at

Columbia University, and to pay tuition and fees to Columbia University, and to continue to

maintain enrollment at Columbia University and continue to pay tuition and fees to Columbia

University, based on the reasonable understanding that Columbia University would apply,

enforce, and follow through on its codes and policies, and the commitments contained therein,

concerning protecting students from harassment, abuse, intimidation and discrimination based on

their ancestry, race, ethnic characteristics, religion, national origin, citizenship, or immigration

status, would otherwise seek to protect students from such hateful and bigoted conduct, and

would take actions and implement measures to adequately, appropriately, and sufficiently

address such misconduct to foster, ensure, and maintain a safe educational and campus

environment. Columbia University did not take such actions.

       702.    Columbia University’s failure, refusal, lack of ability and intention, and lack of

commitment to combating, addressing, and ameliorating these deplorable actions, and to making

good on and complying with its aforementioned statements, constitute deceptive practices and/or

false advertising, and have caused David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross,

Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn,




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Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar to sustain actual

damages and not obtain the benefit of their bargain with Columbia University, including the loss

of the value of the tuition and fees they have paid Columbia University, extreme emotional

distress, loss of educational and extracurricular opportunities, economic injuries, and other direct

and consequential damages.

       703.       Accordingly, David, Doe, Droznik, Elkins, Friedman, Gal, Gerstein, Gross,

Harnick, Kahane, Kesselman, McNulty, Miller, Mizrahi-Aks, Nauer, Ami, Gabe, Nock, Quinn,

Rubin, Sandler, Stein, Symonds, Swill, Vanuno, Westergaard, and Yadegar are entitled to

statutory and/or actual damages in amounts to be determined at trial and to treble damages

pursuant to General Business Law § 349(h), based on Columbia University’s willful or knowing

violations.

       704.       Barnard’s conduct, statements, and representations described above, were

consumer-oriented and were aimed at, and had a broad impact on, a large consumer group,

namely, prospective and current students of Barnard. These statements include those reflected,

embodied, and set forth in Barnard’s: (i) Policy Against Discrimination and Harassment, (ii)

Rules for Maintenance of Public Order, (iii) Student Code of Conduct; and (iv) Policy for Safe

Campus Demonstrations.

       705.       Barnard has not acted in accordance with, and has not followed through on, its

statements against discrimination, abuse, and harassment, and has instead knowingly engaged in

the following false acts or practices that are deceptive or misleading in a material way, that were

aimed at the consumer public (namely, prospective and current students), and that were likely to

mislead a reasonable prospective or current student acting reasonably under the circumstances:

                 By falsely leading Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser,
                  Ruttenberg, and Zuckerman to believe that Barnard would apply, enforce, and



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               follow the rules and policies, and the commitments contained therein, reflected,
               embodied and set forth in Barnard’s: (i) Policy Against Discrimination and
               Harassment, (ii) Rules for Maintenance of Public Order, (iii) Student Code of
               Conduct; and (iv) Policy for Safe Campus Demonstrations; and

              By falsely causing Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser,
               Ruttenberg, and Zuckerman to believe that if they paid tuition and fees to Barnard,
               then Barnard would uphold, adhere to, abide by, and comply with its stated rules
               and policies, and the commitments contained therein, to foster, ensure, maintain,
               and create an environment free of discrimination, abuse, harassment, and
               intimidation, and provide an adequate and appropriate setting and environment in
               which all students, of whatever ancestry, race, ethnic characteristics, religion,
               national origin, citizenship, or immigration status could freely express their identity
               and ancestry, could learn and grow, and could participate fully and meaningfully in
               Barnard’s educational and other programs.

       706.    Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser, Ruttenberg, and

Zuckerman saw, heard, and were aware of Barnard’s false and misleading statements and

representations described above before they enrolled at Barnard, and after they were enrolled in

Barnard.

       707.    Barnard’s false and misleading statements and practices described above caused

Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser, Ruttenberg, and Zuckerman injury by

causing them to enroll at Barnard, and to pay tuition and fees to Barnard, and to continue to

maintain enrollment at Barnard and continue to pay tuition and fees to Barnard, based on the

reasonable understanding that Barnard would apply, enforce, and follow through on its codes and

policies, and the commitments contained therein, concerning protecting students from

harassment, abuse, intimidation and discrimination based on their ancestry, race, ethnic

characteristics, religion, national origin, citizenship, or immigration status, would otherwise seek

to protect students from such hateful and bigoted conduct, and would take actions and implement

measures to adequately, appropriately, and sufficiently address such misconduct to foster,

ensure, and maintain a safe educational and campus environment. Barnard did not take such

actions.


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       708.    Barnard’s failure, refusal, lack of ability and intention, and lack of commitment to

combating, addressing, and ameliorating these deplorable actions, and to making good on and

complying with its aforementioned statements, constitute deceptive practices and/or false

advertising, and have caused Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser,

Ruttenberg, and Zuckerman to sustain actual damages and not obtain the benefit of their bargain

with Barnard, including the loss of the value of the tuition and fees they have paid Barnard,

extreme emotional distress, loss of educational and extracurricular opportunities, economic

injuries, and other direct and consequential damages.

       709.    Accordingly, Aryeh, Bellows, Glaser, Molly, Rabban, Roe, Rukeyser, Ruttenberg,

and Zuckerman are entitled to statutory and/or actual damages in amounts to be determined at

trial and to treble damages pursuant to General Business Law § 349(h), based on Barnard’s

willful or knowing violations.

       710.    Individual Plaintiffs are entitled to attorneys’ fees and costs pursuant to General

Business Law § 349(h).

                                         COUNT VII
                                      (42 U.S.C. § 1986)
                       On Behalf of All Plaintiffs Against All Defendants

       711.    Plaintiffs repeat and reallege the allegations of the preceding paragraphs above as

though fully set forth herein.

       712.    Jews and Israelis are a protected class for purposes of 42 U.S.C. § 1985.

       713.    Certain Columbia students and faculty, including, but not limited to, those

mentioned above; student organizations and coalitions, including, but not limited to, SJP, JVP,

CUAD, and CSSW4P; faculty organizations, including, but not limited to, FJP (collectively, the

“Co-Conspirators”), engaged in an anti-civil rights conspiracy within the meaning of 42 U.S.C. §

1985(3) which was antisemitic and threatening and which created a hostile and discriminatory


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environment for the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia

student members.

       714.    The Co-Conspirators plotted, coordinated, and executed a common plan, with an

agreement and understanding, to engage in, promote, and incite harassment, threats, violence,

and intimidation against Jewish and Israeli members of the Columbia community, including the

Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members.

       715.    This meeting of the minds is evidenced in the close collaboration among the

groups, and their co-organization, co-sponsorship, and/or co-promotion of the rallies,

demonstrations, and encampments, and the community guidelines described herein. The Co-

Conspirators posted their mission and demands online and reiterated them during negotiations

with Columbia such that Columbia had knowledge. The Co-Conspirators include individual

student groups, as well as “collectives” and “coalitions” comprised of varying assortments of

conspiring student groups. Additional co-conspirators whose identities are not known committed

numerous additional acts in furtherance of the conspiracy to violate plaintiffs’ rights, including

those alleged herein.

       716.    In furtherance of a conspiracy to violate the rights of Jewish and Israeli Columbia

students, including the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli

Columbia student members, as set forth in the paragraphs above, the Co-Conspirators committed

numerous overt acts designed to create an environment of intimidation, physical and verbal

harassment, and hostility against the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or

Israeli Columbia student members for the purpose of depriving them of their constitutional rights

to the equal protection of the laws and their equal enjoyment of the privileges and immunities of

citizens of the United States guaranteed by the Constitution and laws, and to the full and equal




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benefit of the laws and proceedings for the security of persons, including those under 42 U.S.C.

§§ 1981 and 1982, the Thirteenth Amendment right to be free from racial violence, and the right

to travel, because of their national origin, race, ethnicity, and/or religion.

        717.    The Co-Conspirators, on behalf of themselves and/or the organizations for which

they are members, leaders, agents, and/or officers, committed numerous express overt acts in

furtherance of this unlawful conspiracy to engage in, promote, and incite racial, religious, and

ethnicity-based harassment and physical violence, including, but not limited to, planning,

coordinating, and promoting the rallies, demonstrations, and encampments detailed herein,

encouraging and organizing followers to attend, coordinating logistical support to attendees,

soliciting monetary and other aid, and encouraging attendees to make explicit violent and racially

motivated threats, prepare for, and commit discriminatory and harassing acts while concealing

their identities. Those acts include physically removing and threatening to remove from the lawn

Jewish and/or Israeli students, and holding demonstrations and occupations which, by express

design, deprived Jewish and/or Israeli Columbia students access to their classrooms, dormitories

and other Columbia facilities. The illegal activities described herein were undertaken pursuant to

an unlawful conspiracy for the express purpose of depriving Jewish and/or Israeli Columbia

students of their rights to the equal protection of the laws and their equal enjoyment of the

privileges and immunities of citizens of the United States guaranteed by the Constitution,

including the right to intrastate travel, because of their national origin, race, ethnicity, and/or

religion.

        718.    The Co-Conspirators repeatedly engaged in campaigns of intimidation, threats,

and physical violence throughout Columbia’s campus. As a result of these conspiratorial acts,

Jewish and Israeli Columbia students, including the Individual Plaintiffs, and SAA’s and SCLJ’s




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Jewish and/or Israeli Columbia student members, have suffered injuries including deprivation of

one or more of their rights or privileges guaranteed by the Constitution and laws, bodily injury,

and severe emotional distress.

       719.    Specifically, Jewish and Israeli Columbia students, including the Individual

Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student members, among other

things, have faced antisemitic verbal and physical harassment, have had classes and other

educational opportunities disrupted, have been blocked from entering campus facilities, and have

been prevented from moving about freely on campus.

       720.    The actions of the Co-Conspirators violated 42 U.S.C. § 1985(3).

       721.    Plaintiffs have not sued the Co-Conspirators but are setting forth the conspiracy

and its particulars as the basis for the claim against Columbia brought pursuant to 42 U.S.C.

§ 1986, which requires an underlying violation of 42 U.S.C. § 1985.

       722.    Columbia possessed actual knowledge of the Section 1985(3) anti-civil rights

conspiracy described in this Complaint that was planned and undertaken against the class of Jews

and Israelis on campus as described—including the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members.

       723.    This knowledge came through multiple reports by staff, faculty, and students,

including the Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, to Columbia’s administration, including, but not limited to, those mentioned above, as

well as news reports, correspondence with the House Education Committee, and other means.

The Individual Plaintiffs and SAA’s and SCLJ’s Jewish and/or Israeli Columbia student

members, and other Jewish and Israeli Columbia students, repeatedly begged and pleaded with

Columbia, including, but not limited to, those individuals mentioned above, to take action, but




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Columbia refused to help and instead placed the burden on Jewish and Israeli students to keep

themselves safe.

       724.    Moreover, the Co-Conspirators announced their plans for their antisemitic rallies,

encampment, and related activity on social media and through other publicly available means,

such that Columbia had advance knowledge that each antisemitic activity would and did occur.

Columbia’s administrators also directly observed this conspiratorial activity, including in person

and through online media. That Columbia had advance knowledge of the Section 1985

violations is further evidenced through the multiple emails to students and publicly released

statements from Columbia about the Co-Conspirators’ rallies, encampment, and related activities

that routinely demonstrated awareness of the Co-Conspirators’ antisemitic intentions. Columbia

had actual notice that students felt unsafe, that rallies had escalated to become more violent

and/or threatening, and that action was needed to address it.

       725.    Columbia has direct oversight and disciplinary power over the students, faculty,

and groups of the same who committed the Section 1985 violations. While Columbia

conditionally suspended SJP and JVP in November 2023, it did not take any disciplinary action

against any individuals in connection with the suspension, their members and leaders continued

to engage in and take overt acts in furtherance of the conspiracy described herein, and SJP and

JVP continued to organize, sponsor, and promote rallies, demonstrations, and the encampments,

including through CUAD. Columbia’s actions were not reasonably diligent in preventing the

acts in furtherance of the conspiracy.

       726.    Columbia further has its own Public Safety department and had the ability to

work with local law enforcement to either stop or at a minimum contain the rallies, encampment,

and related activity, including by arresting or trespassing individuals who engage in unlawful




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conduct, such as violence, threats, or harassment. Indeed, that Columbia ultimately did call the

NYPD twice to dismantle the encampment and Hamilton Hall occupation only serves as further

proof that Columbia had both the ability and the authority to take reasonable actions much

sooner than it did.

       727.    Although Columbia had the power to intervene and prevent violations of its

Jewish and Israeli students’ civil rights, including the Individual Plaintiffs’ and SAA’s and

SCLJ’s Columbia student members’ civil rights with reasonable diligence, Columbia neglected

and/or refused to prevent or aid in preventing the commission of this conspiracy or any of the

overt acts committed in furtherance of the conspiracy so as to stop the above-described injuries

that occurred to Columbia’s Jewish and Israeli students who were the target of the anti-civil

rights conspiracy described above, including the Individual Plaintiffs and SAA’s and SCLJ’s

Jewish and/or Israeli Columbia student members.

       728.    Plaintiffs suffered their injuries as a result of Columbia’s failure to stop the

described conspiracy.

                                           COUNT VIII
                                        (Premises Liability)
                      On Behalf of Individual Plaintiffs Against All Defendants

       729.    Plaintiffs repeat and reallege the allegations of the preceding paragraphs above as

though fully set forth herein.

       730.    Columbia is obligated as owner of the premises to keep its campus, including its

campus buildings, in a reasonably safe condition for all persons on the property, including the

Individual Plaintiffs.

       731.    Columbia owed, and owes, a duty of care to the Individual Plaintiffs in

connection with their use of Columbia’s campus, including its buildings, by owning,




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maintaining, and exercising control over its premises and activities that are the subject of this

lawsuit.

        732.    Columbia breached its duty by its actions, inactions, negligence, and/or deliberate

indifference and failure to control such dangerous and injurious conduct, despite notice and an

opportunity to do so, by failing to take action to prevent or redress certain activity on Columbia’s

campus, including, but not limited to, the aforementioned activities on Columbia’s campus on

October 12, 2023, October 25, 2023, November 8, 2023, November 9, 2023, November 30,

2023, December 6, 2023, December 11, 2023, January 19, 2024, January 24, 2024, February 8,

2024, February 13, 2024, April 4, 2024, and during the encampment, including, but not limited

to, Columbia’s failure to take reasonable steps to prevent or restrain Columbia students, faculty,

and others subject to Columbia’s supervision and control as they (i) engaged in discrimination

and/or verbal and/or physical harassment on the basis of actual and/or perceived shared Jewish

and/or Israeli race, religion, national origin, citizenship, or immigration status; and/or (ii)

engaged in unlawful activity, including, but not limited to, trespassing, property damage, and/or

assault. Columbia thereby created an unsafe environment which threatened the safety and well-

being of the Individual Plaintiffs, leading to their injuries.

        733.    Columbia had actual and/or constructive knowledge that dangerous activity and

injurious conduct was foreseeable and likely to occur during these activities on Columbia’s

campus. The aforementioned activities were foreseeable through multiple reports made by

students, including the Individual Plaintiffs, as well as through news reports, correspondence

with the House Education Committee, and other means. Moreover, the aforementioned activities

were announced in advance on social media and through other publicly available means, such

that Columbia had advance knowledge that each would and did occur.




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        734.    As a result of Columbia’s breach of its duty, the Individual Plaintiffs have

suffered injury as well as financial and temporal losses in amounts to be determined at trial. The

Individual Plaintiffs no longer feel safe on Columbia’s campus; their safety was endangered by

Columbia, and they have, inter alia, missed and/or dropped classes, failed to perform on their

schoolwork, delayed graduation dates, taken leaves, and avoided campus and/or campus

buildings, as a result of Columbia’s conduct.

        735.    Columbia’s breach of its duty is the actual, direct, and proximate cause of the

Individual Plaintiffs’ injuries.

                                   JURY TRIAL DEMANDED

        Plaintiffs hereby demand a jury trial for all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, plaintiffs pray and request that a judgment be entered in each of their

favor, and against Columbia University and Barnard awarding them:

        A.      Injunctive relief enjoining Columbia University and Barnard and their agents

                from establishing, implementing, instituting, maintaining, or executing policies,

                practices, procedures, or protocols that discriminate against Jewish and Israeli

                students on the basis of their Jewish or Israeli ancestry, race, ethnic

                characteristics, or national origin, including the Individual Plaintiffs and SAA’s,

                and SCLJ’s Jewish and/or Israeli Columbia student members, and ordering

                Columbia University and Barnard to take all necessary and appropriate remedial

                and preventive measures against antisemitic discrimination and harassment, such

                as the following: (i) disciplinary measures, including termination, against deans,

                administrators, professors, and other employees responsible for the antisemitic

                discrimination and abuse permeating the schools that the Individual Plaintiffs and


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         SAA’s, and SCLJ’s Jewish and/or Israeli Columbia student members experience,

         whether because they engage in it or permit it; (ii) disciplinary measures,

         including suspension or expulsion, against students who engage in such conduct;

         (iii) declining and returning donations, whether from foreign countries or

         elsewhere, implicitly or explicitly conditioned on the hiring or promotion of

         professors who espouse antisemitism or the inclusion of antisemitic coursework

         or curricula; (iv) adding required antisemitism training for Columbia University

         and Barnard community members; (v) creating a Title VI office dedicated to

         combating antisemitism on campus; and (vi) appointing a neutral expert monitor

         to oversee compliance with this Court’s order;

   B.    Compensatory, consequential, and punitive damages in amounts to be determined

         at trial;

   C.    Statutory penalties, including treble damages, for violations of General Business

         Law § 349(h) and N.Y. Civ. Rights Law § 40-c, pursuant to N.Y. Civ. Rights Law

         § 40-d;

   D.    Reasonable attorneys’ fees, the costs of suit, and expenses;

   E.    Pre-judgment interest and post-judgment interest at the maximum rate allowable

         by the law; and

   F.    Such other and further relief as the Court deems just and proper.




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Dated:   June 17, 2024
         New York, New York
                                         Respectfully submitted,

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